     Case 4:22-cv-05014-MKD       ECF No. 24-1    filed 01/18/23   PageID.221 Page 1 of 142




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9                        IN THE UNITED STATES DISTRICT COURT

10                   FOR THE EASTERN DISTRICT OF WASHINGTON

11   JEFFREY HUNTINGTON,                           Case No.: 4:22-cv-05014

12                  Plaintiff,
                                                   DECLARATION OF SAMIRA
13   vs.                                           BOKAIE IN SUPPORT OF
                                                   PLAINTIFF’S RESPONSE IN
14   SMOKE CITY FOR LESS LLC d/b/a                 OPPOSITION TO DEFENDANT
     SMOKE CITY FOR LESS; LG CHEM                  LG CHEM, LTD.’S MOTION TO
15   LTD.; AND DOES 1-50                           DISMISS FOR LACK OF
                                                   PERSONAL JURISDICTION
16                  Defendants.

17         I, Samira Bokaie, declare and state as follows:

18   1. I am an attorney at law duly licensed to practice law in all courts of the State of

19         California and admitted pro hac vice in this case. I am an attorney at Levin

20         Simes Abrams LLP and counsel for Plaintiff Jeffery Huntington. I have
     DECLARATION OF SAMIRA BOKAIE IN SUPPORT OF PLAINTIFF’S RESPONSE IN OPPOSITION TO
     DEFENDANT LG CHEM, LTD.’S MOTION TO DISMISS FOR LACK OF PERSONAL JURISDICTION
                                    PAGE- 1
     Case 4:22-cv-05014-MKD      ECF No. 24-1   filed 01/18/23   PageID.222 Page 2 of 142




1       personal knowledge of the facts stated herein, and if called as a witness, I could

2       and would competently testify thereto under oath.

3    2. Attached hereto as Exhibit 1 is a true and correct copy of LG Chem, Ltd.’s

4       webpage, available at https://www.lgchem.com/company/company-

5       information/about.hed.

6    3. Attached hereto as Exhibit 2 is a true and correct copy of Celgard LLC v. LG

7       Chem, Ltd., No. 3:14-cv-00043, Docket No. 128, Order (W.D.N.C. July 18,

8       2014).

9    4. Attached hereto as Exhibit 3 is a true and correct copy of Celgard LLC v. LG

10      Chem, Ltd., No. 3:14-cv-00043, 2015 WL 2412467 (W.D.N.C. May 21, 2015).

11   5. Attached hereto as Exhibit 4 is a true and correct copy of an article from the

12      Seattle Bike Blog confirmed Bird and Lime are permitted by Seattle to operate

13      there.

14   6. Attached hereto as Exhibit 5 is a true and correct copy of an article from Bird’s

15      blog indicating it has been allowed to operate in Seattle.

16   7. Attached hereto as Exhibit 6 is a true and correct copy of Lime’s Locations

17      webpage.

18   8. Attached hereto as Exhibit 7 is a true and correct copy of an article in Quartz,

19      indicating Bird purchases its Scooter from Xiaomi.

20
     DECLARATION OF SAMIRA BOKAIE IN SUPPORT OF PLAINTIFF’S RESPONSE IN OPPOSITION TO
     DEFENDANT LG CHEM, LTD.’S MOTION TO DISMISS FOR LACK OF PERSONAL JURISDICTION
                                    PAGE- 2
     Case 4:22-cv-05014-MKD      ECF No. 24-1   filed 01/18/23   PageID.223 Page 3 of 142




1    9. Attached hereto as Exhibit 8 is a true and correct copy of a Xiaomi’s Mi’s

2       product specifications, indicating it contains LG Chem 18650 lithium ion

3       batteries.

4    10. Attached hereto as Exhibit 9 is a true and correct copy of a Proterra press

5       release announcing co-development of a battery cell optimized for use in

6       Proterra’s electric buses.

7    11. Attached hereto as Exhibit 10 is a true and correct copy of a Proterra press

8       release announcing its sale of two of its buses to King County Metro.

9    12. Attached hereto as Exhibit 11 is a true and correct copy of a Kitsap Transit

10      Press Release indicating Kitsap Transit purchased its first Proterra bus in 2017.

11   13. Attached hereto as Exhibit 12 is a true and correct copy of a Pierce County

12      Transit Authority informational website indicating its fleet contains three

13      Proterra buses.

14   14. Attached hereto as Exhibit 13 is a true and correct copy of a Proterra press

15      release indicating it was selected by the Washington State Department of

16      Enterprise Services as a vendor to supply Proterra buses and charging

17      infrastructure to the state.

18   15. Attached hereto as Exhibit 14 is a true and correct copy of a map from

19      Chevrolet’s website indicating where Chevrolets, including the Chevy Volt,

20      may be purchased in and around Spokane, Washington.
     DECLARATION OF SAMIRA BOKAIE IN SUPPORT OF PLAINTIFF’S RESPONSE IN OPPOSITION TO
     DEFENDANT LG CHEM, LTD.’S MOTION TO DISMISS FOR LACK OF PERSONAL JURISDICTION
                                    PAGE- 3
     Case 4:22-cv-05014-MKD     ECF No. 24-1    filed 01/18/23   PageID.224 Page 4 of 142




1    16. Attached hereto as Exhibit 15 is a true and correct copy of an inventory list

2       from Chevrolet’s dealer website for AutoNation Chevrolet, Spokane Valley in

3       Spokane Valley, Washington indicating it has Chevy Volts available for sale.

4    17. Attached hereto as Exhibit 16 is a true and correct copy of an inventory list

5       from Chevrolet’s dealer website for Chuck Olson Chevrolet in Shoreline,

6       Washington indicating it has Chevy Volts available for sale.

7    18. Attached hereto as Exhibit 17 is a true and correct copy of an inventory list

8       from Chevrolet’s dealer website for Burien Chevrolet in Burien, Washington,

9       indicating it has Chevy Volts available for sale.

10   19. Attached hereto as Exhibit 18 is a true and correct copy of a CNBC article

11      covering the recall of 140,000 electric vehicles due to the risk of the batteries

12      “spontaneously catching fire.”

13   20. Attached hereto as Exhibit 19 is a true and correct copy of a product overview

14      from Gelish’s website indicating it nail-drying system operates using LG Chem

15      lithium batteries.

16   21. Attached hereto as Exhibit 20 is a true and correct copy of a map from Gelish’s

17      website indicating spas that use the Gelish system in the greater Seattle area.

18   22. Attached hereto as Exhibit 21 is a true and correct copy of a Pulse article

19      documenting LG Electronics Inc.’s release of the CordZero vacuum and

20      indicating it runs on LG Chem lithium ion batteries.
     DECLARATION OF SAMIRA BOKAIE IN SUPPORT OF PLAINTIFF’S RESPONSE IN OPPOSITION TO
     DEFENDANT LG CHEM, LTD.’S MOTION TO DISMISS FOR LACK OF PERSONAL JURISDICTION
                                    PAGE- 4
     Case 4:22-cv-05014-MKD        ECF No. 24-1    filed 01/18/23    PageID.225 Page 5 of 142




1    23. Attached hereto as Exhibit 22 is a true and correct copy of a map from LG’s

2          own website showing where in Spokane, Washington its CordZero cordless

3          vacuum may be purchased.

4    24. Attached hereto as Exhibit 23 is a true and correct copy of the Deposition of

5          Joon Young Shin in the matter Flores v. LG Chem, Ltd. et al., Case No. 16-cv-

6          297 (November 29, 2017), Southern District of Texas (hereinafter “Shin Dep.”)

7          at p. 28:20-21.

8    25. Attached hereto as Exhibit 24 is a Declaration of Nickie Bonenfant of

9          ImportGenius. Due to clerical oversight, we discovered late today that we do

10         not have a signed copy of Ms. Bonenfant’s Declaration and have been unable to

11         reach her. Ms. Bonenfant has previously affirmed the statements in her

12         Declaration, and Plaintiff will file a signed version of her Declaration shortly

13         after the filing of Plaintiff’s Response in Opposition.

14   ///

15   ///

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     DECLARATION OF SAMIRA BOKAIE IN SUPPORT OF PLAINTIFF’S RESPONSE IN OPPOSITION TO
     DEFENDANT LG CHEM, LTD.’S MOTION TO DISMISS FOR LACK OF PERSONAL JURISDICTION
                                    PAGE- 5
     Case 4:22-cv-05014-MKD     ECF No. 24-1    filed 01/18/23   PageID.226 Page 6 of 142




1    Executed on January 18, 2022, at San Francisco, California.

2

3          I declare under penalty of perjury that the foregoing is true and correct.

4    Dated this 18th day of January, 2023.         Respectfully submitted,

5
                                                   LEVIN SIMES ABRAMS, LLP
6

7                                                  _____________________________
                                                   Samira Bokaie
8                                                  Admitted Pro Hac Vice
                                                   Rachel B. Abrams
9                                                  To Be Admitted Pro Hac Vice
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                                                   Attorneys for Plaintiff
18

19

20
     DECLARATION OF SAMIRA BOKAIE IN SUPPORT OF PLAINTIFF’S RESPONSE IN OPPOSITION TO
     DEFENDANT LG CHEM, LTD.’S MOTION TO DISMISS FOR LACK OF PERSONAL JURISDICTION
                                    PAGE- 6
Case 4:22-cv-05014-MKD   ECF No. 24-1   filed 01/18/23   PageID.227 Page 7 of 142




                     EXHIBIT 1
10/7/2019    Case 4:22-cv-05014-MKD               ECFAbout
                                                       No.Us24-1     filed
                                                             | Company       01/18/23
                                                                        information | CompanyPageID.228
                                                                                              | LG Chem Page 8 of 142

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         Electronically Filed 10/09/2019 14:23 / BRIEF / CV 19 917268 / Confirmation Nbr. 1838344 / BATCH



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10/7/2019   Case 4:22-cv-05014-MKD               ECFAbout
                                                      No.Us24-1     filed
                                                            | Company       01/18/23
                                                                       information | CompanyPageID.229
                                                                                             | LG Chem Page 9 of 142



    Having continued to grow over 7 decades since founded in 1947, LG
    Chem is literally the company leading the chemical industry in Korea.

    The company has built the global network for production, sales and R&D not only in Korea btn also in main bases across
    the world and has provided globally competitive products including ABS, polarizers and EV battery cells, raising its global
    position as a material supplier.



    The company has strengthened market dominance starting from the Petrochemicals business to Energy Solution,
    Advanced Materials and has expanded its business into Life Science area, building a future-oriented business portfolio.
    In the long term, the company will build the foundation for sustainable growth by selecting and concentrating on the
    ‘energy’, ‘water’ and ‘bio’ businesses as the new growth engines.



    LG Chem is committed to becoming a global company that realizes the vision of “growing with customers by providing
    innovative materials and solutions” and provides new values to customers.




    LG Chem, Ltd.

        Foundation         January 1947                                 Milestone (/company/company-information/company-history)


        CEO                Shin Hak Cheol

        Employees          33,694
        (As of
        December
        2018)


        Headquarters      LG Twin Towers,128,
                          Yeoui-daero,
                          Yeongdeungpo-gu, Seoul,
                          South Korea




            Financial Snapshot (As of December 2018)


      ElectrSHieSlIy Filed 10/09/2019 14:23 / BRIEF / CV 19 917268 / Confirmation Nbr. 1838344 / BATcKRW   28.2 trillion
            Operating Income                                                                           KRW 2.25 trillion
https://www.lgchem.com/company/company-information/about                                                                           2/4
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                                                       No.Us24-1    filed
                                                             | Company     01/18/23
                                                                       information         PageID.230
                                                                                   | Company | LG Chem Page 10 of 142

    Global Network


          Business Areas


         Petrochemical^Energy Solutions,
         Advanced Matr^lals, Life Sciences
                            Europe
                         (/company/company-
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                         Related Sites                                                         History Highlights




    Privacy Policy (/privacy/privacy_v7)         Rejection of unauthorized e-mail collection


    Ethics Hotline (http://ethics.lg.co.kr/realName/insertDetailForm.do)




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https://www.lgchem.com/company/company-information/about                                                                  3/4
10/7/2019 Case 4:22-cv-05014-MKD                ECFAbout
                                                    No. Us
                                                         24-1     filed
                                                           | Company      01/18/23
                                                                      information        PageID.231
                                                                                  | Company | LG Chem Page 11 of 142




      Electronically Filed 10/09/2019 14:23 / BRIEF / CV 19 917268 / Confirmation Nbr. 1838344 / BATCH



https://www.lgchem.com/company/company-information/about                                                               4/4
Case 4:22-cv-05014-MKD   ECF No. 24-1   filed 01/18/23   PageID.232 Page 12 of 142




                         EXHIBIT 2
   Case 4:22-cv-05014-MKD               ECF No. 24-1         filed 01/18/23      PageID.233 Page 13 of 142




                           IN THE UNITED STATES DISTRICT COURT
                       FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                                    CHARLOTTE DIVISION
                                         3:14-cv-43

     CELGARD, LLC                                        )
                                                         )
                      Plaintiff,                         )
                                                         )                ORDER
     Vs.                                                 )
                                                         )
     LG CHEM, LTD. and                                   )
     LG CHEM AMERICA, INC.,                              )
                                                         )
                      Defendant.                         )
                                                        .)

              THIS MATTER is before the Court on LG Chem, Ltd. (“LG Chem”) and LG Chem

     America, Inc.’s (“LGCAI”) (together, “Defendants”) Motion to Dismiss for Lack of Personal

     Jurisdiction (#30); Defendants’ Motion to Transfer Venue (#71); and Celgard, LLC’s (“Celgard”

     or “Plaintiff’) Motion for Preliminary Injunction (#15) and Motion for Jurisdictional Discovery

     (#58).   The Court heard oral arguments on these motions on May 14, 2014.

              Having considered the motion and reviewed the pleadings, the Court enters the following

     Findings, Conclusion, and Order granting Plaintiffs Motion for Jurisdictional Discovery and

     Motion for Preliminary Injunction to be reviewed after 60 days.

                                            Findings and Conclusions

     I.       Background

              A.      The ‘586 Patent

              Plaintiff brought this action for patent infringement, alleging that defendant is infringing

     upon its interest in United States Patent No. 6,432,586 (the “’586 patent”). The patent relates to

     “separators” used in the construction of high energy rechargeable lithium-ion batteries. Compl,

     7, ECF No. 1; ‘586 Patent Abstract 1, ECF No. 1-A. These separators are designed to address


Electronically Filed 10/09/2019 14:23 / BRIEF / CV 19 917268 / tonfirmation Nbr. 1838344 / BATCH


           Case 3:14-cv-00043-MOC-DCK Document 128 Filed 07/18/14 Page 1 of 11
   Case 4:22-cv-05014-MKD               ECF No. 24-1         filed 01/18/23      PageID.234 Page 14 of 142



     “dendrite growth” in lithium batteries, a common problem associated with the high energy

     anodes used in such high energy batteries.           Abstract 1:20-22. Dendrite growth penetrates the

     separator, creating direct contact between the anode and cathode within each cell of the battery,

     thereby causing “electronic” shorting of the battery. Abstract 1:22-31. A minimal amount of

     shorting may only reduce the efficiency of the battery; however, electronic shorting can also

     cause a phenomenon known as “thermal runaway” of the battery, a serious safety problem for

     rechargeable lithium batteries.       Id. at 1:33-35.    According to the Patent Abstract, the dendrite

     growth limits the commercial application of lithium-ion batteries. Id. at 1:36-39.

             The instant invention contemplates a separator designed to address these problems. Id. at

     1:45-51.     A ceramic composite layer is designed to block dendrite growth and prevent direct

     contact between the anode and cathode, and a polymeric micro-porous layer is designed to

     address “thermal runaway” in the event of contact between the anode and cathode. Id. at 2:52­

     60. A battery with such a separator is less likely to fail, catch fire, or experience a short, and is

     more likely to last longer. Pl. Mem. in Supp. Prel. Inj. 4, ECF No. 16. Celgard filed a patent

     application for the invention on April 10, 2000, and the Patent Office issued the patent on April

     13, 2002.

             B.       Alleged Infringement

             Plaintiff brings two claims against Defendants: direct and induced infringement of the

     ‘586 Patent in violation of 35 U.S.C. § 271(a)-(b).                The Complaint generally alleges that

     Defendants obtains, either from a third-party manufacturer or through its own production,

     “uncoated polymeric base films” to which it applies a ceramic coating layer to create battery

     separators that fall within the scope of the ‘586 Patent. Compl.            10-12. The separators are then

     either sold to third parties or are used in Defendants’ own production of lithium-ion batteries, all



Electronically Filed 10/09/2019 14:23 / BRIEF / CV 19 917268 / Confirmation Nbr. 1838344 / BATCH


          Case 3:14-cv-00043-MOC-DCK Document 128 Filed 07/18/14 Page 2 of 11
   Case 4:22-cv-05014-MKD               ECF No. 24-1         filed 01/18/23      PageID.235 Page 15 of 142



     allegedly in violation of the ‘586 Patent.          Id. at 13.    According to the Complaint, batteries

     containing the infringing separator—whether manufactured by Defendants or a third-party—are

     used in various consumer electronic devices such as laptops and tablets, and are also used in

     electric vehicles. Id. at T 19.

             C.       Factual Setting of this Dispute

             In contrast to the typical patent litigation in which the parties produce the same or similar

     product, compete for the same customers, and have little or no prior relationship with the

     opposition, the parties in this case have been involved with each other in the production of

     lithium ion batteries since 2005.         According to the Complaint and accompanying affidavits,

     beginning in 2005 and continuing through 2008, Celgard supplied LGC, on an as-needed

     purchase order basis, with uncoated base films to be used in the production of lithium-ion

     batteries for consumer-electronic products.             In 2008, at LGC’s request, the relationship

     significantly expanded as the parties entered into discussions regarding the prospect of Celgard

     becoming LGC’s exclusive supplier of base film for lithium-ion batteries to be used in electric

     vehicles (“EVs”).

             As the parties began negotiating the terms of a Long Term Supply Agreement (“LTA”)

     that would solidify their new relationship, LGC notified Celgard that it would need to increase its

     production capacity to satisfy LGC’s supply demands.                   Pulwer Decl.           8, ECF No. 18.

     Negotating the terms of the LTA for Celgard was its Vice President and General Manager Mitch

     Pulwer. Id. at      1. During these negotiations, Jai Ham, a Vice President of LGC, explained to

     Pulwer that if Celgard “demonstrated its commitment” to LGC and their new relationship by

     expanding its production capacity, LGC would enter into the LTA, with Celgard becoming the

     exclusive supplier of base film in its EV program. Id. at             9. In reliance on this representation



Electronically Filed 10/09/2019 14:23 / BRIEF / CV 19 917268 / Confirmation Nbr. 1838344 / BATCH


          Case 3:14-cv-00043-MOC-DCK Document 128 Filed 07/18/14 Page 3 of 11
   Case 4:22-cv-05014-MKD               ECF No. 24-1         filed 01/18/23      PageID.236 Page 16 of 142



     and in order to meet LGC’s supply demands, Celgard began a five-phase expansion project

     including an expansion to its Charlotte, North Carolina, facility and the construction of a new

     facility in Concord, North Carolina, costing in excess of $300,000,000.             Id. at    9.

             Despite Celgard’s expansion, the parties were unable to reach an agreement on the LTA.

     According to Celgard, LGC continuously rejected terms to which the parties had previously

     agreed, made counterproposals that included only minor changes, and requested changes that

     included terms that it had rejected during previous rounds of negotiations.                   Id. at   11.   The

     parties were able to agree to a Memorandum of Understanding (“MOU”) as a precursor to an

     LTA. MOU 1, ECF No. 18-1 (“MOU ... is made in anticipation of the parties entering into a

     long-term supply agreement”).

             Under the MOU the parties agreed to “work together in a collaborative effort” during the

     Collaborative Period which ran from March 11, 2011, to December 31, 2015. Id. However, the

     agreement was non-binding and stated that neither party was bound to enter into a subsequent

     supply agreement. Id. Generally speaking, the MOU includes the following principal terms: (1)

     that LGC will purchase separator “primarily” from Celgard as long as Celgard is able to supply

     separator to LGC meeting certain qualifications and “overall program objectives which includes

     price competitiveness, in the quantity needed”; (2) that “LGC intends to purchase the majority of

     separator required for each application in which Celgard is qualified as long as the Celgard

     separator” meets the above conditions; and (3)               that LGC will give “priority” to Celgard

     separator in any new application for the electric drive vehicle (“EDV”) and energy storage

     system (“ESS”) markets. Id.

             Following the execution of the MOU in 2011, the parties’ relationship began to sour over

     price and quantity disputes. According to Celgard, between 2009 and July 2013, LGC purchased



Electronically Filed 10/09/2019 14:23 / BRIEF / CV 19 917268 / Confirmation Nbr. 1838344 / BATCH


          Case 3:14-cv-00043-MOC-DCK Document 128 Filed 07/18/14 Page 4 of 11
   Case 4:22-cv-05014-MKD               ECF No. 24-1         filed 01/18/23      PageID.237 Page 17 of 142



     all its base film requirements for the EV industry from Celgard. In November of 2012, LGC

     demanded that Celgard significantly reduce its prices and threatened to use other base film

     suppliers should Celgard refuse. Pulwer Decl.             19. Believing the LGC’s price demands were

     contrary to past negotiations and course of dealings, Celgard refused to lower its prices. After

     that, the parties’ relationship spiraled downward. In June 2013, LGC gave notice that Celgard

     was being phased out of the EV program beginning in September 2013, with Celgard being

     completely out by April 2014.         Id. at    25.   Celgard filled all outstanding orders but stopped

     taking additional purchase orders. Its final shipment of base film material to LG Chem was in

     July 2013. Celgard filed this suit in January 2014.

     II.     Personal Jurisdiction and Venue

             Defendants move to dismiss the Complaint for lack of personal jurisdiction, contending

     that they lack the minimum contacts necessary to establish personal jurisdiction in the state of

     North Carolina. LGC is a Korean Company with no offices or personnel in the United States. It

     contends that it does not manufacture the allegedly infringing batteries within the United States.

     Instead, the batteries are manufactured in Asia and then sold to customers outside of the State of

     North Carolina. LGCAI is a Delaware company with headquarters in New Jersey. It contends

     that it has little involvement in the production of the lithium ion batteries. It further contends

     that while it is registered to do business in the State of North Carolina, it has no offices or

     personnel in the state, and “simply does not sell the accused products or conduct the accused

     business” in the State of North Carolina. Def’s Mem. 1.

             Federal Circuit case law applies in determining whether this Court has personal

    jurisdiction over an out-of-state accused infringer.           Beverly Hills Fan Co. v. Royal Sovereign

     Corp,, 21 F.3d 1558, 1564-65 (Fed. Cir. 1994). Federal courts apply the relevant state statute



Electronically Filed 10/09/2019 14:23 / BRIEF / CV 19 917268 / Confirmation Nbr. 1838344 / BATCH


           Case 3:14-cv-00043-MOC-DCK Document 128 Filed 07/18/14 Page 5 of 11
   Case 4:22-cv-05014-MKD               ECF No. 24-1         filed 01/18/23      PageID.238 Page 18 of 142



     when determining whether a federal court, sitting in a particular case, has personal jurisdiction

     over a defendant, even when the cause of action is purely federal. Id. at 1569. Because North

     Carolina’s long-arm statute is co-extensive with federal due process requirements, the

    jurisdictional inquiry collapses into a single determination of whether this Court’s exercise of

    jurisdiction over Defendants comports with due process. Dillon v. Numismatic Funding Corp,,

     291 N.C. 674, 676 (1977). “The constitutional touchstone for determining whether an exercise

     of personal jurisdiction comports with due process ‘remains whether the defendant purposefully

     established minimum contacts in the forum State.’” Nuance Commc'ns, Inc, v. Abbyy Software

     House, 626 F.3d 1222, 1230-31 (Fed. Cir. 2010) (quoting Burger King Corp, v, Rudzewicz, 471

     U.S. 462, 474, (1985) (internal quotation marks omitted)).

             Having considered such threshold motions, the Court will allow Celgard’s Motion for

     Jurisdictional Discovery (#58) into whether LGC and LGCAI have established minimum

     contacts in North Carolina such that the maintenance of a suit in this forum would not “offend

     traditional notions of fair play and substantial justice.” Helicopteros Nacionales de Colombia,

     S.A, v. Hall, 466 U.S. 408, 414, 104 S. Ct. 1868, 1872, 80 L. Ed. 2d 404 (1984). The Court does

     not agree with Defendants assertion that by filing this motion Plaintiff has “essentially

     concedefd]” that it has failed to establish a prima facie case of personal jurisdiction over

     Defendants. Def’s Resp., ECF No. 75 at 1.               The Court will refer this matter, as well as the

     Motion to Change Venue, back to the Magistrate Judge for limited discovery and disposition of

     those motions.

     III.    Preliminary Injunction

             A preliminary injunction is an extraordinary remedy, the primary function of which is to

     protect the status quo and to prevent irreparable harm during the pendency of a lawsuit. In re



Electronically Filed 10/09/2019 14:23 / BRIEF / CV 19 917268 / Confirmation Nbr. 1838344 / BATCH


            Case 3:14-cv-00043-MOC-DCK Document 128 Filed 07/18/14 Page 6 of 11
   Case 4:22-cv-05014-MKD               ECF No. 24-1         filed 01/18/23      PageID.239 Page 19 of 142



     Microsoft Corp, Antitrust Litigation, 333 F.3d 517, 525 (4th Cir.2003). A plaintiff seeking a

     preliminary injunction must give notice to the opposing party under Federal Rule of Civil

     Procedure 65 and, at the hearing, must establish the following: (1) plaintiff is likely to succeed

     on the merits; (2) plaintiff is likely to suffer irreparable harm in the absence of preliminary relief;

     (3) the balance of the equities tips in plaintiffs favor; and (4) an injunction is in the public

     interest. Winter v. Natural Res. Def. Council, Inc., 555 U.S. 7, 129 S.Ct. 365, 374 (2008); Moore

     v. Kempthorne, 465 F.Supp.2d 519, 525 (E.D.Va.2006) (“[t]he standard for granting either a

     TRO or a preliminary injunction is the same”).

             The most recent test was adopted by the Court of Appeals for the Fourth Circuit in The

     Real Truth About Obama, Inc, v. Fed. Election Comm'n, 575 F.3d 342, 346-47 (4th Cir.2009),

     vacated on other grounds, 130 S.Ct. 2371, 176 L.Ed.2d 764 (2010)(memorandum opinion),

     reissued in pertinent part, 607 F.3d 355 (4th Cir.2010), overruling Blackwelder Furniture Co. v.

     Selig Mfg, Co., 550 F.2d 189 (4th Cir.1977) (providing a four-pronged balance of the hardships

     test). The Winter Court emphasized that a plaintiff must demonstrate more than just a

     “possibility” of irreparable harm and a strong showing of likelihood of success on the merits.

     Winter, 129 S.Ct. at 375.

             A. Likelihood of Success on the Merits

             The court finds that plaintiff is likely to prevail on the merits of its claim. To establish

     likelihood of success on the merits, plaintiff must show that (l)it will likely prove infringement

     of one or more claims of the patent and (2) if validity is challenged, that the infringed claims are

     likely valid. Sanofi-Synthelabo v. Apotex, Inc., 470 F.3d 1368, 1374 (Fed. Cir. 2006). Whether

     plaintiff has made an adequate showing is viewed by considering “presumptions and burdens

     that will inhere at trial on the merits.” Id.        If the court ultimately finds that defendants likely



Electronically Filed 10/09/2019 14:23 / BRIEF / CV 19 917268 / Confirmation Nbr. 1838344 / BATCH


          Case 3:14-cv-00043-MOC-DCK Document 128 Filed 07/18/14 Page 7 of 11
   Case 4:22-cv-05014-MKD               ECF No. 24-1         filed 01/18/23      PageID.240 Page 20 of 142



     infringe on any claim of the patent, this factor must be weighed in favor of plaintiff. Having

     reviewed description of the claims detailed the claim charts, it appears likely that the SRS sold,

     offered for sale, used, and imported into this country by defendants infringes at least claim 1 of

     the ’586 patent.

     Thus, the court finds this factor weighs in favor of preliminary injunctive relief.

             B.   Irreparable Harm

             While it is clear that plaintiff has already suffered harm, the court has concluded that if

     the alleged infringing activity were allowed to continue, it is very likely that plaintiff will suffer

     irreparable harm in the absence of preliminary relief. This harm includes plaintiff losing

     goodwill, laying off employees, and loss of market share to at least some competitors who

     appear to be engaged in infringing activity. The court finds that this factor weighs heavily in

     favor of preliminary injunctive relief.

             C. Balance of the Equities

             Defendants’ right to source materials from whatever vendor it is confident in and can

     receive the lowest price is a cornerstone of the free market carries with it substantial weight. On

     the other hand, the property interest plaintiff has in its patented technology, and protecting that

     intellectual property from misappropriation, also carries with it substantial weight.           Such

     equitable consideration is further informed by the impact this court’s action on the motion will

     have on either party’s ability to compete: without the injunction, plaintiff is likely to be shut out

     of automotive marketplace; with the injunction, defendants will have to pay slightly more for

     supplies from plaintiff.      The former harm appears to be irreparable, while the latter harm is

     compensable in that defendants can be reimbursed if plaintiff fails to prevail in this action. The

     court finds this factor weighs in favor of preliminary injunctive relief.



Electronically Filed 10/09/2019 14:23 / BRIEF / CV 19 917268 / Confirmation Nbr. 1838344 / BATCH


          Case 3:14-cv-00043-MOC-DCK Document 128 Filed 07/18/14 Page 8 of 11
   Case 4:22-cv-05014-MKD               ECF No. 24-1         filed 01/18/23      PageID.241 Page 21 of 142



             D. Public Interest

             Finally, the court has considered the public interest.               While the public is certainly

     interested in being able to buy end products at the lowest possible price through a free and robust

     market, a public market place that contains goods sourced or produced in a manner that trammels

     on the very intellectual property that has allowed the product to come to market, while perhaps

     enjoying lower prices in the short term, is harmed in the long run as such activity discourages

     investment research and development. Here, plaintiff holds a patent for a very important

     technological development that ultimately benefits consumers by allowing for the delivery of

     safe electric power to mobile devices by reducing the risk of fire posed by dendrite growth. The

     court need not look far past the headlines in recent years to understand how important such

     development is in preventing fire.

             The imposition such proposed injunction will place on defendants is minimal in

     protecting the public interest which is not only in low-priced goods, but in protecting the

     property interests of those who apply resources to solving not only technological problems, but

     problems that could have great impact on public safety. Put another way, an injunction which

     ultimately prevents an upstream misappropriator from profiting from its alleged theft of

     protected technology by limiting the downstream user is not a hardship because it “simply

     prevents [the misappropriator] from doing that which the law already prohibits.” Universal

     Furniture Int'l, Inc, v. Collezione Europa USA. Inc.. No. l:04CV977, 2007 WL 4262725, at *3

     (M.D.N.C. Nov. 30, 2007); Prudential Ins. Co. v. Inlay. 728 F.Supp.2d 1022, 1032 (N.D.Iowa

     2010) (noting that balance of harms favors plaintiff where an injunction restricts the defendant's

     ability “from using information that it appears he should not be able to use at all for the

     [applicable] period.”).      The court has no reason to believe that defendants ability to produce



Electronically Filed 10/09/2019 14:23 / BRIEF / CV 19 917268 / Confirmation Nbr. 1838344 / BATCH


          Case 3:14-cv-00043-MOC-DCK Document 128 Filed 07/18/14 Page 9 of 11
Case 4:22-cv-05014-MKD   ECF No. 24-1   filed 01/18/23   PageID.242 Page 22 of 142




                         EXHIBIT 3
   Case 4:22-cv-05014-MKD                 ECF No. 24-1       filed 01/18/23   PageID.243 Page 23 of 142




        Celgard, LLC v. LG Chem, Ltd.
        United States District Court, W.D. North Carolina, Charlotte Division. | May 21, 2015 | Not Reported in
        F.Supp.3d | 2015 WL 2412467



       Document Details
                                                                                                  Outline
       KeyCite:             KeyCite Yellow Flag - Negative Treatment                             Attorneys and Law Firms

                            Distinguished by Rosinbaum v. Flowers Foods, Inc., W.D.N.C., June 8, ORDER
                                                                                                 All Citations
                            2016
                            KeyCite Overruling Risk - Negative Treatment
                             Overruling Risk TC Heartland LLC v. Kraft Foods Group Brands LLC,
                            U.S., May 22, 2017

       standard Citation:   Celgard, LLC v. LG Chem, Ltd., No. 3:14-CV-00043-MOC-DC, 2015
                            WL 2412467 (W.D.N.C. May 21, 2015)

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EleCtrOnically Filed 10/09/2019 14:23/BRIEF/ CV19 917268/ ConfirmationNbr. 1838344 / BATCH
   Case 4:22-cv-05014-MKD                      ECF No. 24-1      filed 01/18/23        PageID.244 Page 24 of 142


Celgard, LLC v. LG Chem, Ltd., Not Reported in F.Supp.3d (2015)




                                                               *1 THIS MATTER is before the court on
                                                               Plaintiff’s “Objections to Magistrate Judge’s Order
l_ KeyCite Yellow Flag - Negative Treatment                    Granting Defendants’ Alternative Motion to
Distinguished by Rosinbaum v. Flowers Foods, Inc., W.D.N.C.,   Transfer Venue” (Document No. 266), the
June 8, 2016                                                   associated response (Document No. 269), and the
^^KeyCite Overruling Risk - Negative Treatment
                                                               supplemental briefs allowed by the court
Overruling Risk TC Heartland LLC v. Kraft Foods Group          (Document Nos. 275-1; 278). The court heard oral
Brands LLC, U.S., May 22, 2017
                                                               argument on the objections on April 8, 2015. Also
               2015 WL 2412467
                                                               before the court are Defendants’ “Motion To
     Only the Westlaw citation is currently
                                                               Dismiss Counts III, IV, V, VI of Celgard’s First
                    available.
                                                               Amended Complaint ...” (Document No. 222),
    United States District Court, W.D. North
                                                               Defendants’ “Motion To Dismiss Plaintiff’s First
                    Carolina,
                                                               Amended Complaint For Lack Of Personal
              Charlotte Division.
                                                               Jurisdiction” (Document No. 226), and the
         CELGARD, LLC, Plaintiff,                              associated briefs. Having considered the briefs, the
                                                               oral arguments of counsel as to the objections, the
                    v.
   LG CHEM, LTD., and LG Chem America,                         Magistrate Judge’s Order, and the record in this
            Inc., Defendants.                                  matter, the court enters the following Order.

          No. 3:14-cv-ooo43-MOC-DCK.
                         I
                Signed May 21, 2015.

                                                                 I. INTRODUCTION
Attorneys and Law Firms                                        Celgard, LLC (“Plaintiff” or “Celgard”) initiated
                                                               this patent infringement action on January 30,
Charles Bailey King, Jr., Fred M. Wood, Jr., Smith             2014, asserting claims against LG Chem, Ltd.
Moore Leatherwood LLP, Charlotte, NC, Richard                  (“LGC”) and LG Chem America, Inc. (“LGCAI”)
A. Coughlin, Smith Moore LLP, Greensboro, NC,                  (together “LG Chem” or “Defendants”) for: (1)
Andrew Douglas Hedden, Robins Kaplan LLP,                      direct infringement of      U.S. Patent No.
Minneapolis, MN, Bryan J. Vogel, Robins Kaplan                 6,432,586; and (2) induced infringement of
LLP, New York, NY, Jamie R. Kurtz, Martin R.                   Fu.S. Patent No. 6,432,586. (Document No. 1,
Lueck, Robins, Kaplan, Miller & Ciresi, L.L.P.,
                                                               pp. 10-12). The underlying patent, ^U.S. Patent
Minneapolis, MN, for Plaintiff.
                                                               No. 6,432,586 (the “ ‘586 patent”), is titled
David Matthew Wilkerson, Larry         Stephen                 “Separator for a High Energy Rechargeable
McDevitt, Van Winkle Buck Wall Starnes & Davis                 Lithium Battery,” and relates to “separators” used
PA, Asheville, NC, Kevin C. Wheeler, Leah A.                   in the construction of high energy rechargeable
Edelman, Michael J. McKeon, Fish & Richardson                  lithium-ion batteries. See (Document No. 1,     7);
P.C., Washington, DC, F. Lane Williamson, Tin                  (Document No. 1-A, p. 1). Put simply, this
Fulton Walker & Owen, Charlotte, NC, for                       technology reduces the likelihood that a battery
Defendant.                                                     will fail, catch fire, or experience a short. See
                                                               (Document Nos. 16, p. 4; 1-A, p. 1).

                                                               Plaintiff’s Amended Complaint generally alleges
                                                               that LG Chem obtains uncoated polymeric base
                                                               films from third parties, to which it applies a
                                                               ceramic coating layer to create battery separators
                                                               that fall within the scope of the   ’586 Patent.
                         ORDER                                 (Document No. 217, 51). The separators are then
                                                               sold by LGC and/or LGCAI to third parties, or
                                                               used in Defendants’ own production of lithium-ion
MAX O. COGBURN, JR., District Judge.
                                                               batteries, all allegedly in violation of the   ’586

Electronically-Filed 10/09/2019 14:23/ BRIEF/CV 19 917268/ConfirmationNbr.1838344/BATCH                               2
   Case 4:22-cv-05014-MKD                 ECF No. 24-1     filed 01/18/23       PageID.245 Page 25 of 142


Celgard, LLC v. LG Chem, Ltd., Not Reported in F.Supp.3d (2015)



Patent. Id. at KK 106-09. Plaintiff alleges that         began a five-phase expansion project including an
batteries   containing     infringing      separators    expansion to its Charlotte, North Carolina facility
manufactured by Defendants are used in various           and the construction of a new facility in Concord,
consumer electronic devices and electric vehicles        North Carolina, costing in excess of $300,000,000.
that are sold throughout the United States,              Id. at K 9; (Document No. 217, K 68-70). LGC
including North Carolina. Id. at KK 16, 52-53, 106.      stopped purchasing base film for use in CE devices
                                                         in 2008 in order for Plaintiff to be able to focus
                                                         exclusively on producing base film for EVs.
                                                         (Pulwer Decl. K 6).

                                                         Despite Celgard’s expansion, the parties were
  A. Factual Background and Relationship Of              unable to reach an agreement on the LTA.
  The Parties                                            According to Celgard, LGC continuously rejected
As previously discussed by this court, see               terms to which the parties had previously agreed,
(Document No. 128), the factual setting of this          made counterproposals that included only minor
patent dispute is somewhat unique and, as it relates     changes, and requested changes that included terms
to the contested issue of personal jurisdiction, bears   that it had rejected during previous rounds of
repeating here. In contrast to the typical patent        negotiations. Id. at K 11. The parties were able to
litigation in which the parties produce the same or      agree to a Memorandum of Understanding
similar product, compete for the same customers,         (“MOU”) as a precursor to an LTA. Id. at K 13;
and have little or no prior relationship with the        MOU (Document No. 18-1), p. 2 (“LGC and
opposition, the parties in this case have been           Celgard understand that this is a non-binding MOU
involved with each other in the production of            and is made in anticipation of the parties entering
lithium ion batteries since 2005. Beginning in 2006      into a long-term supply agreement”).
and continuing through 2008, Celgard supplied
LGC, on an as-needed purchase order basis, with          Under the MOU, the parties agreed to “work
uncoated base films to be used in the production of      together in a collaborative effort” during the
lithium-ion batteries for consumer-electronic            “Collaboration Period,” which ran from March 11,
(“CE”) products. (Document No. 18, Declaration           2011, to December 31, 2015. Id. at p. 2-3.
of Mitchell Pulwer (“Pulwer Decl.”), KK 4-5;             However, the agreement was non-binding and
Document No. 217, K 67). In 2008, at LGC’s               stated that neither party was bound to enter into a
request, the relationship significantly expanded as      subsequent supply agreement. Id. Generally
the parties entered into discussions regarding the       speaking, the MOU includes the following
prospect of Celgard becoming LGC’s exclusive             principal terms: (1) that LGC will purchase
supplier of base film for lithium-ion batteries to be    separators1 “primarily” from Celgard as long as
used in electric vehicles (“EVs”). (Pulwer Decl., K      Celgard is able to supply separators to LGC
6; Document No. 217, K 17).                              meeting certain qualifications and “overall program
                                                         objectives which includes price competitiveness, in
*2 As the parties began negotiating the terms of a       the quantity needed”; (2) that “LGC intends to
Long Term Supply Agreement (“LTA”) that would            purchase the majority of separator required for
solidify their new relationship, LGC notified            each application in which Celgard is qualified as
Celgard that it would need to increase its               long as the Celgard separator” meets the above
production capacity to satisfy LGC’s supply              conditions; and (3) that LGC will give “priority” to
demands. (Pulwer Decl. K 8). Negotiating the terms       Celgard separators in any new application for the
of the LTA for Celgard was its Vice President and        electric drive vehicle (“EDV”) and energy storage
General Manager Mitch Pulwer. Id. at K 1. During         system (“ESS”) markets. Id.
these negotiations, Jai Ham, a Vice President of
LGC, explained to Pulwer that if Celgard                 Following the execution of the MOU in 2011, the
“demonstrated its commitment” to LGC and their           parties’ relationship began to sour over price and
new relationship by expanding its production             quantity disputes. According to Celgard, between
capacity, LGC would enter into the LTA, with             2009 and July 2013, LGC purchased substantially
Celgard becoming the exclusive supplier of base          all of its base film requirements for the EV industry
film for LGC’s EV program. Id. at K 8. Plaintiff         from Celgard. (Pulwer Decl., K 19). In November
states that in reliance on this representation and in    of 2012, LGC demanded that Celgard significantly
order to meet LGC’s supply demands, Celgard

Electronically-Filed 10/09/2019 14:23/ BRIEF/CV 19 917268/ConfirmationNbr.1838344/BATCH                          3
   Case 4:22-cv-05014-MKD                 ECF No. 24-1     filed 01/18/23       PageID.246 Page 26 of 142


Celgard, LLC v. LG Chem, Ltd., Not Reported in F.Supp.3d (2015)



reduce its prices and threatened to use other base       jurisdictional discovery. (Document No. 128, at p.
film suppliers should Celgard refuse. Id. at       21.   2-6). Judge Keesler issued an “Order” (Document
Believing that LGC’s price demands were contrary         No. 139) on July 21, 2014, setting limits and
to past negotiations and course of dealings, Celgard     deadlines for jurisdictional discovery. Also on July
refused to lower its prices. Id. at 23. After that,      21, 2014, Defendants filed a “Notice of Appeal” as
the parties’ relationship spiraled downward. In          to the Order granting the Preliminary Injunction.
June 2013, LGC gave notice that Celgard was              (Document No. 150). On July 22, 2014, the
being phased out of the EV program beginning in          undersigned issued an Order, (Document No. 160),
September 2013, with Celgard being completely            granting Defendants’ “Motion to Stay Preliminary
out by April 2014. Id. at      25. Celgard filled all    Injunction Pending Appeal.” On August 13, 2014,
outstanding orders but stopped taking additional         the undersigned entered an Order, (Document No.
purchase orders from LGC. Id. at         26. Its final    188),    denying      Plaintiff’s    Motion     for
shipment of base film material to LGC was in July        Reconsideration of the Order Granting LG Chem’s
2013. (Document No. 80 (“Paulus Decl.”),           7).   Motion to Stay. (Document No. 165). On August
Celgard filed this suit in January 2014, bringing the     15, 2014, Plaintiff filed a “Notice of Appeal”
above-mentioned claims for patent infringement.          (Document No. 191) as to the Order granting
                                                         Defendants’ Motion to Stay, and from the Order
                                                         denying Plaintiff’s Motion for Reconsideration.
                                                         Both appeals are currently before the Court of
                                                         Appeals for the Federal Circuit. See Celgard, LLC
                                                         v. LG Chem, Ltd., No. 14-01675, (Fed.Cir.2014).
  B. Procedural History
*3 Approximately one month after filing the              On August 26, 2014, Judge Keesler issued an
original complaint in this matter, on March 5,           “Order And Memorandum And Recommendation”
2014, Plaintiff filed a “Motion For Preliminary          (Document No. 204) allowing Plaintiff to file an
Injunction.” (Document No. 15). On March 19,             Amended Complaint incorporating the results of
2014, Defendants filed a “Motion To Dismiss              jurisdictional discovery, and recommending that
Plaintiff’s Complaint For Lack Of Personal               the pending motions to dismiss and transfer
Jurisdiction” (Document No. 30). On April 7,             (Document Nos. 30 and 71) be denied as moot.
2014, Plaintiff filed an “Alternative Motion For
Jurisdictional Discovery.” (Document No. 58). On         Plaintiff filed its “First Amended Complaint”
April 23, 2014, Defendants filed an “Alternative         (Document No. 217) on September 5, 2014. The
Motion To Transfer Venue To The Eastern District         Amended Complaint re-asserts claims for direct
Of Michigan.” (Document No. 71). On May 14,              infringement and induced infringement of the
2014, the undersigned held a hearing on the
                                                              ’586 Patent by both Defendants. Plaintiff
aforementioned motions, during which the court
                                                         alleges that after the parties’ business relationship
primarily considered arguments on the issues of
                                                         went sour, “Defendants walked away from their
personal jurisdiction and a preliminary injunction.
                                                         prior commitments and chose to purchase, coat and
                                                         sell infringing ceramic coated separator with base
The undersigned issued an “Order” (Document No.
                                                         film from other suppliers, despite their knowledge
 128) on July 18, 2014, granting Plaintiff’s “Motion
                                                         that these actions infringed on Celgard’s exclusive
For Preliminary Injunction” (Document No. 15)
                                                         patent rights.” (Document No. 217,           1). The
and     Plaintiff’s   “Alternative    Motion      For
                                                         Amended Complaint also adds claims against LGC
Jurisdictional Discovery” (Document No. 58), and
                                                         (only) for: unfair and deceptive trade practices;
directing that “The LG Chem Defendants’ Motion
                                                         breach of contract; breach of the implied covenant
To Dismiss Plaintiff’s Complaint For Lack Of
                                                         of good faith and fair dealing; and, in the
Personal Jurisdiction” (Document No. 30) and
                                                         alternative, unjust enrichment. Id. at      115-143.
“The LG Chem Defendants’ Alternative Motion To
                                                         The new claims against LGC relate to Plaintiff’s
Transfer Venue To The Eastern District Of
                                                         role as a supplier of separator base film for
Michigan” (Document No. 71) be referred to
                                                         lithium-ion batteries manufactured by LGC for
Magistrate Judge Keesler for consideration after
                                                         EVs. Id. at        1. Plaintiff’s additional counts
jurisdictional discovery. The Order also discussed
                                                         contend that LGC is liable for its “repeated false
the factual setting, the history of the parties’
                                                         promises to use Celgard as its exclusive and/or
business transactions, the relationship of the parties
                                                         primary long-term supplier of base film for the
to North Carolina, and the appropriateness of

ElectronicaiyFiled 10/09/2019 14:23/ BRIEF/CV 19 917268/ConfirmationNbr.1838344/BATCH                            4
   Case 4:22-cv-05014-MKD                 ECF No. 24-1     filed 01/18/23        PageID.247 Page 27 of 142


Celgard, LLC v. LG Chem, Ltd., Not Reported in F.Supp.3d (2015)



electric vehicle industry.” Id.   116.                   Co., No. 3:08-CV-367, 2010 WL 2342458, at *1
                                                         (W.D.N.C. June 8, 2010) (citing Walton v.
*4 On September 29, 2014, Defendants filed: (1)          Johnson, 440 F.3d 160, 173-74 (4th Cir.2006)). A
“Motion To Dismiss Counts III, IV, V, VI,                magistrate judge’s order is “contrary to law” where
Celgard’s     First    Amended    Complaint     ...”     he “failed to apply or misapplied statutes, case law,
(Document No. 222); (2) “Motion To Dismiss               or procedural rules.” Id. (citing Miceli v. KBRG of
Plaintiff’s First Amended Complaint For Lack Of          Statesville, L.L.C., No. 5:05-CV-265-V, 2008 WL
Personal Jurisdiction” (Document No. 226); and           2945451, at *1 (W.D.N.C. July 24, 2008)).
(3) “Alternative Motion To Transfer Venue To The
Eastern District Of Michigan In Whole Or In Part.”
(Document No. 230). On February 18, 2015, Judge
Keesler issued an Order (Document No. 262)
granting Defendants’ “Alternative Motion to
Transfer.” In this Order, Judge Keesler declined to        B. Discussion of Plaintiff’s Objections
address     the    merits   of,  or   make     any
recommendations regarding, the two Motions to
Dismiss. In doing so, Judge Keesler cited, among
                                                            1. Standing Order Regarding Magistrate Judge
other authority, BSN Medical, Inc. v. American
                                                           Referrals
Medical Products, LLC, 3:11cv092-GCM-DSC,
                                                         This court’s “Standing Order” regarding referrals
2012 WL 171269, at *2 (W.D.N.C. Jan.20, 2012),
                                                         to Magistrate Judges in this District, No.
wherein another magistrate judge in this district
                                                         3:11-mc-25-MOC (W.D.N.C., Mar. 16, 2011)
granted an alternative motion to transfer without
                                                         provides, in relevant part:
reaching the merits of the motion to dismiss.
Plaintiff has timely objected to Judge Keesler’s           pursuant to F 28, United States Code, Section
Order pursuant to       28 U.S.C. § 636(b) and             636(b) and Local Civil Rule 72.1, in civil and
Fed.R.Civ.P. 72(a). Defendants have responded to           miscellaneous cases, magistrate judges shall be
such objections and the matter is now ripe for             specifically referred the following duties:
review.



                                                           to dispose of non-dispositive civil motions,
                                                           including but not limited to motions for ...
                                                           transfer to another division or district ... Where a
  II. ALTERNATIVE MOTION TO                                non-dispositive motion is pled in the alternative
  TRANSFER                                                 to a dispositive motion, a Memorandum and
                                                           Recommendation will be entered as to both
                                                           motions.

  A. Standard of Review
When a magistrate judge issues an order on a
                                                         *5 Id. Plaintiff’s first objection centers on the
                                                         argument that because Judge Keesler issued an
non-dispositive matter, “[t]he district judge in the
                                                         order on a non-dispositive motion (to transfer)
case must consider timely objections and modify or       without addressing the merits of the two dispositive
set aside any part of the order that is clearly
                                                         motions (to dismiss) through a Memorandum and
erroneous or is contrary to law.” Fed.R.Civ.P.
                                                         Recommendation, Judge Keesler violated this
72(a). See also      28 U.S.C. § 636(B)(1)(A) (“A        Court’s Standing Order and thus is contrary to law.
judge of the court may reconsider any pretrial           Plaintiff argues that the proper remedy for this
matter under this subparagraph (A) where it has          error is to require Judge Keesler to issue a
been shown that the magistrate judge’s order is          Memorandum and Recommendation for each of
clearly erroneous or contrary to law.”). In engaging     the dispositive motions, as well as the
in such review, a finding is “ ‘clearly erroneous’       non-dispositive alternative motion.
when, although there is evidence to support it, the
reviewing court ... is left with the definite and firm   As discussed at the hearing, the undersigned
conviction that a mistake has been committed.”           regards the Standing Order as an in-house policy
1 High Voltage Beverages, L.L.C. v. Coca-Cola            for chambers to follow in an attempt to efficiently

ElectronicaiyFiled 10/09/2019 14:23/ BRIEF/CV 19 917268/ConfirmationNbr.1838344/BATCH                             5
   Case 4:22-cv-05014-MKD                  ECF No. 24-1     filed 01/18/23        PageID.248 Page 28 of 142


Celgard, LLC v. LG Chem, Ltd., Not Reported in F.Supp.3d (2015)



resolve the merits of motions and move the docket         3:14-CV-00141-MOC, 2014 WL 2572960, at *5
along. While the court always finds it helpful to         (W.D.N.C. June 9, 2014) (citing Datasouth
have recommendations on legal issues from the             Computer      Corp.     v.   Three    Dimensional
magistrate judges of this district, a magistrate          Technologies, Inc., 719 F.Supp. 446, 451
judge’s failure to comply with the procedures of          (W.D.N.C.1989)). A court’s decision to grant a
the Standing Order does not constitute grounds for        motion to transfer venue under 28 U.S.C. § 1404(a)
overturning his decision. The court will therefore        is largely discretionary. 3A Composites USA, Inc.
overrule Plaintiff’s objection as to Judge Keesler’s      v. United Indus., Inc., No. 5:13CV83-RLV, 2014
non-compliance with the Standing Order.                   WL 1471075, at *1 (W.D.N.C. Apr.15, 2014)
                                                          (citing Landers v. Dawson Const. Plant Ltd., 201
The court finds in this situation, however, that the      F.3d 436, 1999 WL 991419, *2 (4th Cir.1999)). In
merits of the dispositive motions have a significant      exercising such discretion, the court applies a
bearing on the resolution of the alternative motion       balancing test and considers various factors in
to transfer. In light of the fact that the uncertainty    deciding whether transfer is appropriate. Jim
of the jurisdictional issue was a significant reason      Crockett Promotions, Inc. v. Action Media Grp.,
for Judge Keesler’s Order transferring venue, see         Inc., 751 F.Supp. 93 (W.D.N.C.1990). The factors
(Document No. 262, pp. 7-9), the court finds that         to be considered include:
the proper course of action here would have been
to address the issue of personal jurisdiction (raised       *6 1. The plaintiff’s initial choice of forum;
in the dispositive Motion to Dismiss for Lack of
Jurisdiction) simultaneously with the issue of              2. The residence of the parties;
transfer. The court will therefore address both of
                                                            3. The relative ease of access of proof;
the dispositive motions along with the objections to
the Order transferring venue.
                                                            4. The availability of compulsory process for
                                                            attendance of witnesses and the costs of
                                                            obtaining attendance of willing witnesses;

                                                            5. The possibility of a view by the jury;
  2. Transfer of Venue
                                                            6. The enforceability of a judgment, if obtained;

                                                            7. The relative advantages and obstacles to a fair
                                                            trial;
   i. Legal Standards
28 U.S.C. § 1404(a) provides: “For the
                                                            8. Other practical problems that make a trial
convenience of parties and witnesses, in the
                                                            easy, expeditious, and inexpensive;
interest of justice, a district court may transfer any
civil action to any other district or division where it     9. The administrative       difficulties    of court
might have been brought or to any district or               congestion;
division to which all parties have consented.” Id.
28 U.S.C. § 1400(b), which specifically governs             10. The interest in having localized controversies
venue in patent actions, provides, “[a]ny civil             settled at home and the appropriateness in
action for patent infringement may be brought in            having the trial of a diversity case in a forum
the judicial district where the defendant resides, or       that is at home with state law that must govern
where the defendant has committed acts of                   the action; and
infringement and has a regular and established
place of business.” Id. A motion to transfer                11. The avoidance of unnecessary problems with
pursuant to § 1404(a) in a patent case requires             conflict of laws.
application of the law of the regional circuit. In
re Link A Media Devices Corp., 662 F.3d 1221,             Id. “The above factors fall into three categories: (1)
1222-23 (Fed.Cir.2011).                                   factors that favor neither party, (2) factors that
                                                          favor Defendant, and (3) factors that favor
Upon a motion to transfer, the moving party carries       Plaintiff.” Cohen v. ZL Technologies, Inc., No.
a heavy burden. Duke Energy Florida, Inc. v.              3:14-CV-00377-FDW, 2015 WL 93732, at *2
Westinghouse         Elec.         Co.,        No.        (W.D.N.C. Jan.7, 2015) (citing Crockett, 751

ElectronicaiyFiled 10/09/2019 14:23/ BRIEF/CV 19 917268/ConfirmationNbr.1838344/BATCH                              6
   Case 4:22-cv-05014-MKD                  ECF No. 24-1     filed 01/18/23        PageID.249 Page 29 of 142


Celgard, LLC v. LG Chem, Ltd., Not Reported in F.Supp.3d (2015)



F.Supp. at 98). The court must analyze the eleven         differ,” and that the issue remained uncertain even
factors based on quality, not just quantity. Id .         after a round of briefing, oral arguments, and a
(citing Crockett, 751 F.Supp. at 96). In most cases,      jurisdictional discovery period prior to the filing of
the plaintiff’s choice of forum should be given           an Amended Complaint and renewed motions.
significant weight, and should not be disturbed           (Document No. 262, p. 7). Judge Keesler also
unless the balance is strongly in favor of transfer.      noted that this court recently rejected many of the
   Collins v. Straight, Inc., 748 F.2d 916, 921 (4th      same jurisdictional arguments that Plaintiff made
                                                          in this case in a different patent infringement
Cir .1984) (citing     Gulf Oil Corp. v. Gilbert, 330
                                                          lawsuit filed by Plaintiff against a different
U.S. 501, 508, 67 S.Ct. 839, 91 L.Ed. 1055
                                                          defendant. See (Document No. 262, p. 7) (citing
(1947)). A motion should not be granted if transfer
                                                          Celgard, LLC v. SK Innovation, Co., Ltd.,
“would merely shift the inconvenience from the            3:13cv254-MOC-DSC, t 2014 WL 5430993
defendant to the plaintiff, or if the equities lean but
slightly in favor of the movant after all factors are     (W.D.N.C. Aug.29, 2014)). He noted that he found
considered.” Jim Crockett Promotions, Inc. v.             it doubtful that this court has personal jurisdiction
Action Media Grp., Inc., 751 F.Supp. 93, 95               over both Defendants with regard to all the claims
(W.D.N.C.1990).                                           asserted against them, but that Defendants admit to
                                                          jurisdiction in Michigan.2 Id.
On a motion to transfer, the facts as alleged in the
complaint are accepted as true and all reasonable          *7 In making the decision to grant transfer in light
inferences are drawn in the plaintiff’s favor.            of what he found to be “doubtful” jurisdiction over
Century Furniture, LLC v. C & C Imps., Inc., No.          both Defendants in North             Carolina and
1:07cv179, 2007 WL 2712955, at *2 (W.D.N.C.               Defendants’ concessions that they are subject to
Sept.14, 2007).                                           jurisdiction in Michigan, Judge Keesler cited
                                                          several decisions from district courts in this circuit
As noted by Judge Keesler, “While a court                 doing the same. See (Document No. 262, pp. 8-9
typically decides the question of personal                (citing _ La Casa Real Estate & Inv., LLC v. KB
jurisdiction over a defendant before considering          Home of S.C., Inc., No. 1:09CV895, 2010 WL
venue, the Supreme Court has held that ‘when              2649867, at *2 (M.D.N.C. June 30, 2010) (“in the
there is a sound prudential justification for doing       interests of convenience, fairness and judicial
so, ... a court may reverse the normal order of           economy, the Court elects to consider Defendant’s
considering personal jurisdiction and venue.’ “           Motion to Transfer pursuant to 28 U.S.C. § 1404(a)
BSN Medical, Inc. v. American Medical Products,           before reaching any issues related to the Court’s
LLC, 3:11cv092-GCM-DSC, 2012 WL 171269, at                jurisdiction.”); Nacco Materials Handling Grp.,
*2 (W.D.N.C. Jan.20, 2012) (citing        Leroy v.        Inc. v. Lilly Co., 2011 WL 2119097, at *4
Great W. United Corp., 443 U.S. 173, 180, 99              (E.D.N.C. May 25, 2011) (granting motion to
S.Ct. 2710, 61 L.Ed.2d 464 (1979)). “A court need         transfer when personal jurisdiction over defendant
not have personal jurisdiction over a defendant to        remained “in serious doubt”);           Waldron v.
transfer a case pursuant to 28 U.S.C. §§ 1404(a) or       Atradius Collections, Inc., 2010 WL 2367392, at
1406(a).” Id.                                             *3 (D.Md. June 9, 2010) (“[T]he constitutional
                                                          question of personal jurisdiction is a close one
                                                          upon which reasonable minds could differ. There is
                                                          no reason to inject such a question into the case
                                                          unnecessarily.”); Jenkins v. Albuquerque Lonestar
                                                          Freightliner, LLC, 464 F.Supp.2d 491, 494
   ii. The Magistrate Judge's Order                       (E.D.N.C.2006) (granting motion to transfer in part
Judge Keesler found good cause to allow                   because “the absence of personal jurisdiction over
Defendants’ motion to transfer to the Eastern             the defendant” in the original forum but not the
District of Michigan and, citing BSN Medical,             transferee forum is an “impediment to a decision
declined to make any recommendation as to the             on the merits”); Tyler v. Gaines Motor Lines, Inc.,
pending dispositive motions, including the motion         245 F.Supp.2d 730, 734 (D.Md.2003) (transferring
pertaining to personal jurisdiction. Judge Keesler        case in interest of justice because the question of
found that the question of personal jurisdiction          personal jurisdiction was a “close one” and “would
over Defendants in North Carolina presented a             inject into the case an unnecessary legal issue that
“close call upon which reasonable minds could             would render the entire litigation null and void, if,

ElectronicaiyFiled 10/09/2019 14:23/ BRIEF/CV 19 917268/ConfirmationNbr.1838344/BATCH                              7
   Case 4:22-cv-05014-MKD                 ECF No. 24-1     filed 01/18/23        PageID.250 Page 30 of 142


Celgard, LLC v. LG Chem, Ltd., Not Reported in F.Supp.3d (2015)



on appeal, jurisdiction were found to be lacking”)).     ordinarily given considerable weight, “that weight
While the court agrees that the issue of personal        is diminished when the conduct giving rise to the
jurisdiction presents a “close call” in this case, it    complaint did not occur in the forum.” See
also believes that the parties deserve a thorough        (Document No. 262, p. 9); Hames v. Morton Salt,
analysis of the dispositive question of personal         Inc., 3:11cv570-MOC-DSC, 2012 WL 1247201,
jurisdiction before this matter is transferred to        at *2 (W.D.N.C. Apr.13, 2012) (citing       Parham
another district.                                        v. Weave Corp., 323 F.Supp.2d 670, 674
                                                         (M.D.N.C.2004); Telepharmacy Solutions, Inc. v.
                                                         Pickpoint Corp., 238 F.Supp.2d 741, 743
                                                         (E.D.Va.2003); Lynch v. Vanderhoef Builders, 237
                                                         F.Supp.2d 615, 617 (D.Md.2002)). Plaintiff argues
                                                         that the “diminished weight” rule only applies
   iii. Review of Crockett Analysis
                                                         where none or essentially none of the conduct
Plaintiff argues that Judge Keesler’s Order should
                                                         giving rise to the action occurred in the plaintiff’s
be set aside as clearly erroneous and contrary to
law based on his analysis of the Crockett factors.       chosen forum. See         Parham, 323 F.Supp.2d at
Judge Keesler found that five factors—residence of       674 (“While the plaintiff’s choice of forum is
the parties, access to proof, attendance of              accorded substantial weight, the deference given to
witnesses, fair trial, and practical problems            the plaintiff’s choice is proportionate to the relation
affecting trial expediency and efficiency—weighed        between the forum and the cause of action.”
in favor of transfer, while the remaining factors        (citations and internal quotations omitted));
were neutral. (Document No. 262, pp. 9-14).              E Speed Trac Technologies, Inc. v. Estes Express
Plaintiff argues that each of these factors, as well     Lines,     Inc.,    567      F.Supp.2d     799,    803
as its choice of forum and local resolution factors,     (M.D.N.C.2008) (noting that choice of forum
weigh against transfer or, at a minimum, are             “receives less weight ... when (1) the plaintiff
neutral, and that none of the Crockett factors weigh     chooses a foreign forum, or (2) the cause of action
in favor of transfer. Judge Keesler found the            bears little or no relation to the chosen forum.”).
following factors to be neutral: the possibility of a
view by the jury; the enforceability of a judgment;      Judge Keesler found that while Plaintiff had noted
the relative court congestion between the districts;     some contacts with North Carolina by Defendant
and the avoidance of conflict of laws. Plaintiff does    LGC, most of the conduct giving rise to the crux of
not challenge the venue order based on these             the amended complaint (the patent infringement
factors and the court will therefore not disturb         claims) as to both Defendants occurred in Korea or
Judge Keesler’s determinations on those factors.         Michigan. (Document No. 262, p. 10). Judge
                                                         Keesler thus applied the “diminished weight” rule
*8 The court is mindful of the discretion to the         upon finding that most of the conduct giving rise to
magistrate judge in analyzing a motion to transfer,      the complaint did not occur in North Carolina.
3A Composites USA, Inc. v. United Indus., Inc.,          However, as explained above, Plaintiff has alleged,
No. 5:13CV83-RLV, 2014 WL 1471075, at *1                 and this court can reasonably infer, that much of
(W.D.N.C. Apr.15, 2014), and will only disturb his       the conduct giving rise to Defendants’ claims did
decision where clearly erroneous or contrary to          occur in North Carolina. Plaintiff’s Amended
law. Fed.R.Civ.P. 72(a);       - 28 U.S.C. §             Complaint alleges that at least some conduct giving
636(B)(1)(A). The court will address the objections      rise to the alleged patent infringement occurred in
in turn.                                                 North Carolina, (Document No. 217,           10-17),
                                                         and that all of the conduct forming the basis of its
                                                         state law claims occurred in North Carolina. See,
                                                         e.g. id. at    17-32, 80-82, 101. As alleged in the
                                                         Amended Complaint, Plaintiff argues that the
                                                         alleged infringement in this case occurred as a
   a. Plaintiff’s choice offorum                         result of the longstanding business relationship of
Judge Keesler found this factor to be neutral;           the parties concerning sales of Celgard base film
Plaintiff objects to such a finding, arguing that its    and the ultimate breakdown of such relationship.
choice of forum should have weighed more                 See (Document No. 217,           18; 26-28; 49-51).
strongly in its favor. Judge Keesler properly noted      The crux of Plaintiff’s argument is that it provided
that although the choice of forum by the Plaintiff is    base film to LGC specifically for its use and that

Electronically-Filed 10/09/2019 14:23/ BRIEF/CV 19 917268/ConfirmationNbr.1838344/BATCH                            8
   Case 4:22-cv-05014-MKD                  ECF No. 24-1     filed 01/18/23        PageID.251 Page 31 of 142


Celgard, LLC v. LG Chem, Ltd., Not Reported in F.Supp.3d (2015)



when the business relationship went sour, LGC             Products, Inc., 395 F.3d 1275, 1280 (Fed.Cir.2005)
sourced base film from third parties but continued        (“Venue in a patent action against a corporate
to use Celgard’s patented technology without              defendant exists wherever there is personal
Celgard’s    permission,     which      constitutes       jurisdiction.”).
infringement of the     ’586 patent. Id. See also Pl.
Opp. Mot. Transfer (Document No. 243, p. 7)               Even assuming jurisdiction is proper over both
(“Celgard provided LG Chem separator material             Defendants in Michigan and that they are
that Celgard permitted to be ceramic coated               “residents” within the meaning of the applicable
pursuant to the patent-in-suit, and the breakdown         statutes, the disparity in the residencies between
of this relationship—caused by LG Chem’s                  Plaintiff and Defendants would make this factor
misconduct—led LG Chem to manufacture and                 neutral. See Simpson v. Snyder’s of Hanover, Inc.,
distribute    products   containing     unauthorized      No. 1:05-CV-354, 2006 WL 1642227, at *5
separator    material,   thereby    infringing   the      (W.D.N.C. June 12, 2006) (affirming magistrate
patent-in-suit.”).                                        judge’s determination that the residence factor was
                                                          neutral because one party was a resident of the
                                                          forum and one party was a resident of the proposed
*9 Here, while not all of the conduct giving rise to
the claims asserted against Defendants occurred in        venue); Tracy v. Loram Maint. of Way, Inc., No.
North Carolina, much of it did. See Section IV, C.        5:10-CV-102-RLV, 2011 WL 2791257, at *6
Accordingly, the court finds that it was error for        (W.D.N.C. July 14, 2011) (“the Court finds that the
the magistrate judge to apply the “diminished             residency of the parties is a neutral factor. Plaintiff
weight” rule and that the general rule that the           resides in Catawba County, North Carolina, while
plaintiff’s choice of forum should be accorded            Defendant’s main place of business is in
                                                          Minnesota. Regardless of the place of adjudication,
substantial weight is applicable.         Collins v.
                                                          one party will benefit to the other’s detriment.”).
Straight, Inc., 748 F.2d 916, 921 (4th Cir.1984). As
such, the court finds that the Plaintiff’s choice of
                                                          The court finds it was error for the Magistrate
forum weighs in favor of keeping this action in this
                                                          Judge to find that residence of the parties favored
district.
                                                          transfer and finds this factor is, in fact, neutral.




   b. Residence of the parties
                                                             c. Access to evidence
Judge Keesler found that this factor slightly favors
                                                          Judge Keesler found that this factor favors transfer;
transfer; Plaintiff objects, arguing that because
                                                          Plaintiff objects and argues that it should have
neither party is a resident of Michigan, this factor
                                                          been, at a minimum, neutral. “In patent
should have weighed against transfer or been
                                                          infringement cases, the bulk of the relevant
neutral. Plaintiff is a resident of North Carolina.
                                                          evidence usually comes from the accused infringer.
LGC is a corporation with its principal place of
                                                          Consequently, the place where the defendant’s
business in Seoul, Korea. LGCAI’s principal place
                                                          documents are kept weighs in favor of transfer to
of business is in New Jersey. Judge Keesler found
that because all LGC subsidiaries have outposts in        that location.”     In re Genentech, Inc., 566 F.3d
the Eastern District of Michigan, and Defendants          1338, 1345 (Fed.Cir.2009) (citation omitted). Here,
contend they are “at home” in Michigan, this factor       Plaintiffs allege that much of the proof in this case
weighs in favor of transfer.                              is in North Carolina, including “relevant
                                                          documents, contracts, and e-mails.” (Document
For purposes of venue, “a corporate defendant             No. 243, p. 5). Defendants allege that the bulk of
resides in any judicial district in which it is subject   the evidence is likely to come from LGC and its
to personal jurisdiction at the time the action           U.S. subsidiaries involved in the lithium battery
                                                          business and located in Michigan. (Document No.
commences.” 28 U.S.C. § 1391(c). See also    VE
                                                          248, p. 2). Even accepting such argument as true
Holding Corp. v. Johnson Gas Appliance Co., 917
                                                          for the patent infringement claims (despite the fact
F.2d 1574, 1584 (Fed.Cir.1990) (holding that the
                                                          that neither Defendant is headquartered in
language of § 1391(c) applies to § 1400(b));
                                                          Michigan), the same cannot be said for all of the
( ^^Trintec Indus., Inc. v. Pedre Promotional

Electronically-Filed 10/09/2019 14:23/ BRIEF/CV 19 917268/ConfirmationNbr.1838344/BATCH                             9
   Case 4:22-cv-05014-MKD                  ECF No. 24-1     filed 01/18/23         PageID.252 Page 32 of 142


Celgard, LLC v. LG Chem, Ltd., Not Reported in F.Supp.3d (2015)



state law claims. As such, the court cannot find that     (Document No. 262, p. 11-12). While the court
the “bulk” of the evidence would be in Michigan,          understands the magistrate judge’s logic, it simply
when the documents related to the conduct giving          cannot agree that this factor favors transfer where
rise to Plaintiff’s claims are likely at each party’s     Defendant has not identified a single witness, let
headquarters—in Korea, New Jersey, and North              alone one in Michigan. See ' Capital One Fin.
Carolina. See      MGT Gaming, Inc. v. WMS                Corp. v. Drive Fin. Servs., L.P., 434 F.Supp.2d
Gaming,    Inc.,   978    F.Supp.2d    647,    669        367, 375-76 (E.D.Va.2006) (“The party asserting
(S.D.Miss.2013) (“Presumably, the bulk of the             witness inconvenience has the burden to proffer, by
discovery material relating to a corporate party is       affidavit or otherwise, sufficient details respecting
located at the corporate headquarters.”)(citing           the witnesses and their potential testimony to
1 In re Acer Am. Corp., 626 F.3d 1252, 1256               enable the court to assess the materiality of
(Fed.Cir.2010)). The court finds that the magistrate      evidence and the degree of inconvenience.”); 15
judge erred in finding that this factor favored           Fed. Prac. & Proc. Juris. § 3851 (“The party
transfer and finds that given the nature of the           seeking the transfer must identify, typically by
claims and the relevant evidence, this factor is          affidavit, the key witnesses to be called, state their
neutral.                                                  residence, and provide at least a general summary
                                                          of what their testimony will cover.”). The court
                                                          therefore finds that Judge Keesler’s decision on
                                                          this factor was in error. The court will therefore
                                                          construe this factor as neutral.

   d. Availability of compulsory process for
   witnesses and the costs of transporting and
   obtaining those witnesses
*10 Judge Keesler found that this factor favors
transfer; Plaintiff objects. As the parties note,            e. Relative advantages and obstacles to a fair
“[t]he convenience of witnesses, particularly                trial
nonparty witnesses important to the resolution of         Judge Keesler found that this factor slighted
the case, is often cited as the most significant factor   favored transfer; Plaintiff objects. In explaining his
in ruling on a motion to transfer ... One strong          determination on this factor, Judge Keesler again
argument against transfer is that the original forum      discussed availability       of witnesses as a
will be the most convenient for the witnesses. And        consideration. (Document No. 262, pp. 12-13).
when transfer will better serve the convenience of        Plaintiff argues that Judge Keesler erroneously
the witnesses, the motion under Section 1404(a) is        “double counted” the witness availability and that
more likely to be granted.” 15 Charles Alan Wright        he should have considered the “home field
& Arthur R. Miller, Federal Practice & Procedure §        advantage” or bias of a trial in Michigan, where
3851 (4th ed.) (collecting cases).                        Defendants allegedly have the support of large
                                                          auto-makers. While this court finds no basis for
Here, Plaintiff has identified two witnesses in           disturbing Judge Keesler’s on the issue of “double
North Carolina (Document No. 243, pp. 5-6);               counting,” and agrees with his determination that
Defendants have not identified any witnesses. See         there is no basis for any clear advantages or
Def. Reply (Document No. 248, p. 3) (stating that         obstacles to fair trial in either district, it does find
“LG Chem’s potential witnesses are likely                 that his reliance on the presence and availability of
numerous ... and none of these potential witnesses        unidentified witnesses in Michigan was in error. As
are located in North Carolina. In part because of         explained above, the court finds that as Defendants
LGCAI’s presence in Michigan, witness attendance          have not identified any witnesses in the state of
of both Defendants is far easier in Michigan.”)           Michigan, there is no basis for assuming that the
(emphasis added). Judge Keesler found that the            presence of such witnesses will offer any
facts on this factor are not as developed as he           advantages to a fair trial. Regarding Plaintiff’s
would have hoped, but that to the extent that             arguments as to Defendants’ “home field”
non-party witnesses existed in this matter (i.e.          advantage in Michigan, the argument as to such
customers or manufacturers of products that               advantages goes both ways. See       Rice v.
include the allegedly infringing separators), they        Bellsouth Adver. & Pub. Corp., 240 F.Supp.2d
were more likely to be made available in Michigan.        526, 530 (W.D.N.C.2002). The court therefore

Electronically-Filed 10/09/2019 14:23/ BRIEF/CV 19 917268/ConfirmationNbr.1838344/BATCH                              10
    Case 4:22-cv-05014-MKD                ECF No. 24-1     filed 01/18/23       PageID.253 Page 33 of 142


Celgard, LLC v. LG Chem, Ltd., Not Reported in F.Supp.3d (2015)



finds that this factor is neutral.




                                                            g. Interest ofresolving localized controversies at
                                                            home and the appropriateness ofhaving the trial
  f. Practical issues affecting trial expediency and        of a diversity case in a forum that is at home
   efficiency                                               with the state law that must govern the action
*11 Judge Keesler found that this factor slightly        Judge Keesler found this factor to be neutral;
favored transfer; Plaintiff objects. Judge Keesler       Plaintiff objects. On this factor, Judge Keesler
noted that no trial is ever easy, expeditious or         found that, particularly with the aid of very able
inexpensive, and that all trials involve air travel      counsel, any district court would be able to apply
and inconvenience. (Document No. 262, p. 13)             the laws of North Carolina to the extent necessary,
(citing Century Furniture, LLC v. C & C Imps.,           in addition to patent laws. He noted that this case
Inc., No. 1:07cv179, 2007 WL 2712955, at *5              involves claims of national, if not international
(W.D.N.C. Sept.14, 2007)). He further stated that        patent violations. The court finds no error in this
after balancing all evidence to date, this factor        determination and overrules Plaintiff’s objection
slightly favored transfer. The court finds that          that the focus should have been on the “strong
without more evidence to the contrary, this factor       interest in resolving issues locally.”
clearly does not favor transfer. In Century, wherein
the plaintiff brought suit in the Asheville division
of this district, the court noted that, “the practical
problem is access to the situs of the litigation via
air transportation, and the mountains of North
Carolina simply are not easily accessible when             C. Conclusion
engaged in transcontinental litigation.” Id. Here,       *12 In light of the above analysis, the court finds
litigation in this district will occur in Charlotte,     that Judge Keesler clearly erred in weighing
North Carolina, a city with an international airport     several Crockett factors, and that the balance of the
that is easily accessible by all parties. Indeed, the    factors favors maintaining this action in this
court notes that three representatives from              district. Put another way, the court finds that
Defendants’ office in Korea were present in              transfer of this matter “would merely shift the
Charlotte for the hour-long oral arguments on the        inconvenience from the defendant to the plaintiff,”
objections at issue, and presumably reached the          Jim Crockett Promotions, Inc. v. Action Media
city via airplane. See Hearing Transcript                Grp., Inc., 751 F.Supp. 93, 95 (W.D.N.C.1990),
(Document No. 274) at 14:24-15:8. Judge Keesler          which makes transfer inappropriate. Because the
noted in his order that “travel from Korea or New        court finds that personal jurisdiction over both
Jersey to North Carolina or Michigan are roughly         Defendants is appropriate in this district, see
equivalent.” (Document No. 262, p. 12). In light of      Section IV, and that the balance of factors does not
the fact that motions to transfer are not to be          favor transfer, the court will set aside those
granted merely to shift the inconvenience from one       determinations of the magistrate judge discussed
party to another, Jim Crockett Promotions, Inc. v.       above, and deny Defendants’ Alternative Motion to
Action Media Grp., Inc., 751 F.Supp. 93, 95              Transfer.
(W.D.N.C.1990), and that Judge Keesler appears to
have based his determination solely on the
inconvenience caused by air travel, the court finds
that his determination that this factor weighed in
favor of transfer was clearly erroneous. See
                                                           III. DEFENDANTS’ MOTION TO DISMISS
1   Rice v. Bellsouth Adver. & Pub. Corp., 240
                                                           COUNTS III-VI OF AMENDED
F.Supp.2d 526, 530 (W.D.N.C.2002) (“In either              COMPLAINT
forum, there will be practical problems such as          The court now addresses Defendants’ Motion to
travel and accommodations for the parties and their      Dismiss Counts III, IV, V, and VI of Plaintiff’s
counsel. This factor is neutral.”). The court            Amended Complaint. (Document No. 222).
therefore finds this factor to be neutral.               Defendants claim that Plaintiff has failed to
                                                         properly plead facts sufficient to claim (1) unfair

ElectronicaiyFiled 10/09/2019 14:23/ BRIEF/CV 19 917268/ConfirmationNbr.1838344/BATCH                            11
   Case 4:22-cv-05014-MKD                  ECF No. 24-1     filed 01/18/23       PageID.254 Page 34 of 142


Celgard, LLC v. LG Chem, Ltd., Not Reported in F.Supp.3d (2015)



and deceptive trade practices; (2) breach of              practices under      N.C. Gen.Stat. § 75-1.1
contract; (3) breach of the duty of good faith and        because the facts alleged do not amount to the
fair dealing; and (4) unjust enrichment, as required      aggravating circumstances required for such a
by Fed.R.Civ.P. 12(b)(6).                                 claim. The elements of a claim for unfair and
                                                          deceptive trade practices in violation of ‘     N.C.
                                                          Gen.Stat. § 75-1.1 are: (1) an unfair or deceptive
                                                          act or practice, or an unfair method of competition,
                                                          (2) in or affecting commerce, (3) which
  A. Legal Standards                                      proximately caused actual injury to the plaintiff or
To survive a Rule 12(b)(6) motion to dismiss, a           to his business. Id.;      Gray v. N. Carolina Ins.
claimant must allege facts in his complaint that          UnderwritingAss'n, 352 N.C. 61, 529 S.E.2d 676,
“raise a right to relief above the speculative level.”    681 (N.C.2000). Recovery under such a claim “is
   Bell Atlantic Corp. v. Twombly, 550 U.S. 544,          limited to those situations when a plaintiff can
555, 127 S.Ct. 1955, 167 L.Ed.2d 929 (2007). “[A]         show that plaintiff detrimentally relied upon a
plaintiff’s obligation to provide the ‘grounds’ of his    statement or misrepresentation and he or she
‘entitle[ment] to relief’ requires more than labels       suffered actual injury as a proximate result of
and conclusions, and a formulaic recitation of the        defendant’s        deceptive       statement       or
elements of a cause of action will not do ...” Id.        misrepresentation.” McLamb v. T.P. Inc., 173
(second alteration in original; citation omitted). A      N.C.App.     586, 619       S.E.2d 577,      582-83
claimant must plead sufficient facts to state a claim     (N.C.App.2005) (internal quotation and citation
for relief that is “plausible on its face.” Id. at 570.   omitted). A practice is unfair if it “is immoral,
                                                          unethical,     oppressive,      unscrupulous,      or
As the Supreme Court elaborated in 1 Ashcroft v.
                                                          substantially injurious to customers.” Deerborne
Iqbal, 556 U.S. 662, 129 S.Ct. 1937, 173 L.Ed.2d
                                                          Cottages, LLC v. First Bank, No. 1:11CV178, 2012
868 (2009), “[a] claim has facial plausibility when
                                                          WL 1835240, at *5 (W.D.N.C. Apr.9, 2012) report
the plaintiff pleads sufficient factual content that
                                                          and recommendation adopted, No. 1:11CV178,
allows the court to draw the reasonable inference
                                                          2012 WL 1836093 (W.D.N.C. May 21, 2012)
that the defendant is liable for the misconduct
                                                          (citation and internal quotation omitted). A practice
alleged.” Id. at 678. This “plausibility standard”
                                                          is deceptive where it “has the tendency or capacity
requires “more than a sheer possibility that a
                                                          to deceive.” Id. A claim for unfair and deceptive
defendant has acted unlawfully.” Id. Thus, a
                                                          trade practices turns on the facts of each case and
complaint falls short of the plausibility standard
                                                          therefore involves a “highly fact-specific inquiry.”
where a plaintiff pleads “facts that are ‘merely
                                                          E S. Atl.Ltd. P'ship of Tennessee, L.P. v. Riese,
consistent with’ a defendant’s liability....” Id.
While the court accepts plausible factual                 284 F.3d 518, 535 (4th Cir.2002).
allegations made in a claim as true and considers
those facts in the light most favorable to plaintiff in   *13 Here, Plaintiff alleges that LGC: (1) repeatedly
ruling on a motion to dismiss, a court “need not          promised Celgard that it would make Celgard its
accept     as     true    unwarranted      inferences,    exclusive base film supplier for EVs, (2) in order to
unreasonable       conclusions,    or    arguments.”      induce Celgard to increase its production capacity
                                                          to meet LGC’s requirements and provide it with
   Eastern Shore Mkt. 's Inc. v. J.D. Assoc. 's, LLP,
                                                          favorable pricing, (3) while at the same time
213 F.3d 175, 180 (4th Cir.2000).
                                                          secretly making arrangements to replace Celgard.
                                                          (Document No. 217        68-69, 75, 77, 9092, 116.)
                                                          The Amended Complaint further alleges that
                                                          despite repeated promises to the contrary, LGC had
                                                          no intention of entering into an LTA with Celgard,
  B. Discussion                                           but strung Celgard along in order to ensure that
                                                          LGC had sufficient supply of base film at
                                                          discounted prices until LGC was ready to replace
                                                          Celgard. Id. at        92. Then, LGC allegedly
  1. Unfair and Deceptive Trade Practices                 misrepresented to Celgard that the market price for
Defendants argue that Plaintiff has failed to plead a     comparable separator material had decreased by
proper claim for unfair and deceptive trade               over 50% in an attempt to avoid its obligation in

ElectronicaiyFiled 10/09/2019 14:23/ BRIEF/CV 19 917268/ConfirmationNbr.1838344/BATCH                             12
   Case 4:22-cv-05014-MKD                 ECF No. 24-1     filed 01/18/23        PageID.255 Page 35 of 142


Celgard, LLC v. LG Chem, Ltd., Not Reported in F.Supp.3d (2015)



the MOU to purchase the majority of separator            into a long-term supply agreement, not to their
material from Celgard. Id. at        9396, 116. The      interim obligations during the Collaboration
court     finds    that    such     allegations     of   Period. Specifically, Plaintiff notes that the MOU
misrepresentation and false promises fit squarely        expressly provides that “[n]otwithstanding the
within the type of conduct that North Carolina           foregoing”:
courts have found to be in unfair and deceptive.
See, e.g. Deerborne Cottages, 2012 WL 1835240,                *14 • “LGC will purchase separator primarily
at *6. (“Put simply, Plaintiffs allege that                   from CELGARD during the Collaboration
Defendants ... made affirmative misrepresentations            Period....;”
during Plaintiffs’ dealings with The Bank of
Asheville, and that Plaintiffs relied upon these              • “Initial products to be supplied by Celgard
misrepresentations in going forward with the                  and purchased by LGC are Celgard® trilayer
project. As various courts have held, affirmative             products manufactured to specifications
misrepresentations such as these can form the basis           mutually agreeable to both parties;” and
of an unfair trade practices claim in certain
                                                              • “LGC also agrees to give priority to
circumstances.”). Although whether Plaintiff will
                                                              qualifying CELGARD separator in any/all
prevail on its claim will ultimately depend on the
                                                              new cell applications for the EDV and ESS
specific facts in this case, the court finds that the
                                                              markets. ”.
allegations of deception and misrepresentation
alleged in the Amended Complaint are sufficient to
                                                         (MOU at 1,       1-3 (emphasis added)). The court
survive dismissal at this stage of the proceedings.
                                                         finds that Plaintiff has put forth sufficiently
The court will therefore deny Defendants’ motion
                                                         plausible allegations of the ambiguity of the
as to the unfair and deceptive trade practices claim.
                                                         document’s intentions as to the supply of goods
                                                         during the collaboration period to render dismissal
                                                         at the 12(b)(6) stage inappropriate. See ' Quorum
                                                         Health Res., LLC v. Hugh Chatham Mem 'l Hosp.,
                                                         Inc., 552 F.Supp.2d 527, 530 (M.D.N.C.2007) (“If
   2. Breach of Contract                                 the agreement is ambiguous ... interpretation of the
Defendants argue that Plaintiff’s breach of contract     contract is a matter for the jury. Ambiguity exists
claim cannot succeed because Plaintiff has failed to     where the contract’s language is reasonably
show that the parties entered an enforceable             susceptible to either of the interpretations asserted
contract. As Defendants correctly note, “[t]he           by the parties.”) (internal citations and quotations
elements of a claim for breach of contract are (1)       omitted).
existence of a valid contract and (2) breach of the
terms of that contract.”    Poor v. Hill, 138            Defendants also argue that Plaintiff has failed to
N.C.App.    19,    530   S.E.2d     838,    843          show the existence of a valid contract because the
(N.C.App.2000). Defendants first argue that the          language of the MOU does not present definite and
MOU is not a contract because it explicitly states in    certain terms. See Miller v. Rose, 138 N.C.App.
the second paragraph, “LGC and CELGARD                   582, 532 S.E.2d 228, 232 (N.C.App.2000) (“To be
understand that this is a non-binding MOU.” See          enforceable, the terms of a contract must be
MOU (Document No. 18-1 at 1). Here, Plaintiff            sufficiently definite and certain, and a contract that
claims that LGC breached the “Supplier Selection         leaves material portions open for future agreement
Agreement” contained in the MOU when it failed           is nugatory and void for indefiniteness.”) (internal
to purchase separator material primarily from            citations and quotations omitted). The court finds
Celgard     during    the    Collaboration    period.    that Defendants’ arguments do not merit dismissal
(Document No. 217,         127). The MOU states,         of this claim at this stage in the proceedings. While
“[b]oth parties agree that except as is explicitly set   there are certainly questions as to the validity of the
forth in this MOU, neither party shall be bound by       parties’ agreement as a contract, the court finds that
any discussions or written proposals, letters,           the language of the MOU states general terms for
memos or charts used or exchanged unless and             the parties’ agreement, including the applicable
until a definitive and binding agreement is signed.”     time period, a quantity of separator material, price,
(MOU at 1). Plaintiff argues that the non-binding        and quality of goods for sale, that could be
language applies only to the parties’ intent to enter    interpreted as a valid contract. See N.C. Gen. Stat. §
                                                         25-2204 (providing: “1) A contract for sale of

ElectronicaiyFiled 10/09/2019 14:23/ BRIEF/CV 19 917268/ConfirmationNbr.1838344/BATCH                              13
   Case 4:22-cv-05014-MKD                 ECF No. 24-1     filed 01/18/23       PageID.256 Page 36 of 142


Celgard, LLC v. LG Chem, Ltd., Not Reported in F.Supp.3d (2015)



goods may be made in any manner sufficient to            gratuitously.   Booe v. Shadrick, 322 N.C. 567,
show agreement, including conduct by both parties        369 S.E.2d 554, 556 (N.C.1988); Primerica Life
which recognizes the existence of such a contract        Ins. Co. v. James Massengill & Sons Const. Co.,
... [and] (3) Even though one or more terms are left     211 N.C.App. 252, 712 S.E.2d 670, 677
open a contract for sale does not fail for               (N.C.App.2011). Both parties acknowledge that
indefiniteness if the parties have intended to make      under North Carolina law, “a claim for unjust
a contract and there is a reasonably certain basis for   enrichment may not be brought in the face of an
giving an appropriate remedy .”).                        express contractual relationship between the
                                                         parties.”    Madison River Mgmt. Co. v. Bus.
The court will therefore deny Defendants’ motion
                                                         Mgmt. Software Corp., 351 F.Supp.2d 436, 446
as to the breach of contract claim.
                                                         (M.D.N.C.2005) (citing Se. Shelter Corp. v. BTU,
                                                         Inc., 154 N.C.App. 321, 572 S.E.2d 200, 206
                                                         (N.C.App.2002)). However, in the absence of an
                                                         express contractual agreement, “A claim of unjust
                                                         enrichment is an alternative to a claim based on
   3. Breach of the Duty of Good Faith and Fair          breach of contract ...”      Volumetrics Med.
   Dealing                                               Imaging, Inc. v. ATL Ultrasound, Inc., 243
Defendants’ sole challenge to Plaintiff’s claim for      F.Supp.2d 386, 411 (M.D.N.C.2003).
breach of the covenant of good faith and fair
dealing is premised on a finding that the MOU is         The court fist addresses the wording of Plaintiff’s
not a valid and enforceable contract. Because the        alternative pleading. Defendants argue that
court will not dismiss Plaintiff’s breach of contract    Plaintiff’s alternative claim for unjust enrichment
claim at this time for the reasons explained above,      was pleaded improperly because it incorporated all
it similarly declines to dismiss this claim. See         previous allegations in the Amended Complaint by
Recycling Equip., Inc. v. E Recycling Sys. ., LLC,       reference. See (Document No. 217, 137); Howard
No. 5:14-CV-00056, 2014 WL 6977766, at *5                v. Carroll Companies, Inc., No. 1:12CV146, 2013
(W.D.N.C. Dec.9, 2014) (“The implied covenant of         WL 3791619, at *12 (M.D.N.C. July 19, 2013)
good faith and fair dealing is a part of every           (dismissing claim for unjust enrichment where
contract and is breached where one party to a            Plaintiff’s claim did “not indicate that this claim
contract does something that injures the right of the    was made in the alternative” and incorporated by
other     to    receive    the    benefits    of   the   reference all preceeding allegations, including
agreement....Where the claim for breach of good          those alleging the existence of the two contracts);
faith is part and parcel of a similar claim for breach   Deltacom, Inc. v. Budget Telecom, Inc., No.
of an express term of the contract claim, that claim     5:10-cv-38, 2011 WL 2036676, at *5-6 (E.D.N.C.
will rise and fall with the other breach of contract     May 22, 2011) (declining to construe an unjust
claim.”) (internal citations and quotations omitted).    enrichment claim as an alterative claim when the
                                                         complaint alleged the existence of a contractual
                                                         relationship, defendant admitted to contractual
                                                         relationship, plaintiff expressly incorporated by
                                                         reference allegations of a contractual relationship
                                                         in unjust enrichment claim, and failed to make the
  4. Unjust Enrichment
                                                         claim in the alternative). Here, the court finds no
*15 Finally, Defendants argue that Plaintiff's           basis to dismiss the claim, phrased as “In the
alternative claim for unjust enrichment should be
                                                         Alternative, Unjust Enrichment Against LG
dismissed because the facts alleged are insufficient
                                                         Chem,” on the basis of Plaintiff’s incorporation by
to state a plausible claim, the claim was not
                                                         reference of previous allegations because the claim
properly pleaded, and the claim is barred by the
                                                         was clearly made in the alternative. See (Document
statute of limitations.
                                                         No. 217 at      137-38). Where, as here, Defendants
                                                         deny the existence of a valid contract and Plaintiff
In order to establish a claim for unjust enrichment,
                                                         has clearly stated that it makes its claim in the
a plaintiff must allege: (1) it conferred a
                                                         alternative to the contract claims, the court will
measurable benefit on the other party; (2) that party
                                                         allow the claim to proceed at this stage.
consciously accepted the benefit, and (3) the
benefit was not conferred officiously or
                                                         Defendant also argues that the facts Plaintiff

Electronically-Filed 10/09/2019 14:23/ BRIEF/CV 19 917268/ConfirmationNbr.1838344/BATCH                         14
   Case 4:22-cv-05014-MKD                   ECF No. 24-1     filed 01/18/23        PageID.257 Page 37 of 142


Celgard, LLC v. LG Chem, Ltd., Not Reported in F.Supp.3d (2015)



alleges simply show that it voluntarily took steps to      L.Ed.2d 929 (2007). It will         therefore   deny
improve production capabilities in the hopes of            Defendants’ 12(b)(6) motion.
gaining additional LGC business. The court
disagrees with such a characterization of the facts
alleged. Here, Plaintiff has alleged that it increased
its production capabilities and provided LGC with
discounted pricing for base film based on promises
by LGC that if Plaintiff did so, Plaintiff would             IV. DEFENDANTS’ MOTION TO DISMISS
become LGC’s long-term, exclusive supplier of                FOR LACK OF PERSONAL
separator material for the EV industry. (Document            JURISDICTION
No. 217 at      68, 69, 140). Plaintiff states, quite      Finally, the court considers Defendants’ Motion to
plausibly, that these benefits were not conferred          Dismiss Plaintiff’s Amended Complaint for Lack
gratuitously, but instead in direct response to, and       of Personal Jurisdiction pursuant to Rule 12(b)(2).
in reliance on, LGC’s promises. The court                  (Document No. 226). Defendants argue that they
therefore finds no reason to dismiss Plaintiff’s           are not subject to personal jurisdiction in the
claim based on Defendants’ argument that                   Western District of North Carolina under any legal
Plaintiff’s actions were gratuitous.                       theory and that they lack the requisite minimum
                                                           contacts with this state to make an assertion of
*16 The court has also carefully considered the            jurisdiction over them reasonable or fair. Plaintiff
statute of limitations issue raised by Defendants. A       claims that both Defendants are subject to personal
claim for unjust enrichment is subject to a three          jurisdiction    here    under    various    theories.
year statute of limitations period that runs from the      Specifically, Plaintiff contends that LGC is subject
date the claim accrues. Mountain Land Properties,          to specific jurisdiction through its prior business
Inc. v. Lovell, No. 2:12-CV-84-MR-DLH, 2014                dealings here and that its placement of allegedly
WL 4542413, at *13 (W.D.N.C. Sept.11, 2014)                infringing products into the stream of commerce
                                                           also satisfies personal jurisdiction. Plaintiff also
(citing     Stratton v. Royal Bank of Canada, 211
                                                           argues that LGC is subject to general jurisdiction
N.C.App.        78,     712     S.E.2d     221,     229
                                                           or, alternatively, nationwide jurisdiction. Plaintiff
(N.C.App.2011); Housecalls Home Health Care,
                                                           claims that LGCAI is subject to jurisdiction under
Inc. v. State, Dept. of Health & Human Servs., 200
                                                           the theories of general jurisdiction and its use of
N.C.App.        66,    682      S.E.2d    741,      744
                                                           the stream of commerce.
(N.C.App.2009);        Miller v.     Randolph,      124
N.C.App.       779, 478         S.E.2d    668,      670
(N.C.App.1996)). Generally, a cause of action
“accrues when the wrong is complete and, thus, a
plaintiff is entitled to assert the claim in court.” Id.
Here, the Amended Complaint alleges that LGC                 A. Standard of Review
strung Plaintiff along for years, but that the wrong       The plaintiff bears the burden of establishing
to Plaintiff was not complete until June 20, 2013,         personal jurisdiction over the defendant by a
when LGC refused to enter into the LTA and                 preponderance of the evidence. IMO Indus., Inc. v.
instead switched suppliers. (Document No. 217 at           SEIM S.R.L., No. 305-CV-420-MU, 2007 WL
*'*' 100-01). The court there finds that Plaintiff's        1651838, at *1 (W.D.N.C. June 4, 2007). When
claim for unjust enrichment is not barred by the           evaluating a motion to dismiss pursuant to Federal
statute of limitations.                                    Rule 12(b)(2), if no evidentiary hearing is held and
                                                           the court determines the question of personal
                                                           jurisdictional based on affidavits and other written
                                                           materials, the plaintiff need only establish a prima
                                                           facie case of personal jurisdiction. E Electronics

  C. Conclusion                                            For Imaging, Inc. v. Coyle, 340 F.3d 1344, 1349
The court finds that Plaintiff has stated plausible        (Fed.Cir.2003). See also IMO Indus., 2007 WL
claims for relief based on factual allegations             1651838, at *1. Here, while jurisdictional
sufficient “to raise a right to relief above the           discovery has been permitted, no formal
                                                           evidentiary hearing has been conducted to resolve
speculative level,”    Bell Atlantic Corp. v.
                                                           disputed issues of jurisdictional fact. As such,
Twombly, 550 U.S. 544, 555, 127 S.Ct. 1955, 167
                                                           Plaintiff must only make a prima facie case that the

ElectronicaiyFiled 10/09/2019 14:23/ BRIEF/CV 19 917268/ConfirmationNbr.1838344/BATCH                              15
   Case 4:22-cv-05014-MKD                ECF No. 24-1     filed 01/18/23       PageID.258 Page 38 of 142


Celgard, LLC v. LG Chem, Ltd., Not Reported in F.Supp.3d (2015)



court has personal jurisdiction over Defendants,        “general”    or      “specific”   jurisdiction.
which “is established if the plaintiff presents         L Helicopteros Nacionales de Columbia, S.A. v.
sufficient evidence to defeat a motion for directed     Hall, 466 U.S. 408, 414, 104 S.Ct. 1868, 80
verdict.” ^^ATIIndus. Automation, Inc. v. Applied
                                                        L.Ed.2d 404 (1984).
Robotics, Inc., No. 1:09CV471, 2013 WL
1149174, at *2 (M.D.N.C. Mar.19, 2013) (quoting
2 James W. Moore, Moore’s Federal Practice §
12.31[5] )). In determining whether Plaintiff has
made the requisite showing upon a motion to
dismiss, a district court must accept the                 1. General Jurisdiction
uncontroverted allegations in the plaintiff’s           A court may exercise general jurisdiction over a
complaint as true and resolve any factual conflicts     non-resident defendant if the defendant has
in the affidavits in the plaintiff’s favor.             contacts with the state that are so “continuous and
                                                        systematic” as to render himself “essentially at
   Electronics For Imaging, 340 F.3d at 1349.
                                                        home in the forum State.” I_ Goodyear Dunlop
                                                        Tires Operations, S.A. v. Brown, --- U.S. --- ,
                                                        --- , 131 S.Ct. 2846, 2851, 180 L.Ed.2d 796
                                                        (2011). When a defendant maintains such
                                                        systematic and continuous contacts with the forum
  B. Legal Standards                                    state, even when the cause of action has no relation
*17 Federal Circuit case law applies in determining     to those contacts, assertion of general jurisdiction
whether this court has personal jurisdiction over an    is proper. F Grober v. Mako Products, Inc., 686
out-of-state accused infringer. F Beverly Hills
                                                        F.3d 1335, 1346 (Fed.Cir.2012) (citing « LSI
Fan Co. v. Royal Sovereign Corp., 21 F.3d 1558,         Indus. Inc. v. Hubbell Lighting, Inc., 232 F.3d
 1564-65 (Fed.Cir.1994).3 Federal courts apply the      1369, 1375 (Fed.Cir.2000); Helicopteros, 466 U.S.
relevant state statute when determining personal        at 414-16)). Plaintiffs bear a “higher burden” when
jurisdiction over a defendant, even when the cause      establishing general jurisdiction than they do when
of action is purely federal. Id. at 1569. Because
                                                        establishing specific jurisdiction. ; _ Avocent
North Carolina’s long-arm statute is co-extensive
                                                        Huntsville Corp. v. Aten Int'l Co., Ltd., 552 F.3d
with federal due process requirements, the
                                                        1324,    1330 (Fed.Cir.2008).     “Sporadic and
jurisdictional inquiry here collapses into a single
                                                        insubstantial contacts with the forum state ... are
determination of whether this court’s exercise of
                                                        not sufficient to establish general jurisdiction.”
jurisdiction over Defendants comports with due
                                                        F Campbell Pet Co. v. Miale, 542 F.3d 879, 884
process. Dillon v. Numismatic Funding Corp., 291
N.C. 674, 676, 231 S.E.2d 629 (1977). “The              (Fed.Cir.2008). Further, “continuous activity of
constitutional touchstone for determining whether       some sorts within a state is not enough ... the
an exercise of personal jurisdiction comports with      continuous corporate operations within a state must
due process ‘remains whether the defendant              be so substantial and of such a nature as to justify
purposefully established minimum contacts in the        suit against it on causes of action arising from
                                                        dealings entirely distinct from those activities.”
forum State.’ “      Nuance Commc'ns, Inc. v.
Abbyy Software House, 626 F.3d 1222, 1230-31               International Shoe, 326 U.S. at 318. A court
(Fed.Cir.2010) (quoting ' Burger King Corp. v.          must look at the facts of each case to determine
                                                        whether a defendant’s activities within a state are
Rudzewicz, 471 U.S. 462, 474, 105 S.Ct. 2174, 85
L.Ed.2d 528, (1985)).                                   “continuous and systematic.” LSI Indus. Inc. v.
                                                        Hubbell Lighting, Inc., 232 F.3d 1369, 1375
To be consistent with the limitations of due            (Fed.Cir.2000).
process, a defendant must have “minimum
contacts” with the forum state “such that the
maintenance of the suit does not offend traditional
notions of fair play and substantial justice.”
' International Shoe Co. v. Washington, 326 U.S.
                                                          2. Specific Jurisdiction
310, 316, 66 S.Ct. 154, 90 L.Ed. 95 (1945).
                                                        *18 A court has specific jurisdiction over a
Minimum contacts may be established by showing          defendant in a cause of action that arises out of the

ElectronicaiyFiled 10/09/2019 14:23/ BRIEF/CV 19 917268/ConfirmationNbr.1838344/BATCH                           16
   Case 4:22-cv-05014-MKD                 ECF No. 24-1     filed 01/18/23       PageID.259 Page 39 of 142


Celgard, LLC v. LG Chem, Ltd., Not Reported in F.Supp.3d (2015)



defendant’s activities in the forum state, and “can         1026, 94 L.Ed.2d 92 (1987), a plurality of four
exist even if the defendant’s contacts are not             justices concluded that something more was
continuous and systematic.”      Grober v. Mako            required—“an action       of the      defendant
Products, Inc., 686 F.3d 1335, 1346 (Fed.Cir.2012)         purposefully directed toward the forum state .”
(citation omitted). When exercising specific                 _ Id. at 112 (emphasis in original). The cited
jurisdiction, a court must have jurisdiction over          examples of purposeful direction included
each party       as   to   each   claim    alleged.        “marketing through a distributor ... in the forum
       Pan Am. Products & Holdings, LLC v.                 [s]tate” and “providing regular advice to
R.T.G. Furniture Corp., 825 F.Supp.2d 664, 678             customers.” Id. Four other justices considered
(M.D.N.C.2011) (citations omitted).                        the showing of additional conduct unnecessary.
                                                           Id. at 117.
In analyzing specific jurisdiction over a defendant,
the Federal Circuit considers whether: “(1) the              Nuance Commc'ns, Inc. v. Abbyy Software
defendant purposefully directed its activities at        House, 626 F.3d 1222, 1233 (Fed.Cir.2010). Like
residents of the forum state, (2) the claim arises out   the Supreme Court, the Federal Circuit has not yet
of or relates to the defendant’s activities with the     decided whether “something more than the mere
forum state, and (3) assertion of personal               act of placing a product in the stream of commerce
                                                         with the expectation that it would be purchased in
jurisdiction is reasonable and fair.”    Grober, 686
                                                         the forum state” is required to establish
F.3d at 1346 (citing      Elecs. For Imaging, Inc. v.    jurisdiction. ' Id. at 1234 (citing Beverly Hills
Coyle, 340 F.3d 1344, 1349 (Fed.Cir.2003)).
Plaintiff has the burden of making a prima facie         Fan, 21 F.3d at 1566). See also           Avocent
showing of specific jurisdiction by satisfying the       Huntsville Corp. v. Aten Int'l Co., 552 F.3d 1324,
first two elements; the burden then shifts to            1332 (Fed.Cir.2008) (“We have also applied the
defendant to show that such assertion of personal        stream of commerce theory, although we have not
jurisdiction is not reasonable and fair. Id.             resolved the split in authority reflected in the
                                                         competing plurality opinions in Asahi );
                                                            AFTG-TG, LLC v. Nuvoton Tech. Corp., 689
                                                         F.3d 1358, 1365 (Fed.Cir.2012). However, under
                                                         either version of the stream of commerce theory,
                                                         where an alien Defendant: 1) places the accused
   3. Stream of Commerce
                                                         product into the stream of commerce, 2) knows or
Where a defendant’s contacts with the forum state
                                                         should know the likely destination of the product,
are indirect and only the result of an intermediary
                                                         and 3) its conduct and connections with the forum
distributorship arrangement, the Federal Circuit has
                                                         state are such that it may reasonably foresee being
explained that a “stream of commerce” theory is to
                                                         haled into court within that forum, exercise of
be applied in lieu of the typical concepts of specific
                             w                           jurisdiction under the stream of commerce theory is
and general jurisdiction. i™ Viam Corp. v. Iowa                       If
                                                         appropriate. : .Beverly Hills Fan, 21 F.3d at 1566.
Exp.-Imp. Trading Co. ., 84 F.3d 424, 427
                                                         Thus, if the manufacturer purposefully ships the
(Fed.Cir.1996); see also   Beverly Hills Fan Co.         accused products into the forum state through an
v. Royal Sovereign Corp., 21 F.3d 1558, 1566             established    distribution channel,    with the
(Fed.Cir.1994). The law governing this theory has        expectation that those products will be sold in the
been concisely summarized by the Federal Circuit:        forum, such action is sufficient to give rise to a
                                                         proper assertion of jurisdiction.          Nuance
  In         World-Wide Volkswagen Corp. v.              Commc 'ns, 626 F.3d at 1233-34.
  Woodson, 444 U.S. 286, 298 (1980), the
  Supreme Court stated that a defendant could
  purposefully avail itself of a forum by
  “deliver[ing] its products into the stream of
  commerce with the expectation that they will be
  purchased by consumers in the forum [s]tate.”            4. Nationwide Jurisdiction
  I t■                                                   *19 If neither specific nor general jurisdiction
     .. In Asahi Metal Industry Co. v. Superior
  Court of California, 480 U.S. 102, 107 S.Ct.           applies, a court may exercise nationwide
                                                         jurisdiction under Fed.R.Civ.P. 4(k)(2). See id.

Electronically-Filed 10/09/2019 14:23/ BRIEF/CV 19 917268/ConfirmationNbr.1838344/BATCH                        17
   Case 4:22-cv-05014-MKD                   ECF No. 24-1     filed 01/18/23        PageID.260 Page 40 of 142


Celgard, LLC v. LG Chem, Ltd., Not Reported in F.Supp.3d (2015)



(providing that “For a claim that arises under              6. Supplemental Jurisdiction
federal law, serving a summons or filing a waiver          t 28 U.S.C. § 1367(a)) provides that “in any civil
of service establishes personal jurisdiction over a        action of which the district courts have original
defendant if: (A) the defendant is not subject to          jurisdiction, the district courts shall have
jurisdiction in any state’s courts of general              supplemental jurisdiction over all other claims that
jurisdiction”).   Nationwide      jurisdiction   is        are so related to claims in the action within such
appropriate where “the defendant contends that he          original jurisdiction that they form part of the same
cannot be sued in the forum state and refuses to           case or controversy under Article III of the United
identify any other where suit is possible.”                 States Constitution.” Such claims must arise out of
r                                                          “a common nucleus of operative fact.” F United
    Touchcom, Inc. v. Bereskin & Parr, 574 F.3d
 1403, 1415 (Fed.Cir.2009).                                Mine Workers ofAm. v. Gibbs, 383 U.S. 715, 725,
                                                           86 S.Ct. 1130, 16 L.Ed.2d 218 (1966); accord
                                                           IL Silent Drive, Inc. v. Strong Indus., Inc., 326
                                                           F.3d 1194, 1206 (Fed.Cir.2003).

   5. Reasonability of Jurisdiction
Even where a defendant’s contacts with the forum
state are sufficient to satisfy personal jurisdiction, a
defendant can still defeat jurisdiction “by
marshaling a compelling case against jurisdiction            C. Personal Jurisdiction over LGC
on the grounds that its exercise would be
unreasonable, [and] contrary to concepts of fair
play and substantial justice.” i_ Viam Corp., 84             1. State Law Claims (Counts III-VI)
F.3d at 429. This “unreasonableness” test weighs
the burden the litigation places on the defendant          i. Specific Jurisdiction
against the plaintiff’s interest in a convenient           As noted above, assertion of specific jurisdiction is
forum and the forum’s interest in resolving the            proper when the plaintiff’s cause of action arises
                                                           from a defendant’s contacts with the forum state.
controversy. Id.; see also      Burger King Corp. v.
                                                           The court finds that assertion of specific
Rudzewicz, 471 U.S. 462, 477, 105 S.Ct. 2174, 85
                                                           jurisdiction is appropriate for all of Plaintiff’s
L.Ed.2d 528 (1985). It is a difficult test for a
                                                           claims arising under state law—unfair and
defendant to pass: “these cases are limited to the
                                                           deceptive trade practices, breach of contract,
rare situation in which the plaintiff’s interest and
                                                           breach of the implied covenant of good faith and
the state’s interest in adjudicating the dispute in the
                                                           fair     dealing,     and     alternatively,    unjust
forum are so attenuated that they are clearly
                                                           enrichment—because LGC’s contacts with North
outweighed by the burden of subjecting the
                                                           Carolina throughout the course of its business
defendant to litigation within the forum.”
L Beverly Hills Fan, 21 F.3d at 1568. The inquiry          relationship with Plaintiff gave rise to those claims.

under this test includes a balancing of (1) the
                                                           *20 The court first finds that LGC purposefully
burden on the defendant; (2) the interests of the          directed its activities at the forum state. Here, LGC
forum state; (3) the plaintiff’s interest in obtaining     conducted business with Plaintiff, a North Carolina
relief; (4) the interstate judicial system’s interest in   resident, for seven years. In that time, LGC
obtaining the most efficient resolution of                 purchased $95 million worth of separator material
controversies; and (5) the interest of the states in       made in, and shipped from, North Carolina.
furthering their social policies. 1 Viam Corp. v.          (Document Nos. 56           23; 242-15). The parties
Iowa Exp.-Imp. Trading Co., 84 F.3d 424, 429               entered into a written MOU and extensively
(Fed.Cir.1996) (citing F World Wide Volkswagen             negotiated a written LTA for LGC’s EV programs.
Corp. v. Woodson, 444 U.S. 286, 100 S.Ct. 559, 62          (Document No. 18         7, 13). Accepting Plaintiff’s
L.Ed.2d 490 (1980)).                                       allegations    as    true,    Plaintiff spent     over
                                                           $300,000,000 to expand its manufacturing capacity
                                                           in order to meet LGC’s long-term supply
                                                           requirements based on LGC’s representations that
                                                           it would make Plaintiff its exclusive supplier of

ElectronicaiyFiled 10/09/2019 14:23/ BRIEF / CV 19 917268 /ConfirmationW718l38344/BATCH                             18
   Case 4:22-cv-05014-MKD                 ECF No. 24-1     filed 01/18/23       PageID.261 Page 41 of 142


Celgard, LLC v. LG Chem, Ltd., Not Reported in F.Supp.3d (2015)



separator material for EV batteries if Plaintiff              separator products. (Document Nos. 242-6;
increased production capacity. Id. KK 8-10, 20.               56 K 22).
Additionally, Plaintiff states that until the expanded
capacity became operational, it stopped taking                • In February 2013, an LGC executive met in
orders from certain CE customers to redirect                  Charlotte to negotiate various options for
resources to meet LGC’s volume requirements. Id.              parties’ ongoing relationship, including an
K 18; (Document No. 172 KK 8, 11).                            LTA. (Document Nos. 242-4; 242-2).

Throughout the course of these business dealings,             *21 • In August 2013, representatives from
LG     Chem       representatives     extensively             LGC met with Celgard in Charlotte for a top
communicated by e-mail with Plaintiff. See e.g.,              management meeting.        (Document Nos.
Documents No. 242-1-12. See also 1 - Electronics              242-1; 242-39; 242-12; 242-29). Among
                                                              other things, the parties discussed the LTA.
For Imaging, Inc. v. Coyle, 340 F.3d 1344, 1351
                                                              (Document No. 242-33).
(Fed.Cir.2003) (discussing Defendant’s contacts
with Plaintiff in the forum state by phone and                • In October 2013, LGC executive traveled to
noting    “[Defendant’s]       communications     are         Charlotte to discuss the LTA and LGC’s “use
significant in the personal jurisdiction calculus             of Celgard’s ceramic coating patents in LGC’s
even though [Defendant] was not physically                    current and future CE and EV batteries.”
present in [forum state] when he made these                   (Document Nos. 242-35; 242-36; 242-20;
communications.”). More significantly, LGC                    242-21).
representatives had numerous in-person meetings
in North Carolina, occurring “on about at least a             • On December 9, 2013, LGC met with
quarterly basis.” (Document Nos. 37 K 4; 17 K 11;             Celgard in North Carolina to discuss pricing
32 K 9; 52 K 8). Plaintiff has provided the following         and supply. (Document Nos. 37 K 4; 52 K 13).
evidence that high-level LGC executives and other
employees traveled to North Carolina for numerous        The court finds that LGC’s contacts with the forum
meetings to inspect Celgard’s facilities, negotiate      state that occurred because of the parties’
agreements, and discuss Celgard’s intellectual           established    commercial     relationship    were
property rights:                                         purposefully directed at North Carolina. See
                                                         I. Electronics For Imaging, Inc. v. Coyle, 340
     • LGC officers and engineers visited and
                                                         F.3d    1344,    1351     (Fed.Cir.2003)   (finding
     inspected Celgard facilities in Charlotte and
                                                         purposeful availment where, inter alia, defendant
     Concord, North Carolina to certify that they
                                                         repeatedly called plaintiff in forum state and sent
     met LGC specifications. (Document Nos. 18 K
                                                         representatives to form state for purpose of
     17; 242-18).
                                                         demonstrating patented technology);          Burger
     • In October and November 2010, LGC                 King Corp. v. Rudzewicz, 471 U.S. 462, 479, 105
     executives traveled to Charlotte to meet with       S.Ct. 2174, 85 L.Ed.2d 528 (1985) (finding
     Celgard. (Documents No. 242-7; 242-8).              purposeful contacts even despite lack of physical
                                                         ties to forum state where party “reached out” to
     • In July 2011, LGC personnel attended              negotiate with resident of forum state for long-term
     Celgard’s Grand Opening event for the               franchise agreement).
     Concord, North Carolina facility. (Document
     No. 242-11).                                        Second, the court finds that Plaintiff’s state law
                                                         claims arise out of LGC’s contacts directed at the
     • In September 2011, LGC personnel traveled         forum state. Plaintiff’s deceptive trade practices
     to North Carolina to tour the Concord and           claim is grounded in LGC’s alleged misconduct
     Charlotte facilities and to discuss the             regarding a product made in North Carolina,
     expansion plan. (Documents No. 242-9;               including    alleged   misrepresentations   during
     242-10).                                            meetings in North Carolina and significant capital
                                                         expenses incurred in North Carolina in reliance on
     • In November 2012, an LGC executive
                                                         such alleged misrepresentations. (Document No.
     traveled to Charlotte to discuss LGC’s
                                                         217, KK 116-119). Similarly, Celgard’s breach of
     business forecast for 2013, Celgard’s pricing
                                                         contract, breach of implied covenant of good faith
     proposals, and collaborating to develop new

ElectronicaiyFiled 10/09/2019 14:23/ BRIEF/CV 19 917268/ConfirmationNbr.1838344/BATCH                           19
   Case 4:22-cv-05014-MKD                   ECF No. 24-1     filed 01/18/23        PageID.262 Page 42 of 142


Celgard, LLC v. LG Chem, Ltd., Not Reported in F.Supp.3d (2015)



and fair dealing, and unjust enrichment claims are         over LGC is unreasonable or unfair. Accordingly,
based on the MOU, which governed the North                 the court concludes that this case is not one of the
Carolina manufacture and supply of separator               “rare situation[s] in which the plaintiff’s interest
material. Id.   120-136.                                   and the state’s interest in adjudicating the dispute
                                                           in the forum are so attenuated that they are clearly
Third, the court has considered whether asserting          outweighed by the burden of subjecting the
personal jurisdiction over LGC is reasonable and           defendant to litigation within the forum.” Id. In
fair. Here, the court has considered (1) the burden        light of the above analysis, the court finds that
on the defendant, (2) the interests of the forum           specific jurisdiction over LGC is appropriate for
state, (3) the plaintiff’s interest in obtaining relief,   each of Plaintiff’s state law claims.
(4) the interstate judicial system’s interest in
obtaining the most efficient resolution of
controversies, and (5) the shared interest of the
several states in furthering fundamental substantive
social policies,      Electronics For Imaging, Inc. v.
                                                             2. Patent Claims (Counts I And II)
Coyle, 340 F.3d 1344, 1352 (Fed.Cir.2003), and
finds that LGC is unable to demonstrate that it
would be unreasonable for this court to exercise
jurisdiction over it.                                        i. Supplemental Jurisdiction
                                                           *22 The court next considers whether it is
First, litigating in North Carolina will not               appropriate to exercise supplemental jurisdiction
unreasonably inconvenience LGC. Although LGC               over Plaintiff’s patent infringement claims given its
is based in South Korea, “progress in                      finding that it has specific jurisdiction over
communications and transportation has made the             Plaintiff’s state law claims. Plaintiff argues that a
defense of a lawsuit in foreign tribunal less              common nucleus of operative facts exists here
burdensome.”        Synthes (U.S.A.) v. G.M. Dos           because the facts giving rise to its state law claims
Reis Jr. Ind. Com. De Equip. Medico, 563 F.3d              are substantially the same as those giving rise to its
1285,     1299    (Fed.Cir.2009).    Indeed,    LGC        patent infringement claims. Specifically, Plaintiff
employees traveled to North Carolina numerous              contends that Celgard and LGC’s seven-year
times between 2008 and 2013. Additionally, LGC             relationship and LGC’s decision to terminate the
is apparently willing to litigate this dispute in the      relationship with Celgard and source base film
Eastern District of Michigan, which is not                 from an alternative source, while continuing to use
substantially closer to Korea than North Carolina,         or cause others to use Celgard’s patented
which indicates that LGC is prepared to accept the         technology without permission, form a common
burden of travel. (Document No. 231). Second,              nucleus of operative fact. Defendants argue that the
North Carolina has an interest in adjudicating             facts related to the patent claims (the distribution,
claims arising out of North Carolina law and               importation, and/or sale of the allegedly infringing
relating to wrongs against a North Carolina citizen,       product) are distinct from the facts related to the
as well as claims relating to infringement of a            state law claims (LGC’s activities in North
                                                           Carolina related to its alleged obligations under the
citizen’s patent. See     Beverly Hills Fan, 21 F.3d
                                                           MOU), and that they are not sufficiently common
at 1568 (“Virginia has an interest in discouraging
                                                           to render supplemental jurisdiction appropriate.
injuries that occur within the state ....that interest
                                                           LGC points out that Plaintiff’s state law claims
extends to design patent infringement actions such
                                                           concern the now-severed business relationship that
as the one here.”) (internal citation omitted). Third,
                                                           centered on sale and purchase of Plaintiff’s
Plaintiff has a significant interest in maintaining
                                                           uncoated polymeric base film, whereas its patent
this action in North Carolina, as much of its
                                                           infringement claims concern LGC’s manufacture
evidence and witnesses knowledgeable about the
                                                           of ceramic coated separator product. LGC thus
patented invention are located here. As to the
                                                           argues that the facts giving rise to the alleged
fourth and fifth factors, the court does not find that
                                                           injuries are wholly distinct and that supplemental
Defendant has offered any compelling reason why
                                                           jurisdiction is inappropriate.4
the interstate judicial system’s interest in obtaining
efficient resolution of controversies or the states’
                                                           As LGC correctly notes, the base film made by
interest in furthering substantive social policies
                                                           Plaintiff, itself, is not the accused infringing
necessitates a finding that exercising jurisdiction

Electronically-Filed 10/09/2019 14:23/ BRIEF/CV 19 917268/ConfirmationNbr.1838344/BATCH                             20
   Case 4:22-cv-05014-MKD                  ECF No. 24-1     filed 01/18/23        PageID.263 Page 43 of 142


Celgard, LLC v. LG Chem, Ltd., Not Reported in F.Supp.3d (2015)



product. However, as explained by one of LGC’s            patent    claims    are   “[LGC’s]     manufacture,
own employees, base film is a component of the            distribution, importation, and sale of lithium-ion
allegedly infringing ceramic-coated separators. Jina      batteries with SRS-coated separators.” (Document
Lee, Manager in a Cell Procurement Team at LGC,           No. 275-1, p. 2). While the court agrees, it also
stated in her affidavit that a separator is a             believes that LGC’s termination of Celgard as a
component of a lithium-ion battery that is placed         supplier of uncoated base film is factually
between the anode and the cathode to prevent              intertwined with, if not the exact cause of, LGC’s
electrical shorting (i.e.fire). See (Document No. 52,     manufacture, distribution, importation, and sale of
K 4, Declaration of Jina Lee “Lee Decl                    lithium-ion batteries with SRS-coated separators.
Additionally, Ms. Lee explained:                          As noted above, the P ’586 patent claims
                                                          ceramic-coated separators and batteries or systems
                                                          including such separators. (Document Nos. 17 K 8;
             There are two types of                       16, p. 4). Here, Plaintiff initially provided base film
             separators: “wet-type” and                   to LGC for use in manufacturing lithium-ion
             “dry-type”.    A    separator                batteries for CE devices. (Document Nos. 18 K 4-5;
             consists of a “base film” and                217 K 67). In 2008, Plaintiff and LGC began
             a coating on top of the base                 discussions regarding Plaintiff becoming LGC’s
            film. “Dry-type” separators                   exclusive supplier of base film for lithium-ion
             are more susceptible to heat                 batteries used in EVs. (Document No. 18 K 6; 217 K
            than “wet-type.” The base                     68). Pursuant to LGC specifications, Plaintiff
            film by itself (i.e., without                 designed separator material to which LGC could
             coating)—especially       the                apply a ceramic coating. (Document Nos. 17 KK 13,
            base film for “dry-type”                      15; 80 K 3; 19). Plaintiff states that once ceramic
             separators-cannot be used as                 coated, this separator embodied the Ml
                                                                                               ■ ’586 patent,
             a separator and cannot even                  but that because LGC’s use of the patent was
            be considered a finished                      authorized by Plaintiff at that time, the separator
             component for use in a                       did not constitute infringement. See?* 35 U.S.C. §
            battery because of heat                       271     (infringement    requires    use   “without
             safety issues. LGC does not                  authority”); Pl. Resp. Def. Mot. Dismiss
             manufacture uncoated base                    (Document No. 241, p. 2). Upon the beginnings of
            films       for     “dry-type”                the breakdown of the LTA negotiations, Plaintiff
             separators. Instead, LGC                     discussed its patented technology with LGC,
            purchases base films and                      informing LGC that if it was going to cease
             then performs additional                     purchasing its base film, it needed a license to
            manufacturing, using its own                  ceramic-coat any non-Celgard separator. See
             coating technology, in order                 (Document Nos. 242-34; 24218; 242-19; 242-21;
             to arrive at the final,                      242-32; 242-38). The parties also discussed these
            finished      separator      ...              patent issues during at least one of LGC’s visits to
             Celgard provided to LGC                      Plaintiff in North Carolina. (Document No.
            uncoated base films for                       242-30). Plaintiff claims that infringement is
             “dry-type” separators.                       occurring because LGC is purchasing base film
                                                          from third parties and applying a ceramic coating
                                                          layer to such base film in order to create coated
Document No. 52, K 5 (emphasis added).                    battery separators, which fall within the scope of
Accordingly, while the two products are distinct,         the patent. (Document No. 217, K 51). The
they are very closely related. Indeed, by                 infringement that Plaintiff claims thus arises from
Defendants’ own description, base film is an              LGC’s choice to stop using Plaintiff’s base film in
essential component of a separator.                       its separators and to source it from a third party
                                                          without a license. (Document No. 17, KK 49-52;
                                                          278, p. 4).
*23 LGC also argues that the facts relevant to the
state law claims are “[LGC’s] termination of
Celgard as a supplier of uncoated base film for           In light of the fact that Plaintiff’s claims of patent
lithium-ion batteries” and the facts related to the       infringement arise from LGC’s choice to stop using
                                                          Celgard base film in its separators, which is very

ElectronicaiyFiled 10/09/2019 14:23/ BRIEF/CV 19 917268/ConfirmationNbr.1838344/BATCH                               21
   Case 4:22-cv-05014-MKD                  ECF No. 24-1     filed 01/18/23       PageID.264 Page 44 of 142


Celgard, LLC v. LG Chem, Ltd., Not Reported in F.Supp.3d (2015)



closely related to, if not essentially the same as, the        12; 80-2).
conduct that gave rise to Plaintiff’s state law
claims, the court finds that a common nucleus of              • Between 2011 and 2013, over 1,000 new
operative facts exists to warrant the exercise of             Chevrolet Volts—each with an LGC
supplemental jurisdiction. In sum, Plaintiff                  battery—were registered in North Carolina; as
provided base film to Defendants for use in their             were over 500 new Kia Optima Hybrids.
separators. When the business relationship went               (Document Nos. 57-4-57-6).
sour, LGC sourced base film from a third party.
Plaintiff alleges that the use of this third-party base       • In 2013, LGC supplied lithium-ion batteries
film, in combination with LGC’s application of                for almost 26% of all plug-in EVs sold in the
ceramic coating, constitutes a battery separator that         U.S., 56% of which contained ceramic-coated
infringes upon the P ’586 patent. The nature of               separators. (Document No. 17 KK 18-19, 23).

the parties’ business dealings and LGC’s decision             • LGC also sells batteries with separators for
to stop purchasing base film from Plaintiff after             use in popular CE devices manufactured by
their significant history form a “common nucleus”             Apple, Hewlett Packard, Nokia, Dell, and LG
that renders the patent claims part of the same               Electronics, among others. (Document Nos.
“case or controversy” as the state law claims.                17-5, p. 3; 17-10, p. 5; 136, p. 6). These CE
                                                              devices are widely sold and distributed in
                                                              North Carolina, including by retailers like
                                                              Best Buy, Target, and Walmart.5 (Document
                                                              Nos. 56 K 25; 136, p. 6).
  ii. Other Jurisdictional Theories
*24 The court has also considered whether it may               • LGCAI markets and distributes LGC’s
exercise personal jurisdiction over LGC on
                                                               products in the U.S. (Document No. 33 K 2).
independent grounds under the stream of
                                                          The court also notes that in defending its motion to
commerce theory, particularly in light of the
                                                          stay the preliminary injunction against it in this
extensive briefing on the question and this court’s
                                                          case, LGC went to great lengths to describe the
recent decision in Celgard, LLC v. SK Innovation,
                                                          expanse of its participation in the U.S. economic
Co., Ltd., 3:13cv254-MOC-DSC, L 2014 WL
                                                          markets:
5430993 (W.D.N.C. Aug.29, 2014), which found
no personal jurisdiction over a foreign defendant
under the stream of commerce theory. The question
for the court is whether LGC has purposefully                         Defendants sell in the order
shipped its allegedly infringing products through                     of $ 0.76 million every day
an established distribution channel with the                          attributable to the accused
expectation that those products would be sold in                      batteries sold or imported
the forum. ' Nuance Commc'ns, Inc. v. Abbyy                           into the United States.
                                                                      Worldwide, that number
Software     House,    626    F.3d     1222,     1234
                                                                      jumps to $6 million in daily
(Fed.Cir.2010);  Beverly Hills Fan Co. v. Royal                       sales.    Defendants    have
Sovereign Corp.,   21     F.3d    1558,    1566                       yearly revenue of $278
(Fed.Cir.1994).                                                       million attributable to the
                                                                      accused batteries sold or
Here, Plaintiff has offered the following evidence                    imported into the United
in support of its argument that LGC meets this                        States (and $2.4 billion
requirement:                                                          worldwide).... Beyond that,
                                                                      Defendants     do   business
     • LGC supplies batteries containing separators                   every day with companies at
     for EVs sold at North Carolina dealerships,                      the center of the U.S.
     including the Cadillac ELR, Hyundai Sonata
                                                                      economy.
     Hybrid, Kia Optima Hybrid, and Chevrolet
     Volt (for which LG Chem is the exclusive
     supplier). (Document Nos. 17 KK 16-17; 37 K
     5; 242-25; 242-26; 56 KK 14-18; 56-5; 80 K           (Document No. 136, p. 4) (emphasis in original).

ElectronicaiyFiled 10/09/2019 14:23/ BRIEF/CV 19 917268/ConfirmationNbr.1838344/BATCH                            22
   Case 4:22-cv-05014-MKD                    ECF No. 24-1     filed 01/18/23        PageID.265 Page 45 of 142


Celgard, LLC v. LG Chem, Ltd., Not Reported in F.Supp.3d (2015)



Defendants     further described  the   alleged             626 F.3d at 1234; _ Beverly Hills Fan, 21 F.3d at
consequences of such injunction and its use of              1566 (both requiring that for exercise of
nationwide distribution channels to distribute              jurisdiction under the stream of commerce theory
infringing goods:                                           to be proper, Defendants must have placed the
                                                            “accused product” in the stream of commerce). See
                                                             also     Celgard, LLC v. SK Innovation Co., No.
             *25 In light of the broad                       3:13-CV-00254-MOC, 2014 WL 5430993, at *4
             scope      of      the     Order,               (W.D.N.C. Aug.29, 2014) (finding that stream of
             Defendants will be barred                      commerce theory did not succeed where “plaintiff
             from making sales in the                       has provided this court with no indication that
             United States to downstream                     [defendant] has ever made a sale or even an offer
             customers       in      consumer                of sale in North Carolina and none of SKI’s
             electronics      (e.g.,    Apple,              products have been found in this forum.”).
             Hewlett-Packard, and Dell)                     Plaintiff’s patent infringement claims are premised
             and the automotive industry                    upon LGC using non-Celgard base film in its
             (e.g., General Motors and                       separators. Plaintiff admits that when LGC used
             Ford Motor Company), and                        Celgard base film in its separators, the manufacture
             the impact of the Order will                   of such separators did not constitute infringement
             clearly be detrimental to                      because LGC’s use of the patent was authorized by
             these customers. Taken to its                  Plaintiff at that time. Pl. Resp. Def. Mot. Dismiss
             logical conclusion, not only                    (Document No. 241, p. 2). It is difficult for this
             will     the      Order      take              court to find that the allegedly infringing product
             Defendants’ batteries “off                     has been placed in the stream of commerce when
             the shelves” but it also strips                Plaintiff has failed to submit any evidence that
             Best Buy and Wal-Mart                          LGC has placed a separator with non-Celgard base
             (with respect to consumer                      film in the stream of commerce, let alone shown
             electronics products) and car                  that one was offered for sale in this state. As
             dealerships and distributors                   Defendants note,
             of their ability to provide
             products containing these
             batteries     to      consumers.
                                                                         By Celgard’s own timeline,
             Ultimately, the effect of this
                                                                         it takes four to six months to
             Order to a John Doe member
                                                                         incorporate a base film into
             of the public is not that he
                                                                         an LGC lithium-ion battery.
             may have to buy a higher
                                                                         (Paulus Decl.     8, Dkt. 80.)
             priced good, but that there
                                                                         Celgard also maintains that
             will be no goods for him to
                                                                         LGC        “consumed        or
             buy.
                                                                         otherwise used” Celgard
                                                                         base film at least until
                                                                         January 2014. (Id. at      7.)
Id. at 6 (footnote omitted).                                             Celgard, however, does not
                                                                         estimate how long it takes
The court has very carefully considered the                              for an LGC lithium-ion
evidence put forth by Plaintiff and agrees that LGC                      battery to be incorporated
has knowingly and intentionally used nationwide                          into    an     EV     or   CE
distribution channels for its products, with the                         downstream product, nor
expectation that its products will be sold                               does Celgard estimate how
throughout the country, including in the state of                        long it takes before an
North Carolina. However, the court finds that                            assembled EV will ship out
Plaintiff has not made the requisite showing that                        to a dealer in North Carolina
LGC ever placed the allegedly infringing product                         or a CE downstream product
into the stream of commerce or that such product                         will reach big box stores,
was offered for sale here. See Nuance Commc'ns,                          like Wal-Mart or Best Buy.

Electronically-Filed 10/09/2019 14:23/ BRIEF/CV 19 917268/ConfirmationNbr.1838344/BATCH                             23
   Case 4:22-cv-05014-MKD                  ECF No. 24-1     filed 01/18/23        PageID.266 Page 46 of 142


Celgard, LLC v. LG Chem, Ltd., Not Reported in F.Supp.3d (2015)



*26 (Def. Reply, Document No. 247, n. 3).                 registered with the Secretary of State of North
Plaintiff has simply offered no evidence that an          Carolina to do business here and has a registered
LGC product with an allegedly infringing separator        agent for service of process here. Id. In the past,
has been found in this forum. The court will not          LGCAI stored inventory in one of its customer’s
assume that the LGC separators found in this state        consignment warehouses here, though it has not
within the EV and CE devices sold here are those          stored any inventory there since 2013. Id. LGCAI
accused of infringement, particularly when                also paid taxes to the state of North Carolina in
Plaintiff admits that until fairly recently, LGC          2012 related to storing such inventory. (Document
separators shipped from South Korea to the U.S.           No. 217 at 43; Def.’s Mem. Sup. Mot. Dismiss
were not infringing. Plaintiff’s evidence that LGC        (Document No. 227, p. 16)). Additionally, between
sells products with separators in this state, alone, is   2009 and 2013, LGCAI had seven customers in
not sufficient to support a finding of jurisdiction       North Carolina (unrelated to the products accused
under a stream of commerce theory.                        of infringement). (Juan Decl. at 4). LGCAI sold
                                                          over $14 million worth of products to these
Because the court has found that LGC is subject to        customers during that time, which Defendant states
jurisdiction here through supplemental jurisdiction,      accounted for, on average, approximately 0.9% of
it will not address Plaintiff’s alternative argument      LGCAI’s total revenues in the United States during
that LGC is subject to nationwide jurisdiction            that period. Id. at     4. LGCAI admits that it
under Rule 4(k)(2). Similarly, because the court          “conducts business from time to time in North
believes that the exercise of jurisdiction over LGC       Carolina for the purpose of selling products for its
under the theory of supplemental jurisdiction is          petrochemical and toner businesses.” Id.
appropriate, it will not undergo further analysis of
whether LGC’s contacts with North Carolina are so         *27 Plaintiff argues that LGCAI is subject to
systematic and continuous as to render it subject to      general jurisdiction because even though LGCAI is
general personal jurisdiction here.                       a non-resident and its contacts are unrelated to
                                                          Plaintiff’s causes of action for patent infringement,
                                                          its contacts with North Carolina are “continuous
                                                          and systematic.” As noted above, sporadic,
                                                          insubstantial contacts with the forum state are
                                                          insufficient to establish general jurisdiction. While
  D. Personal Jurisdiction over LGCAI                     there is no precise test for determining general
The court next considers whether Plaintiff has
                                                          jurisdiction, < ~ LSI Indus.Inc. v. Hubbell Lighting,
established a prima facie case of personal
                                                          Inc., 232 F.3d 1369, 1375 (Fed.Cir.2000), courts
jurisdiction over LGCAI. As noted above, LGCAI,
                                                          have generally focused on two areas of inquiry.
a wholly-owned subsidiary of LGC, is a Delaware
                                                          Ashbury Int'l Grp., Inc. v. Cadex Defence, Inc.,
company headquartered in Englewood Cliffs, New
                                                          No. 3:11CV00079, 2012 WL 4325183, at *4
Jersey. See Declaration of Juan (S.H.) Oh (“Juan
                                                          (W.D.Va. Sept.20, 2012). First, they look for
Decl.”), (Document No. 33), 2; Def. Mem. Mot.
                                                          physical presence in the forum state, such as
Dismiss (Document No. 227), p. 4). LGCAI is
                                                          corporate facilities, bank accounts, agents,
responsible for marketing LGC petrochemicals,
information and electronic materials, and batteries       registration, or incorporation. Id. (citing Perkins
to customers in the United States. (Juan Decl, 2).        v. Benguet Consol. Mining Co., 342 U.S. 437, 72
LGCAI also acts as a product distributor for LGC’s        S.Ct. 413, 96 L.Ed. 485 (1952)). Second, “courts
customers in the U.S. and is responsible for sales        have also considered whether the defendant has
and program management to U.S. customers, but             actively solicited business in the forum state and
has no direct involvement with the manufacture of         the extent to which the defendant has participated
LGC products and does not share any officers with         in the state’s economic markets....In other words,
LGC. Id.                                                  courts have examined the “economic reality” of the
                                                          defendant’s activities in the forum state.” Id.
Relevant to LGCAI’s contacts with the state of            (internal citation omitted). See also    Trierweiler
North Carolina, LGCAI has no offices, employees,          v. Croxton & Trench Holding Corp., 90 F.3d 1523,
telephone listing, post office box, mailing address,      1533 (10th Cir.1996) (noting that courts consider
bank account, or advertising in North Carolina. Id.       “(1) whether the corporation solicits business in the
at   3. LGCAI does not own or rent any real               state through a local office or agents; (2) whether
property in North Carolina. Id. However, LGCAI is         the corporation sends agents into the state on a

ElectronicaiyFiled 10/09/2019 14:23/ BRIEF/CV 19 917268/ConfirmationNbr.1838344/BATCH                             24
   Case 4:22-cv-05014-MKD                 ECF No. 24-1     filed 01/18/23       PageID.267 Page 47 of 142


Celgard, LLC v. LG Chem, Ltd., Not Reported in F.Supp.3d (2015)



regular basis to solicit business; (3) the extent to     years, for a total of less than $14,000 in gross
which the corporation holds itself out as doing          revenue (approximately 2% of total sales), and in
business in the forum state through advertisements,      four of those years made no sales in Washington at
listings or bank accounts; and (4) the volume of         all).
business conducted in the state by the
corporation.”)   (cited with approval as a               *28 While this case presents a close call, the court
non-exhaustive set of appropriate factors in             finds that the evidence of LGCAI’s physical
^^Delta Sys., Inc. v. IndakMfg. Corp., 4 F. App’x        presence in North Carolina, as well as its
857 (Fed.Cir.2001) (unpublished)).                       participation in the state’s economic markets
                                                         through its sales to companies here, is sufficient to
Here, LGCAI has physical presence in the state of        support a prima facie case of general jurisdiction.
North Carolina in the form of being registered to        See 1 LSI Indus.Inc. v. Hubbell Lighting, Inc. .,
do business here, having a registered process agent      232 F.3d 1369, 1375 (Fed.Cir.2000) (finding that
here, using property in this state for storage, and      non-resident defendant had continuous and
paying state taxes at least once. Additionally,          systematic contacts with forum state partially based
LGCAI has participated in the economic markets           on millions of dollars of sales in the state, despite
of this state through its sales to North Carolina        lack of sale of the allegedly infringing product in
customers. As noted above, Plaintiffs have               forum state); Ashbury Int'l Grp., Inc. v. Cadex
submitted evidence that LGCAI sold over $14              Defence, Inc., No. 3:11CV00079, 2012 U.S. Dist.
million worth of products to seven customers in the      LEXIS 134878, at *6, 2012 WL 4325183
state between 2009 and 2013. (Juan Decl., 4; Lee         (W.D.Va. Sept. 20, 2012) (finding sales of millions
Decl. (Document No. 242), 47-53). These sales            of dollars of products to repeat customers sufficient
accounted for, on average, approximately 0.9% of         for general jurisdiction, even absent traditional
LGCAI’s total revenues in the United States during       factors indicating physical presence in forum state).
that time (0.9 % in 2010, 1% in 2011%, 1% in
2012, and 0.8% in 2013). Id. Though the parties          The court also finds that the exercise of general
dispute the significance of these sales and revenue      jurisdiction over LGCAI at this point is reasonable
percentages, the court notes that “just as it would      and that LGCAI has failed to meet its burden of
be inappropriate to permit an exercise of personal       showing otherwise. First, litigating in North
jurisdiction solely on the presence of sales into the    Carolina will not unreasonably inconvenience
forum ... it would likewise be inappropriate to          LGCAI. LGCAI has its principal place of business
entirely disregard a defendant’s sales into the          in New Jersey and its marketing and sales office
forum simply because they only generated a small         for the accused lithium-ion batteries is in
percentage of the defendant’s total revenue.”            California. As noted above, “progress in
o ATI Indus. Automation, Inc. v. Applied                 communications and transportation has made the
Robotics, Inc., No. 1:09CV471, 2013 WL                   defense of a lawsuit in foreign tribunal less
1149174, at *4 (M.D.N.C. Mar.19, 2013) (internal         burdensome.” '     Synthes (U.S.A.) v. G.M. Dos
citation and quotation omitted). Here, though            Reis Jr. Ind. Com. De Equip. Medico, 563 F.3d
LGCAI earned only a small percentage of its              1285, 1299 (Fed.Cir.2009). The court, having
revenue from customers in North Carolina, the            already found that LGC, a company headquartered
dollar figure is by no means insignificant.              in Korea, will not be unreasonably inconvenienced
Additionally, LGCAI earned revenue from such             by litigating here, declines to find that a company
sales for each of the four years before the              headquartered in this country would be so
complaint was filed in this action. The court            inconvenienced.      Additionally,     LGCAI      is
therefore finds such sales an appropriate factor for     apparently willing to litigate this dispute in the
consideration. See id. at *5 (finding that               Eastern District of Michigan, which is not
defendant’s sales to North Carolina were                 substantially closer to California or New Jersey
appropriate    for   consideration    where    they      than North Carolina, which indicates that LGCAI
constituted    1.2%    of    annual    sales,   and      is prepared to accept the burden of travel. The
distinguishing    Campbell Pet Co. v. Miale, 542         court finds that the same analysis applies to
F.3d 879, 884 (Fed.Cir.2008), wherein Federal            LGCAI as to LGC for the remaining four factors
Circuit affirmed district court’s finding of no          for consideration. As noted above, North Carolina
general jurisdiction over defendants who made            has an interest in adjudicating claims relating to
only 12 sales to Washington residents in eight           infringement of a citizen’s patent. Plaintiff has a

ElectronicaiyFiled 10/09/2019 14:23/ BRIEF/CV 19 917268/ConfirmationNbr.1838344/BATCH                            25
    Case 4:22-cv-05014-MKD                ECF No. 24-1          filed 01/18/23        PageID.268 Page 48 of 142


Celgard, LLC v. LG Chem, Ltd., Not Reported in F.Supp.3d (2015)



significant interest in maintaining this action in
North Carolina, as much of its evidence and
witnesses knowledgeable about the patented
invention are located here. Defendant has not
offered any compelling reason why the interstate
judicial system’s interest in obtaining efficient                                   ORDER
resolution of controversies or the states’ interest in
furthering substantive social policies necessitates a
                                                              IT IS, THEREFORE, ORDERED that:
finding that exercising jurisdiction over LGCAI is
                                                              1) Defendants’ “Objections to Magistrate Judge’s
unreasonable or unfair. As with LGC, the court
                                                              Order Granting Defendants’ Alternative Motion to
finds that LGCAI has not met its burden of
                                                              Transfer Venue” (Document No. 266) are
showing that being subject to personal jurisdiction
here would be unreasonable. In light of the above
                                                              SUSTAINED in part and OVERRULED in
                                                              part, as described herein;
analysis, the court finds that the exercise of general
jurisdiction over LGCAI is appropriate for
                                                              2) The Order of the Magistrate Judge transferring
Plaintiff’s patent law claims.
                                                              venue (Document No. 262) is REVERSED and
                                                              Defendants’ Alternative Motion to Transfer Venue
*29 Plaintiff also argues that LGCAI is subject to            to the Eastern District of Michigan (Document No.
personal jurisdiction under the stream of commerce
                                                              230) is DENIED;
theory because it participates in the same
distribution chain for LGC’s batteries as LGC. The
                                                              3) Defendants’ Motion to Dismiss Counts III-VI of
court finds such argument futile in light of the
                                                              Plaintiff’s First Amended Complaint for Failure to
above finding that Plaintiff has failed to show LGC
                                                              State a Claim (Document No. 222) is DENIED;
is subject to jurisdiction under such theory, let
                                                              and
alone offered any argument as to how any action of
LGC can be imputed to LGCAI.
                                                              4) Defendants’ Motion to Dismiss Plaintiff’s First
                                                              Amended Complaint for Lack of Personal
                                                              Jurisdiction (Document No. 226) is DENIED.



    V. CONCLUSION                                             All Citations
For the reasons stated herein, the court finds that
                                                              Not Reported in F.Supp.3d, 2015 WL 2412467
this maintenance of this action is appropriate in this
district at this time.


Footnotes

1      The MOU refers to LGC's purchase of “separators” from Celgard, but affidavits filed by both parties makes
       clear that the “separators” referred to in the MOU are equivalent to “base film,” as the term is used in this
       Order. See generally Pulwer Decl.; Declaration of Jina Lee (Document No. 52).

2      More specifically, LG Chem states that it is subject to specific jurisdiction in the Eastern District of
       Michigan because it sells the accused lithium-ion batteries to electric vehicle manufacturers residing in the
       district, including General Motors, Ford Motor Company, and Chrysler. (Def. Mem. Sup. Mot. Transfer
       (Document No. 231, p. 5); (“Declaration of Jun Hong Min ...” (“Min Decl.”) fl 3, Dkt. 73.) Additionally, all
       three of LG Chem's U.S. subsidiaries, including LGCAI, have outposts and/or offices in Michigan. (Min
       Decl. fl 2, Dkt. 73).

3      The court has considered whether the law of the Federal Circuit applies to both the state law claims and
       the claims for patent infringement in this case and notes that both parties have argued their positions on
       personal jurisdiction solely under the law of the Federal Circuit. See Def. Mem. Mot. Dismiss (Doc. No.
       227, p. 5, n. 24); Pl. Mem. Opp. (Document No. 241, p. 14-15). The court finds that application of Federal
       Circuit law is appropriate here as to all of Plaintiff's claims. In 3D Systems, Inc. v. Aarotech Lab Inc.,
       160 F.3d 1373, 1377-78, 48 USPQ2d 1773, 1776 (Fed.Cir.1998), the Federal Circuit held that the law of

ElectronicaiyFiled 10/09/2019 14:23/ BRIEF/CV 19 917268/ConfirmationNbr.1838344/BATCH                                  26
    Case 4:22-cv-05014-MKD                ECF No. 24-1          filed 01/18/23         PageID.269 Page 49 of 142


Celgard, LLC v. LG Chem, Ltd., Not Reported in F.Supp.3d (2015)



      that circuit, as opposed to the regional circuit, applied in determining that the district court had personal
      jurisdiction over an out-of-state corporation defending claims for patent infringement and state law claims
      of trade libel and unfair competition where the exercise of supplemental jurisdiction was proper. See
          id. at 1377-78 (“Because of supplemental jurisdiction under          28 U.S.C. § 1367 ... the propriety of
      jurisdiction in light of federal due process for both the state law claims and the federal patent law claims is
      to be analyzed using Federal Circuit law.”). The Federal Circuit found that because the patentee’s trade
      libel and unfair competition claims went “hand-in-hand with its patent infringement claims,” and because
      the claims arose out of the same facts, application of Federal Circuit law was appropriate in resolving the
      personal jurisdiction issue, even though state law claims were involved. Id. at 1377.

4     The court has also carefully considered Plaintiff’s statements at the hearing in response to questioning by
      the court as to why its patent law and state law claims are related. See Hearing Transcript (Document No.
      274) at 25:1026:25; 13:1-25. To the extent Defendants construe Plaintiff’s statements as allegations of
      theft of intellectual property in their supplemental brief (# 275-1), the court is not persuaded that Plaintiff
      was attempting to assert a new claim against Defendants at the hearing. See id. at 26:23-5 (“They
      completely said, Sorry, you know, Go pound sand. We’re going to go run off with your technology and
      work with someone else.”); id. at 13:19-23 (“[LG Chem] went and learned about our technology and then
      they went and took it to someone else and are now infringing our patents with technology that we provided
      to them and that we taught them.”). The court finds that Plaintiff’s arguments about the relationship
      between its patent claims and state law claims at the hearing are consistent with the allegations and
      arguments it made in its Amended Complaint (Document No. 217) and its Response in Opposition to
      Defendants’ Motion to Dismiss (Document No. 241).

5     Simple internet searches indicate that in the Charlotte, North Carolina area alone, Best Buy has at least
      nine retail stores, see http:// www.bestbuy.c om/site/olspage.jsp?id+cat12092 & type+page & requestid
      +100835,       Wal-Mart      has    at   least    nine   retail  stores,     see     http://  www.walmart
      .com/store/finder?location+charlotte, north carolina & distance+10, and Target has four retail stores, see
      http://www      .   target.com/store-locator/search-results?address=     charlotte'+    north+carolina  &
      fromPage=findStore. Apple has two retail stores in Charlotte and five retail stores in the state of North
      Carolina, see https://www.apple.com/retail/storelist/.




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ElectronicaiyFiled 10/09/2019 14:23/ BRIEF/CV 19 917268/ConfirmationNbr.1838344/BATCH                                         27
   Case 4:22-cv-05014-MKD               ECF No. 24-1          filed 01/18/23    PageID.270 Page 50 of 142



     goods will be in any way impacted as it appears that plaintiff is able to provide the products

     necessary for production.

                                                        ***

               Having carefully considered all four factors, the court finds that the entry of a

     preliminary injunction is necessary to protect plaintiff from ongoing and irreparable harm during

     the pendency of this action. Such harm to plaintiff significantly outweighs any harm that

     defendants may incur as a result of the entry of the injunction. Finally, the Federal Rules of Civil

     Procedure state that “[n]o ... preliminary injunction shall issue except upon the giving of security

     by the applicant, in such sum the court deems proper, for the payment of such costs and damages

     as may be incurred or suffered by any party who is found to have been wrongfully enjoined or

     restrained.” Fed.R.Civ.P. 65(c). The amount of bond is within the discretion of the Court.

     Maryland Dept, of Human Resources v. U.S. Dept, of Agriculture, 976 F.2d 1462, 1483 (4th

     Cir.1992). The Court here finds that a bond of $1,000,000.00, is sufficient to cover defendant's

     costs or damages should it later be determined that defendant was wrongfully enjoined.

                                                        ORDER

             IT IS THEREFORE ORDERED that plaintiffs Motion for Preliminary Injunction is

     hereby GRANTED, and defendants are preliminarily enjoined from (1) making, using, selling,

     or offering for sale in the United States, (2) importing into the United States, and (3) activity

     inducing others in the United States to make, use, sell, or offer for sale in the United States or to

     import into the United States the following: any battery, separator, or system that uses or

     constitutes (i) LG Chem’s SRS technology, (ii) an infringing ceramic-coated separator, or (iii)

     any rechargeable lithium-ion battery, cell, pack, module, or other device, vehicle, or product that

     includes an infringing ceramic-coated separator. Plaintiff shall secure a bond in the face amount



Electronically Filed 10/09/2019 14:23 / BRIEF / CV 19 917268 ^Confirmation Nbr. 1838344 / BATCH


          Case 3:14-cv-00043-MOC-DCK Document 128 Filed 07/18/14 Page 10 of 11
   Case 4:22-cv-05014-MKD               ECF No. 24-1        filed 01/18/23      PageID.271 Page 51 of 142



     of $1,000,000.00.         Upon motion filed by any party, the court will review the impact of such

     preliminary injunction after a period of 60 days if requested to do so.

             IT IS FURTHER ORDERED that defendants’ Motion to Dismiss for Lack of Personal

     Jurisdiction (#30) and Motion to Transfer Venue (#71) are REFERRED to the Magistrate Judge

     for consideration after jurisdictional discovery, and plaintiffs Motion for Jurisdictional

     Discovery (#58) is ALLOWED and jurisdictional discovered is opened for a period of 60 days,

     which shall also be directed by the magistrate judge.




       Signed: July 17, 2014




Electronically Filed 10/09/2019 14:23 / BRIEF / CV 19 917268 ^Confirmation Nbr. 1838344 / BATCH


          Case 3:14-cv-00043-MOC-DCK Document 128 Filed 07/18/14 Page 11 of 11
Case 4:22-cv-05014-MKD   ECF No. 24-1   filed 01/18/23   PageID.272 Page 52 of 142




                         EXHIBIT 4
            Case 4:22-cv-05014-MKD                          ECF No. 24-1                filed 01/18/23             PageID.273 Page 53 of 142


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City announces new scooter and bike share permits: Spin and
Wheels are out, Bird is in
Posted on May 13, 2022 by Tom Fucoloro



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                                       It’s difficult to draw too many conclusions from this chart due to the pandemic (and smoke), but more
                                    devices and warmer weather generally resulted in more trips, as expected. From SDOT’s scooter share pilot
                                                                                program report (PDF).




Spin and Wheels have not received permits to operate in Seattle under the city’s 2022–2023 permit, SDOT announced.
But for the first time, scooter company Bird will operate here.

LINK scooters have retained their permit, as have Lime’s scooters and bikes. The most recent entrant into Seattle, Veo,
has also retained its permit for its bikeish-scooters.

SDOT says it selected the permits based on each company’s “commitment to safety, community engagement, and
continual improvement.” From the SDOT Blog:

         All three of the selected companies submitted robust proposals detailing their commitment to safety,
         community engagement, and continual improvement, as well as considering the needs of other people
         traveling on streets, sidewalks, bike paths, and trails.

         The selection was difficult, and we are grateful for Wheels and Spin, two current scooter companies that
         will not continue operating in Seattle, for the transportation service they provided between 2020–2022.
             Case 4:22-cv-05014-MKD                           ECF No. 24-1                 filed 01/18/23             PageID.274 Page 54 of 142


          We are issuing three permits at this time. We may issue an additional permit to another company in the
          future if we see a good opportunity to benefit the public.

People took more than 1.4 million trips on shared scooters and bikes                                                    Trip destinations
                                                                                                                                                                   Tot~ltripsduring pilot period

between October 2020 and September 2021, a figure that is likely to                                                                                                 •10,000-45,9'17


increase as more destinations fully reopen and the number of events grows.
                                                                                                                                                                    • 5,000-10,000

                                                                                                                                                                      2,500-5.000

The top trip destinations were crowded areas like downtown or busy                                                                                                    1,000 -2,500

                                                                                                                                                                      500- 1,000

business districts, SDOT noted in their pilot permit summary. The average                                                                                             250. 500

                                                                                                                                                                      100- 250
scooter trip was 15 minutes, traveled 1.4 miles and cost $6.63.                                                                                                       1-100




A portion of the fees collected from scooter and bike services help fund an
adaptive cycling program the city hosts in partnership with Outdoors For All
in Magnuson Park, providing people a chance to ride accessible cycles
designed to work for people with many different disabilities.

Spin and Wheels will have “a few weeks to wind down their operations,”
SDOT wrote. It will likewise take Bird a few weeks to get up and running.                                               Map of scooter trip destinations, from the scooter share pilot
                                                                                                                                           program report (PDF).




This entry was posted in news and tagged bike share, outdoors for all, scooter share, sdot. Bookmark the permalink.




5 Responses to City announces new scooter and bike share permits: Spin and Wheels are out, Bird is in

          Greg says:
          May 14, 2022 at 7:33 am


          “The average scooter trip was 15 minutes, traveled 1.4 miles and cost $6.63.” This is a little surprising, isn’t it? You can walk 1.4 miles
          in 20-25 minutes for free. And $6.63 is far more than bus fare, which is another alternative. With the new higher pricing, it’s not clear
          how competitive this is, is it?

          Scooters and shared bikes looked more attractive to use when they were cheaper because they were subsidized by cheap VC cash, but
          I’m not sure about their prospects at the prices the businesses will have to charge to make a profit. We’ll see, I guess.
          Reply



                    Cole Gleason says:
                    May 14, 2022 at 3:42 pm


                    I’l use them if I’m running late for something and walking would be a bit too slow. It’s too pricy to replace transit for me, but
                    between that and rideshare I’ll take the scooter/e-bike.
                    Reply



                    RossB says:
                    May 15, 2022 at 10:18 am
            Case 4:22-cv-05014-MKD                  ECF No. 24-1           filed 01/18/23        PageID.275 Page 55 of 142


                  Yeah, the prices seem outrageously expensive. Is there a discount for lots of trips? If so, I can’t find it. If you take a dozen trips
                  a month, you are spending quite a bit of money. Even weekly trips seem expensive.

                  In contrast, consider some similar size cities for bike share (not scooters). Portland: $8.25 a month ($100 a year), for an
                  unlimited number of trips. Boston, $120 a year. Vancouver, $130 a year. All of these are run by the city (or some public
                  agency). They all look a lot better, in terms of bike availability, from what I can tell. (I’m pretty sure Boston has a great
                  system, not sure about Portland and Vancouver.)


                  We really took the wrong approach here. We abandoned public bike share, figuring the private market would give us cheap
                  prices and quality service. It has provided neither.

                  We need to change our approach, and do what other cities have done: consider bike share an important part of public
                  transportation. They complement other forms of public transit (buses and trains) that thankfully are publicly owned. The bike
                  share system should be run by a public agency (or non-profit, like in Minneapolis) along with a relatively small amount of
                  public subsidy (along with private sponsorship, like Nike in Portland). We should have a lot more docks in most of the city,
                  with dockless only in the low density outskirts.
                  Reply




         Ballard Biker says:
         May 15, 2022 at 10:17 pm


         Wheels were motorcycles disguised as scooters and their typical rider behaved like your typical car driver. They will not be missed.
         I’m shocked SDOT set some standards when it comes to motorized vehicles on non-motorized infrastructure.
         Reply




         eddiew says:
         May 17, 2022 at 12:58 pm


         The most serious issues are safety and clutter. There have been many injuries. Dock-less devises are often parked without discipline
         and block sidewalks, curb ramps, and bus stops. They interfere with passage by pedestrians, seniors, handicapped, and bus riders.
         The net seems negative.
         Reply




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Case 4:22-cv-05014-MKD   ECF No. 24-1   filed 01/18/23   PageID.276 Page 56 of 142




                         EXHIBIT 5
                                                             Case 4:22-cv-05014-MKD   ECF No. 24-1   filed 01/18/23   PageID.277 Page 57 of 142


                Bird Cities Blog                                                                                               Shop          C ategory   Subscrib e          Q   Ride Now




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                                                                                      Impact· 5/13/22


                      Bird Selected to Launch Safe, Accessible
                                 Scooters in Seattle




Re lated Posts                                  Bird is con1ing to th e En1erald City.


Canada Joins Bird Bike
                                                Seattle this wee k announced that Bird has bee n selected as one of three
Exr::2ansion With Calggiy,                      operators to serve the city's 750,000 residents.
Wind sor, Edmo nton
Launches                                        In a blog.P-OSt annou ncing the decision, the Seattle DOT noted th at "Bird
June 8, 2022                                    QJlerates In over 400 cities a nd has a den1onstrated commitment to safety and
                                                sustainability. They will bring their newest Bird Three scooters to Seattle,
                                                which offer a safer ride and longe r battery life than their earlier n1odels."

                                                The pertnit will allow Bird to deploy up to 2,000 scooters th rough out Seattle in
                                                an effort to help reduce dependence on personal cars and provide greater
                                                access to safe, sustain able n1icron1obility.



                                                A Commitment to Safety, Accessibility
                                                and Proper Parking

                                                Bird is co1nn1itted to being both a trusted city transportation partner and a
                                                contributing 1nen1ber of th e Seattle con11nunity.

                                                Our Bird Three scooters con1e equipped with design features and tech nology
                                                that inc lude the industry's longest and most stable footboard, Autonomous
                                                Emergen~ Braking, Beginner Mode for new riders as well as custotn designed
                                                tubeless tires that absorb siggjficantlY. more vibrations th an sen1i-solid tires
                                                wit h shocks.

                                                We also unveiled our revo lutionary Bird Visual Parking S)(l!tem (VPS) t his week,
                                                powe red by Google's ARCore Geospatial API, to help provide cities like Seattle
                                                with the n1ost precise and scalable parking techno logy available .



                                                                                                     •




                                                In addition to ou r tec hnology, Bird has n1ade it a priority to connect and
                                                partner with local orga nization s such as Defy Ventures and Tra nsportation
                                                Choices Coalition, and has partnered with th e Arbor Day Foundation on a tree-
                                                pla nting in itiative in Seattle. We're also proud to offer our exclusive On~
                                                Demand Accessible Moblilty_Jlrogi:am in Seattle in partn ership with
                                                Scootaround to h elp ensu re everyone h as the opportu nity to benefit frotn
                                                n1icro-electric transportation.



                                                Learn More

                                                New to Bird in Seattle? We've got you covered. Our teatn has put together a
                                                series of helpful guides to get you started riding safely and in con1pliance with
                                                the rules.

                                                 • Click h ere for our 2022 How t o Bird riding gyide
                                                 • Click here for our 2022 How to Park gyide

                                                You can also learn 1nore about Bird 's advanced technology an d upcon1ing
                                                lau nches by subscribing to the Bird Cities Blog.




 Rider                               Vehicles                            Partner                                      Company                            Blog
 How to Bird                         Bird Bikeshare                     Cities                                        About                              Canada Joins Bird Bike
                                                                                                                                                         Ex pansion With Calgary,
 Map                                 Bird Three                          Investor                                     Blog                               Windsor, Edmonton Launches

 Safety                              Bird Two                            Fleet Manager                                Careers                            6.8.22

 Sustainability                      Bird One                            Platform                                     Contact us
                                                                                                                                                         Bird Bike's New OTA A larm
                                                                                                                      Press                              System Upgrade Is Here
                                                                                                                      Shop                               6.3.22




   Rental Agreement    Terms of Service     Privacy Policy      Do Not Sell My Personal Information ( California)                                                 Eng lish                  V

   Copyright© 2022 Bird Rides, Inc
Case 4:22-cv-05014-MKD   ECF No. 24-1   filed 01/18/23   PageID.278 Page 58 of 142




                         EXHIBIT 6
                   Case 4:22-cv-05014-MKD   ECF No. 24-1   filed 01/18/23   PageID.279 Page 59 of 142




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Case 4:22-cv-05014-MKD   ECF No. 24-1   filed 01/18/23   PageID.280 Page 60 of 142




                         EXHIBIT 7
6/23/2020 Case 4:22-cv-05014-MKD   ECF
                               Xiaomi     No.
                                      makes     24-1
                                            the Bird      filed
                                                     and Spin    01/18/23
                                                              scooters             PageID.281
                                                                       taking over San               Page 61 of 142
                                                                                       Francisco — Quartz




                                                                TO MI OR NOT TO MI

                Rebranded Chinese scooters are taking over San
                                 Francisco
                                                                     April 19, 2018


                   By Mike Murphy & Alison Griswold




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                           -· _
           - --------------. ·-__---..,       .........

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                                                                                                                      BIRD
    A ﬂock of Bird scooters.



                          If you’ve been in downtown San Francisco, Los Angeles, or
                          Washington DC recently, you’ve probably noticed an in ux of
                          scooters—electri ed versions of the longtime children’s toy
                          —on street corners and sidewalks.


                          Startups including Bird, founded by former Lyft-then-Uber
                          executive Travis VanderZanden, LimeBike, and Spin, have
                          been dumping internet-connected scooters on city streets
                          over the last year, ostensibly in an effort to ll the gaps in
                          municipal transit.

https://qz.com/1257198/xiaomi-makes-the-bird-and-spin-scooters-taking-over-san-francisco/                             1/7
6/23/2020 Case 4:22-cv-05014-MKD   ECF
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                                                     and Spin    01/18/23
                                                              scooters             PageID.282
                                                                       taking over San               Page 62 of 142
                                                                                       Francisco — Quartz

                          These startups market their eets as a cheap and easy way to
                          get around cities plagued by congestion and poor public
                          transit. They’ve been richly funded by venture capitalists,
                          raising a collective $255 million. VanderZanden has implied
                          electric scooters are part of “the biggest revolution in
                          transportation since the dawn of the Jet Age.”


                          Quartz took a closer look at the technology littered across
                          city sidewalks: a scooter, retailing for $500, made by Chinese
                          electronics company Xiaomi.


                          Xiaomi is perhaps best-known in the West for producing low-
                          cost smartphones and wearables, but the company actually
                          produces a litany of gadgets under its Mi brand, from
                          cameras and TVs, to computers, appliances, headphones, and
                          even sofas.


                          A Bird scooter recently inspected by Quartz in San Francisco
                          bore a product sticker on the base that read, “Mi Electric
                          Scooter.” The sticker listed the scooter’s maximum speed at
                          15.5 miles per hour, and maximum load at 220 pounds. The
                          product was made in Changzhou, China, by Xiaomi’s
                          subsidiary Ninebot, which also owns Segway. Bird states on
                          its online safety page that scooter speeds are “throttled to 15
                          mile per hour” [sic] and says in its rental agreement that
                          riders must not exceed a maximum weight of 200 pounds.
                          The average weight of a US man is about 196 lbs.




https://qz.com/1257198/xiaomi-makes-the-bird-and-spin-scooters-taking-over-san-francisco/                             2/7
6/23/2020 Case 4:22-cv-05014-MKD   ECF
                               Xiaomi     No.
                                      makes     24-1
                                            the Bird      filed
                                                     and Spin    01/18/23
                                                              scooters             PageID.283
                                                                       taking over San               Page 63 of 142
                                                                                       Francisco — Quartz




                                                                                                                             QUARTZ/MATT QUINN
                          The product sticker on the undercarriage of a Bird scooter shows it to be the Xiaomi Mi scooter.




                          In China, the Mi scooter sells for 1,999 yuan (roughly $320),
                          but in the US, on sites like Amazon, it can cost about $500. It
                          weighs just shy of 27 lbs and can connect wirelessly over
                          Bluetooth to other apps. The scooter has a maximum travel
                          range of about 18 miles “under speci c conditions,” which
                          include mild weather conditions, a load of about 165 lbs, and
                          a “ at road without strong winds,” according to a product
                          description on Amazon. (San Francisco, of course, is not
                          exactly known for its at roads.)




                                                                                                                             SPIN, BIRD




                          Spin and Bird’s scooters are almost identical.




                          Bird refused to con rm that it’s using the Mi scooter, even
                          when Quartz said that it had photos of the scooters showing
                          their model. Spin appears to use the same scooters as Bird,
                          and a spokesperson for Spin con rmed to Quartz that it’s
                          working with Xiaomi to produce and customize its scooter
https://qz.com/1257198/xiaomi-makes-the-bird-and-spin-scooters-taking-over-san-francisco/                                                        3/7
6/23/2020 Case 4:22-cv-05014-MKD   ECF
                               Xiaomi     No.
                                      makes     24-1
                                            the Bird      filed
                                                     and Spin    01/18/23
                                                              scooters             PageID.284
                                                                       taking over San               Page 64 of 142
                                                                                       Francisco — Quartz

                           eet. They added that the devices have been certi ed by UL, a
                          US testing company that sets safety standards for many
                          consumer products. Bird declined to comment on what safety
                          tests its scooters had been through. Assuming the models are
                          the same, though, should mean that both Spin and Bird
                          scooters won’t repeat the fate that befell the short-lived
                          hoverboard fad.


                          The self-balancing boards exploded in popularity in 2015,
                          and then just started exploding. To meet the skyrocketing
                          demand, manufacturers seemed to cut corners, shipping
                          models around the world that caught re and exploded while
                          people were riding or charging the devices. In many cases,
                          shoddy batteries were to blame, leading Amazon to pull
                          many models from its sites, and the US Consumer Product
                          Safety Commission to request that UL come up with a test for
                          ensuring hoverboard batteries were safe to sell to consumers.
                          By the time the rst UL-certi ed boards hit the market, the
                          fad was dead.




https://qz.com/1257198/xiaomi-makes-the-bird-and-spin-scooters-taking-over-san-francisco/                             4/7
6/23/2020 Case 4:22-cv-05014-MKD   ECF
                               Xiaomi     No.
                                      makes     24-1
                                            the Bird      filed
                                                     and Spin    01/18/23
                                                              scooters             PageID.285
                                                                       taking over San               Page 65 of 142
                                                                                       Francisco — Quartz




                                                                                                       LIMEBIKE
                          LimeBike’s proprietary scooter design.




                          LimeBike told Quartz that its scooters are a proprietary
                          “Lime-S” design, built by a third party overseas. Although it
                          didn’t con rm who that was, it appears the company is using
                          a modi ed version of a design produced by a range of
                          manufacturers—you can nd the design on Amazon under
                          the names Haitral, Logisys, Swagtron, and Partu, to name a
                          few—and retail between about $200 to $400. It’s unclear
                          what sorts of tests these batteries have been through, and
                          LimeBike couldn’t con rm whether its scooters’ batteries
                          were UL certi ed. It has deployed over 35,000 bikes and
                          scooters across the US since last June.


                          On the surface, there isn’t much wildly different between
                          these scooter startups. They all have scooters that can travel
                          at roughly the same speeds, that are connected to apps and
                          can unlock with some combination of Bluetooth, cellular
                          data, and GPS. LimeBike told Quartz that it’s building
                          software that can detect if its scooters fall over (so if users
                          are carelessly tossing them on street corners instead of
                          neatly propping them up somewhere, or if they’re being
                          stolen, Lime will know), while Bird and Spin claim to have
                          the operational savvy required to run an on-demand transit

https://qz.com/1257198/xiaomi-makes-the-bird-and-spin-scooters-taking-over-san-francisco/                             5/7
6/23/2020 Case 4:22-cv-05014-MKD   ECF
                               Xiaomi     No.
                                      makes     24-1
                                            the Bird      filed
                                                     and Spin    01/18/23
                                                              scooters             PageID.286
                                                                       taking over San               Page 66 of 142
                                                                                       Francisco — Quartz

                          network. But really, there isn’t much that makes one of these
                          companies more special than another, at least not yet. Just as
                          Uber and Lyft notoriously have the same drivers, it’s perhaps
                          not surprising that the next wave of mobility startups are
                          using pretty much the same technologies.


                          Bird has raised $118 million to date from investors including
                          New York-based Tusk Ventures. That gives the company
                          plenty of money to spend on Xiaomi scooters, which it’s
                          presumably purchasing for less than the $500 sticker price.
                          On Chinese e-commerce site Alibaba, for example, a
                          minimum of 100 Mi scooters can be purchased for $250 to
                          $299 apiece. At the midpoint of that price range, Bird could
                          buy a eet of 500 scooters for $137,500, or 0.1% of its total
                          funding. Bird declined to disclose how many scooters it has
                          deployed. (Spin said it has “hundreds” of scooters, and
                          they’re mainly concentrated in the SoMa neighborhood of
                          San Francisco.)


                          On the other hand, at Bird’s current rates of $1 per ride plus
                          15 cents per minute, it would take a long time to recoup the
                          cost of a single scooter. In Bird’s hometown of Santa Monica,
                          for instance, a 2016 study  of local transit found that 53% of
                                                   QUARTZ
                          trips were less than 3 miles and 18% were less than 1 mile. At
                          15 mph, a Bird scooter could make a three-mile trip in about
                          12 minutes, which means the entire trip would cost $2.80. If
                          Bird were purchasing scooters in bulk at $275 apiece, it
                          would take about 100 of those trips to offset the initial
                          purchase price. Bird said the majority of its rides were less
                          than 2 miles long.


                          Additional reporting by Matt Quinn.



                          •       Quartz Daily Brief




https://qz.com/1257198/xiaomi-makes-the-bird-and-spin-scooters-taking-over-san-francisco/                             6/7
Case 4:22-cv-05014-MKD   ECF No. 24-1   filed 01/18/23   PageID.287 Page 67 of 142




                         EXHIBIT 8
Case 4:22-cv-05014-MKD   ECF No. 24-1   filed 01/18/23   PageID.288 Page 68 of 142
Case 4:22-cv-05014-MKD   ECF No. 24-1   filed 01/18/23   PageID.289 Page 69 of 142




                         EXHIBIT 9
Case 4:22-cv-05014-MKD   ECF No. 24-1   filed 01/18/23   PageID.290 Page 70 of 142
Case 4:22-cv-05014-MKD   ECF No. 24-1   filed 01/18/23   PageID.291 Page 71 of 142
Case 4:22-cv-05014-MKD   ECF No. 24-1   filed 01/18/23   PageID.292 Page 72 of 142
Case 4:22-cv-05014-MKD   ECF No. 24-1   filed 01/18/23   PageID.293 Page 73 of 142
Case 4:22-cv-05014-MKD   ECF No. 24-1   filed 01/18/23   PageID.294 Page 74 of 142
Case 4:22-cv-05014-MKD   ECF No. 24-1   filed 01/18/23   PageID.295 Page 75 of 142




                    EXHIBIT 10
      Case 4:22-cv-05014-MKD     ECF No. 24-1    filed 01/18/23   PageID.296 Page 76 of 142

                                                            Contact Us   Customer Support     




Seattle Area Transit Agency Chooses Proterra for EV
Transit Program
August 21, 2014




Seattle’s King County Metro signs contract to purchase two EV buses with option
to buy 200 more over next five years

GREENVILLE, S.C., August 21, 2014 – Proterra Inc, the leading provider of electric
vehicle transit technology, recently announced the sale of two 40-foot (12 meter)
battery-electric transit vehicles and a fast charge system to King County Metro in
Seattle, Wash. Following a one-year trial period, the agency has the pre-arranged
option to purchase up to 200 more buses and additional fast charge systems,
depending on the outcome of the demonstration.

Proterra was selected through a competitive process for the program, which
included bids from other transit vehicle manufacturers.

A pioneer in clean technology for transit, King County Metro’s fleet currently
incorporates electric trolley and diesel-hybrid vehicles. The ability to test and
deploy more EV buses like Proterra’s may allow the agency to meet its goal of
moving toward an all-electric and hybrid-electric fleet.


“Driven by strong economic and environmental benefits, the public transportation
market is adopting EV technology and proving-out the business case,” said Ryan
Popple, CEO of Proterra. “King County Metro is one of the largest and most
technologically-advanced transit agencies in the United States, and we are thrilled
that they have chosen Proterra for this exciting program. In addition to having a
positive impact on the Seattle area, King County Metro’s willingness to adopt EV
buses as a means to reduce emissions and fuel costs will help other agencies
understand and perfect the deployment of EV transit vehicles.”
      Case 4:22-cv-05014-MKD       ECF No. 24-1    filed 01/18/23   PageID.297 Page 77 of 142
Funding for the 40-foot zero-emission electric buses and fast charge system, which
are scheduled to be delivered in the first half of 2015, will be provided by FTA
TIGGER funding and matching funds from King County.


With this purchase, the Seattle area is the latest in a group of metropolitan areas,
including Stockton and Pomona, Calif.; San Antonio, Texas; Worcester, Mass.;
Tallahassee, Fla.; Seneca, S.C.; Nashville, Tenn.; Reno, Nev.; and Louisville, Ky., to
purchase and deploy Proterra EV transit technology. Proterra EV buses have logged
nearly 500,000 road miles, powered 100 percent by clean local electricity.


Proterra is proud to offer a state-of-the-art transit vehicle technology to help create
the urban environment of the 21st century – cleaner, quieter, lower-cost and more
enjoyable for families and businesses in these great cities.

About King County Metro

King County Metro Transit is popular locally and admired nationwide for its
innovative transit services, pioneering green practices and visionary approach to
meeting the transportation needs of the county’s growing population.

In a service area of more than 2,000 square miles and 2 million residents, Metro
operates 214 bus, trolley and dial-a-ride-transit routes that serve destinations across
the county. Every bus is equipped with a bicycle rack and a wheelchair lift or ramp.

For more information, please visit http://metro.kingcounty.gov.


About Proterra

Proterra is a leader in the design and manufacture of clean technology and clean
energy, providing zero- emission vehicles that enable bus fleet operators to
significantly reduce operating cost while delivering clean, quiet power to the
community. Proterra buses’ fast-charge enabled infinite range makes them well-
suited to transit routes. With unmatched durability and energy efficiency based on
rigorous U.S. certification testing, the Proterra product is proudly designed,
engineered and manufactured in America, based in Greenville, S.C. For more
information about Proterra, please visit www.proterra.com.
         Case 4:22-cv-05014-MKD   ECF No. 24-1   filed 01/18/23   PageID.298 Page 78 of 142



                                  Contact                                 Careers




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          Case 4:22-cv-05014-MKD   ECF No. 24-1     filed 01/18/23    PageID.299 Page 79 of 142

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Case 4:22-cv-05014-MKD   ECF No. 24-1   filed 01/18/23   PageID.300 Page 80 of 142




                    EXHIBIT 11
Case 4:22-cv-05014-MKD           ECF No. 24-1        filed 01/18/23      PageID.301 Page 81 of 142




PRESS RELEASE

Kitsap Transit wins $3.9 million federal grant for five electric buses
May 29, 2020
Media Contact:
Sanjay Bhatt, 360-824-4926, sanjayb@kitsaptransit.com

BREMERTON, Wash. – Kitsap Transit has won a competitive grant of $3.92 million from the Federal
Transit Administration (FTA) to replace five conventional diesel buses with battery-electric buses and
charging infrastructure, accelerating the greening of the agency’s fleet.

The grant from the FTA’s Low- or No-Emission Vehicle Program will bring the total number of battery-
electric buses in Kitsap Transit’s fleet to seven and was supported jointly by U.S. Rep. Derek Kilmer, Sen.
Patty Murray and Sen. Maria Cantwell.

“This is great news and supports our efforts to be a cleaner, more efficient transit system,” said John
Clauson, Executive Director at Kitsap Transit. “We are grateful for the strong support for our grant
application from Congressman Kilmer and Senators Murray and Cantwell, who also are championing
federal relief for local and state governments battered by the impact of the COVID-19 pandemic.”

“Our region is continuing to lead the way in reducing carbon emissions and growing green jobs,” said
U.S. Rep. Derek Kilmer. “Federal investments to make these buses - and our public transportation
system in general - more green, more clean, and more affordable is great news for our region, our
planet, and our economy. I’ll keep at it.”

In 2017 Kitsap Transit committed nearly $1 million of local funding to procure its first battery-electric
bus from Proterra. Later that year the FTA awarded Kitsap Transit $1 million for a battery-electric bus;
Kitsap Transit purchased one from Gillig that is scheduled to be delivered this November. The same
grant also paid for critical power upgrades and installation of a charger in February this year at Kitsap
Transit’s North Base in Poulsbo.

Kitsap Transit’s Charleston base requires upgrades to electrical service and distribution systems to
support the expansion of its battery-electric bus fleet there. Earlier this year, Kitsap Transit received
about $1 million from the Washington State Department of Transportation’s Green Transportation
Grant Program to accomplish that. The power upgrades will enable Kitsap Transit to convert up to 44 of
its 74 buses from diesel to electric in the future.
Case 4:22-cv-05014-MKD           ECF No. 24-1        filed 01/18/23     PageID.302 Page 82 of 142



The grant announced today will cover 80 percent of the $4.9 million cost of replacing five conventional
diesel buses with battery-electric buses at Charleston base by 2022. Kitsap Transit, which is providing a
local match of $980,000, plans on placing an order for the electric buses by the end of this year.

The Charleston base was selected from Kitsap Transit’s three bus bases for the five new battery-electric
buses because it is located just outside of downtown Bremerton and serves the largest ridership and
population center. The Charleston base is certified to the global standard ISO 14001 for environmental
management systems.

In addition to electric buses, Kitsap Transit runs the first hybrid-electric ferry to operate on the Puget
Sound and has converted the majority of its ACCESS diesel buses to propane, which burns cleaner and is
significantly less expensive than diesel. Since 2013, Kitsap Transit has decreased its carbon-dioxide
footprint by more than 375 metric tons, equivalent to taking 82 cars off the road per year.

About Kitsap Transit
Kitsap Transit has been operating friendly, convenient public transit since 1983. The transit agency for
Kitsap County carried more than 3.8 million riders in 2018 across a multi-modal system of routed buses,
passenger ferries, paratransit shuttles, vanpools, and worker/driver buses for the Puget Sound Naval
Shipyard.

Hablar español?
Por favor llame al 1-800-501-7433 durante las horas normales de oficina. El personal de servicios al
cliente se conectará con un intérprete para ayudarle a responder sus preguntas.

Nagsasalita ka ba ng Tagalog?
Paki-tawagan ang numero 1-800-501-7433 normal na oras ng trabaho. Customer Service kawani ay
kumonekta sa isang taga interpretor upang tulungan sagutin ang iyong katanungan.


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Case 4:22-cv-05014-MKD   ECF No. 24-1   filed 01/18/23   PageID.303 Page 83 of 142




                    EXHIBIT 12
        Case 4:22-cv-05014-MKD           ECF No. 24-1       filed 01/18/23    PageID.304 Page 84 of 142




Menu




SUSTAINABILITY AT PIERCE TRANSIT
Sustainable transit reduces a community’s environmental footprint from transportation and enhances its quality of life by
making travel more enjoyable, affordable and timely. At Pierce Transit sustainability is a core value, addressed in terms
of both the services we provide and how we operate.

Pierce Transit plays a key role in reducing the number of single-occupant vehicles on the road and the pollution they
generate. In 2019, our customers skipped 9.3 million car trips, taking Pierce Transit buses, paratransit rides or
Vanpools instead. Pierce Transit’s commitment to sustainability is reflected throughout the conception, planning,
design, construction and operation of our system. We believe sustainability practices must make good business, public,
and environmental sense by balancing the community's economic, social and environmental needs.




                             ~THE APTA SUSTAINABILITY PLEDGE
 Pierce Transit has pledged to adopt sustainable business practices and strategies. We track, measure and report
 progress. We administer these practices on an ongoing basis to continually improve them over time. As a signatory
 to the American Public Transportation Association (APTA) Sustainability Commitment, Pierce Transit actively
 supports and responsibly serves our community.


                        Executive Order No. 1                                   APTA Pledge
            Read an overview of actions we take agency wide             Download to view Pierce Transit's
                     to reduce, reuse and recycle.                        commitment to sustainability.
                          DOWNLOAD HERE                                      DOWNLOAD HERE
       Case 4:22-cv-05014-MKD                                      ECF No. 24-1                               filed 01/18/23                                   PageID.305 Page 85 of 142

                                 Sustainability Highlights                                                                                              Year selection               2021                               

        In 2021 Pierce Transit                                                                                          By keeping personal
                  provided                               produced                                                       vehicle tailpipes off the road,
           4,849,381
               rides
                                                    13,142
                                                  metric tons of CO2
                                                                                                                        our public transit system saved
                     &                                                                                                  618,763                                                                   Saving
                  traveled

          10,371,140                                        12.7
                                                        metric tons of CO2
                                                                                                                     gallons of gasoline
                                                                                                                     that would produce                                                           5.3
                                                                                                                                                                                             metric tons of CO2
              miles                                      per 10,000 miles
                                                                                                                        5,451 metric tons of CO2!                                            per 10,000 miles!




       Our agency recycled                                                                                   13.9                12.8                                                     12.7




                                                                                                             IIi i i i
                                                                                                                                                  12.3                 12.2




               55%
                                                                                                                                                                                                             9.8
                                                             7,350
                                                           pounds of tires,
                                                                                                                     8.7                8.3                7.6
                                                                                                                                                                               5.8                5.3
                                                         batteries, light bulbs,
            of total waste!                                    and more




        1,773,153                                          152,241
                                                             pounds of oil,
                                                             coolant, and
                                                               antifreeze
                                                                                                                2017                2018                2019

                                                                                                                                        Emissions per 10k
                                                                                                                                                                            2020

                                                                                                                                                                              Savings per 10k
                                                                                                                                                                                             2021                2022



       total pounds of waste disposed
                                                                                         Our Electric bus fleet produces 0 criteria air pollutants
        Our fleet produced                                                               and less CO2 per 10,000 miles traveled*
                                                                                                        CO2 (pounds) per 10k VMT              CAP (pounds) per 10k VMT


         115                      CNG 41%
                                            Diesel 1%
                                                                                                                    34,585              35,891

        metric tons of criteria                                                                                                                                                                         18,314
                                                                                                                                                                                   16,185
        air pollutants
                                                                                                                                                               5,738
                                                                                   *CO2 emissions from                       226                 33                     0                   245                  308
                  change from
          -4%     the previous
                  year
                                                                  Unleaded
                                                                                   electricity required to
                                                                                   charge vehicles                     CNG Bus             Diesel Bus          Electric Bus        Unleaded Single      Unleaded Van
                                                                  58%                                                                                                                Use Vehicle




 Microsoft Power BI
                                                                                                      

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     DEDICATED GREEN TEAM




Pierce Transit’s Green Team comprises representatives from a variety of departments including Data Analytics,
Marketing, Communications, Maintenance, Safety & Training, Community Development, ADA Eligibility and Planning.
The goal of the Green Team is to establish sustainability outcomes for the agency and develop best practices,
benchmarks and data collection protocol to measure outcome attainment.




       THE GREEN TEAM WORKS TO:                                                                       DATA COLLECTION PROTOCOL INCLUDES:
          Case 4:22-cv-05014-MKD            ECF No. 24-1         filed 01/18/23    PageID.306 Page 86 of 142
•      Improve public awareness of our agency’s              •    Identify potential areas of improvement
       sustainability efforts
                                                             •    Develop matrices to measure data
•      Emphasize modernization
                                                             •    Increase employee awareness of PT
•      Increase community partnerships                            sustainability practices, as well as awareness in
                                                                  community
•      Expand our community experience
                                                             •    Quantify results to demonstrate success, areas
                                                                  needing further development




We believe that making sustainable strides benefits all by expanding regional connections, helping improve local air
quality and enhancing our brand.




                                                            OUR FLEET

    The majority of Pierce Transit’s buses run on Compressed Natural Gas (CNG) which offers lower emissions than
    diesel or standard fuel. Pierce Transit now has nine battery electric buses in its fleet: three Proterra and six GILLIG.
    These zero-emission buses offer a smooth, quiet ride and save on fuel costs and tailpipe emissions.
        Case 4:22-cv-05014-MKD           ECF No. 24-1       filed 01/18/23     PageID.307 Page 87 of 142

            Pierce Transit Electric Bus Sustainability




                                                 a

IDLING REDUCTION
In 2018, Pierce Transit approved a vehicle idling policy intended to protect the health of our employees, passengers,
and communities; conserve fuel, reduce pollution and harmful effects to the environment; prevent premature engine
wear, and minimize operating costs. This policy applies to every Pierce Transit-owned vehicle. Here’s a summary of
what it covers:

1. Pierce Transit vehicles will not be parked with the engine operating for more than five minutes unless it is essential
   for the performance of work.
2. This limit applies to all Pierce Transit vehicles, unless the vehicle is idling under specific circumstances to be
   clarified by supervisors (including outdoor temperature extremes).
3. In cases where the operator must leave the vehicle and interior and/or clearance lights must remain ON, certain
   rules apply.
    0     offsets some of its own carbon footprint; and

    0   saves around 1,000 metric tons of greenhouse gas on an annual basis.




SOURCING OUR FUEL
Pierce Transit currently purchases its compressed natural gas (CNG) through a distributor, United Energy Trading, on
the open market. As the market fluctuates, so does the price of gas per therm (a unit of heat equivalent). By purchasing
several years’ worth of gas at a time, Pierce Transit was able to lock in a reduced rate at a third of what the market
averages right now. As good stewards of public funds, Pierce Transit seeks such opportunities to reduce costs.

Currently, market price of gas is 90 cents per therm, and Pierce Transit pays 30 cents per therm, significantly saving the
agency money and allowing it to reinvest a portion of those savings to The Francis Beidler Forest Project (a forest
management concern) to reduce overall carbon footprint.
        Case 4:22-cv-05014-MKD           ECF No. 24-1       filed 01/18/23     PageID.308 Page 88 of 142


                       WHAT IS PIERCE TRANSIT’S CARBON FOOTPRINT?

 There are different methods used to calculate the carbon footprint of a transit agency. Carbon footprint is the total
 amount of greenhouse gases (including carbon dioxide and methane) that are generated by an entity’s actions.
 Some agencies use the number of vehicles in their fleet, how much fuel is used for those vehicles, and the cost of
 utilities that support the vehicle operation.

 Pierce Transit has chosen to take a more comprehensive approach that includes not only fleet vehicles but
 commute trips taken by employees in personal vehicles and in vanpools and carpools. Considering not only the
 operations of the agency but the associated travel made by its employees gives a more holistic picture of resource
 use. Calculating the agency’s true carbon footprint, and planning ways to reduce that footprint, captures all aspects
 of service.

                          PIERCE TRANSIT'S CARBON FOOTPRINT EVALUATION
         ..~. PierceTransit                                             Employees
                 Fleet                                    Personal            Vanpools           Carpools
                                                          Vehicles

                                             + 1'➔iil • •
 To that end, Pierce Transit is working with an industry expert to examine data we currently collect on resource use
 and process that to establish the carbon footprint baseline. Having a clear understanding of the starting point then
 empowers the agency to make smart decisions on what bus specifications, bus types, and other resources to
 procure. That is where reinvesting a portion of fuel savings comes into play.




RESPONSIBLY SOURCED NATURAL GAS
In late 2021, Pierce Transit began transitioning its vehicles that operate on Compressed Natural Gas (CNG) to
Responsibly Sourced Gas, or RSG. This gas is mined, and during the mining process, there are greenhouse gas
emissions (GHG) emitted. These emissions impact the air we breathe and therefore have a carbon footprint associated
with them. Responsibly sourced natural gas comes from mines that offset GHG created during the mining process with
other sustainable practices.

In purchasing responsibly-sourced gas, Pierce Transit:


While some would argue that using RSG is not a perfect process, it is far cleaner than running buses on diesel. In
addition, each bus – regardless of its fuel source – takes potentially dozens of single occupancy vehicles off the road,
which further reduces carbon output.

Pierce Transit is also investigating using renewable natural gas (RNG). This gas comes from dairy farms or landfills that
produce methane. This gas costs more, but the advantage is that it offsets exhaust emissions. By using this fuel, Pierce
Transit would effectively operate with a neutral carbon footprint. Effective January 1, 2023, the State of Washington will
give companies carbon credits for using renewable natural gas.
Moving to responsibly-sourced and eventually renewable natural gas represents another step taken toward making
Pierce Transit services sustainable.




                                                        CIRTCELE




                                                                                                               Pierce
 Transit has installed LED lighting at Tacoma Dome Station parking garages, transit centers, and at headquarters on
                                                                                                                           Case 4:22-cv-05014-MKD




 our bus lot. This new lighting provides brighter illumination, movement- and daylight-sensitive fixtures to reduce time
 lit, and lower utility bills.

 With efficiency and sustainability in mind, Pierce Transit provides Toyota Prius and Ford Fusion Energi plug-in
 hybrid electric vehicles (EVs) to employees for use when travelling to meetings or running agency errands. There
 are charging stations set aside for these cars at our headquarters. We also recently installed electric vehicle
                                                                                                                           ECF No. 24-1




 charging stations for employees to charge their personal vehicles; these are very popular and encourage
 employees to go electric.

 Hybrid electric vanpool vehicles are now part of our fleet, available for community use. Tacoma Public Utilities
 partnered with Pierce Transit to become the first recipient of 8 plug-in Vanpool vans for their employees.
                                                                                                                           filed 01/18/23




C
     GNILCYCER
Large mixed recycling bins are provided around our headquarters, in high-use areas, and each employee is offered a
small desk-side bin for daily collection. Employees are reminded of which items to recycle and which to throw away.

In order to encourage recycling efforts in our Maintenance department, bins are placed throughout the shop, near the
offices and break room.

Fluids used in the operation of our buses and fleet vehicles, along with materials used for parts and repairs, are
                                                                                                                           PageID.309 Page 89 of 142




recycled. Cardboard boxes and packaging materials from our parts warehouse are, too.

Water used in our bus wash is also recycled. The water is collected and processed through a filtration system. The only
water wasted is that remaining on the coaches when they leave the bus wash.
        Case 4:22-cv-05014-MKD           ECF No. 24-1           filed 01/18/23           PageID.310 Page 90 of 142

           Pierce Transit Commitment to Recycling




                                                a


IWATER
Our agency avoids purchasing water or other beverages in single-use plastic bottles whenever possible.

Those teams that work out in the community during summer months are provided with insulated cooler jugs they can
refill with water throughout the day.

Maintenance staff have large coolers of water and Gatorade available at several stations in their shops. Bus operators
are provided with reusable bottles and cups and the Employee Wellness Committee awards insulated water bottles and
other containers to employees who participate in wellness challenges.

Filtered water bottle filling stations are available throughout our headquarters and, as of year-end 2021, have saved
using 54,309 plastic bottles.


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    REPORT ISSUE WITH THIS PLANNED TRIP
    From
     Email Address
    Comments
        Case 4:22-cv-05014-MKD   ECF No. 24-1   filed 01/18/23   PageID.311 Page 91 of 142

Close
Case 4:22-cv-05014-MKD   ECF No. 24-1   filed 01/18/23   PageID.312 Page 92 of 142




                    EXHIBIT 13
       Case 4:22-cv-05014-MKD    ECF No. 24-1   filed 01/18/23   PageID.313 Page 93 of 142

                                                           Contact Us   Customer Support     




Proterra Selected in Electric Bus Contract by
Washington State Department of Enterprise Services
April 13, 2021




Transit agencies, universities, and commercial customers can now purchase
Proterra battery-electric buses directly from the Washington State Cooperative
Purchasing Contract

Burlingame, Calif. –– Proterra Inc (“Proterra”), a leading innovator in heavy-duty
electric transportation, today announced that it has been selected by the
Washington State Department of Enterprise Services as a vendor to supply zero-
emission battery-electric transit buses and charging infrastructure under the
state’s regional Cooperative Purchasing Contract.

Proterra was chosen to help streamline local transit agencies’ access to vehicles
that best meet their specific transit system needs. Transit agencies, universities,
and other commercial operators can now purchase Proterra battery-electric buses
as well as Proterra charging infrastructure through the Washington State
Cooperating Purchasing program’s pre-established contract.



        “Proterra is proud to support more than 130 customers across North
       America including transit agencies, airports, universities, and
                                                                                      
        commercial operators that are delivering an essential service to
        riders. We look forward to helping even more customers throughout
        the country accelerate the switch to 100% clean transportation for
        all,” said John Walsh, Proterra Senior Vice President.


Proterra battery-electric buses feature zero tailpipe emissions, saving
approximately 230,000 pounds of greenhouse gases annually when replacing
      Case 4:22-cv-05014-MKD     ECF No. 24-1    filed 01/18/23   PageID.314 Page 94 of 142
diesel buses. The purpose-built electric buses further offer a quieter ride for
reduced noise pollution, greater efficiency, and lower operating costs than
combustion engine vehicles.


In 2020, Proterra introduced its fifth-generation battery-electric transit vehicle, the
Proterra ZX5. The ZX5 electric transit bus features a new streamlined vehicle design
and maximizes the amount of energy that can be stored on board the vehicle to
increase power and range. The 40-foot Proterra ZX5 can be equipped with 675 kWh
of energy storage to deliver up to 329 miles of drive range, which represents the
most energy storage and longest drive range of any 40-foot electric bus available in
the market today. The ZX5 is available to customers today as a 35-foot and 40-foot
bus and in models featuring 450 kWh and 225 kWh of energy storage capacity.

In addition to its transit products, Proterra Energy fleet solutions offers a turn-key
approach to delivering the complete energy ecosystem for heavy-duty electric
fleets, including charging infrastructure design, build, financing, operations,
maintenance and energy optimization.
      Case 4:22-cv-05014-MKD      ECF No. 24-1     filed 01/18/23   PageID.315 Page 95 of 142




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       Email *




       Statement of terms:

       By submitting, I consent to receive email
       from Proterra as stated by these terms.



          Submit




About Proterra

Proterra is a leader in the design and manufacture of zero-emission electric transit
vehicles and EV technology solutions for commercial applications. With industry-
leading durability and energy efficiency based on rigorous U.S. independent
testing, Proterra products are proudly designed, engineered, and manufactured in
America, with offices in Silicon Valley, South Carolina, and Los Angeles.


Proterra Media Contact

Shane Levy
Corporate Communications
pr@proterra.com
      Case 4:22-cv-05014-MKD     ECF No. 24-1   filed 01/18/23   PageID.316 Page 96 of 142



Business Combination

On January 11, 2021, Proterra entered into a merger agreement with ArcLight Clean
Transition Corp. (Nasdaq: ACTCU, ACTC and ACTW), a special purpose acquisition
company. ArcLight has filed with the SEC a Registration Statement on Form S-4 (as
amended, the “Registration Statement”), which includes a preliminary proxy
statement/prospectus of ArcLight, in connection with the proposed merger
transaction (the “Business Combination”) involving ArcLight and Proterra. After the
Registration Statement is declared effective, ArcLight will mail a definitive proxy
statement/prospectus and other relevant documents to stockholders of ArcLight
as of a record date to be established for voting on the Business Combination.
ArcLight’s stockholders and other interested persons are advised to read, the
preliminary proxy statement/prospectus, and amendments thereto, and, when
available, the definitive proxy statement/prospectus in connection with ArcLight’s
solicitation of proxies for its stockholders’ meeting to be held to approve the
Business Combination because the proxy statement/prospectus will contain
important information about ArcLight, Proterra and the Business Combination.
Stockholders will also be able to obtain copies of the Registration Statement,
without charge, once available, at the SEC’s website at www.sec.gov. In addition,
the documents filed by ArcLight may be obtained free of charge from ArcLight at
https://www.arclightclean.com or by directing a request to: ArcLight Clean
Transition Corp., 200 Clarendon Street, 55th Floor, Boston, MA 02116.

Participants in the Solicitation

ArcLight, Proterra and their respective directors, executive officers, other
members of management and employees, under SEC rules, may be deemed to
be participants in the solicitation of proxies of ArcLight’s shareholders in
connection with the Business Combination. Investors and security holders may
obtain more detailed information regarding the names and interests in the
Business Combination of ArcLight’s directors and officers, and Proterra’s directors
and executive officers, in ArcLight’s filings with the SEC, including the Registration
Statement.


Disclaimer
         Case 4:22-cv-05014-MKD    ECF No. 24-1    filed 01/18/23   PageID.317 Page 97 of 142
 This communication is for informational purposes only and is neither an offer to
 purchase, nor a solicitation of an offer to sell, subscribe for or buy, any securities or
 the solicitation of any vote in any jurisdiction pursuant to the Business
 Combination or otherwise, nor shall there be any sale, issuance or transfer or
 securities in any jurisdiction in contravention of applicable law. No offer of
 securities shall be made except by means of a prospectus meeting the
 requirements of Section 10 of the Securities Act.




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          Case 4:22-cv-05014-MKD   ECF No. 24-1   filed 01/18/23   PageID.318 Page 98 of 142
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Case 4:22-cv-05014-MKD   ECF No. 24-1     filed 01/18/23    PageID.319 Page 99 of 142




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Case 4:22-cv-05014-MKD   ECF No. 24-1   filed 01/18/23   PageID.320 Page 100 of 142




                    EXHIBIT 14
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Case 4:22-cv-05014-MKD   ECF No. 24-1   filed 01/18/23   PageID.322 Page 102 of 142




                    EXHIBIT 15
Case 4:22-cv-05014-MKD   ECF No. 24-1   filed 01/18/23   PageID.323 Page 103 of 142
Case 4:22-cv-05014-MKD   ECF No. 24-1   filed 01/18/23   PageID.324 Page 104 of 142




                    EXHIBIT 16
Case 4:22-cv-05014-MKD   ECF No. 24-1   filed 01/18/23   PageID.325 Page 105 of 142
Case 4:22-cv-05014-MKD   ECF No. 24-1   filed 01/18/23   PageID.326 Page 106 of 142




                    EXHIBIT 17
                                                                     Case 4:22-cv-05014-MKD   ECF
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   Refine Search                                        Chevrolet Bolt EV for Sale near Seattle, WA
                                                        Interested in buying an elect ric vehicle in the Seattle, WA area? Burien Chevro let has dozens of Chev ro let Bo lt EV mode ls ava ilable

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   Price Range                             V           Check out our inventory on line and sort by color, trim, price and more. Ready to see how it handles on the road? Schedu le a test drive
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                                                                                        -       -                 View Vehicle Details

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                                                                                                                  Int. Color: Jet Black/N ightshift Blue,
                                                               9 Sneak Peek                                       Perforated leather-appointed trim
                                                                                                                  MPG: 115 City/ 17 5 Hwy
                                                               □   Send to Mobile                                 VIN #: 1Gl FZ6S04 N41 12079
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                                                      Disclaimer

                                                      Prices for veh icles as equ ipped do not include charges such as: License, T it le, Registrat ion Fees, State or Loca l Taxes, Finance Charges,
                                                      Credit Investigat ion, Opt iona l Cred it Insurance, Physica l Damage or Liability Insurance, Delivery Fees, or a negot iable $200 Documentary
                                                      Serv ices Fee. A ll photos and graph ics for il lust ration purposes only. Where actua l vehicle photos are not avai lab le, stock image
                                                      representations may be d isplayed. Prototype features or opt ions may be disp layed. Dealersh ip makes no representat ions, expressed or
                                                      implied, to any actua l or prospective purchaser or owner of veh icles as to the ex istence, ownership, accu racy, descript ion or condit ion of
                                                      vehicles' listed equipment, accessories, price or any warranties. Pr ices may include dea ler insta lled opt ions. Any and all differences must
                                                      be addressed pr ior to the sa les transact ion. The Employee Discount for Everyone is not compat ible w ith Lease offers. See Burien
                                                      Chevro let for details.




                                                                                            FIND NEW ROADS '
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Case 4:22-cv-05014-MKD   ECF No. 24-1   filed 01/18/23   PageID.328 Page 108 of 142




                    EXHIBIT 18
           Case
9/24/21, 3:14 PM 4:22-cv-05014-MKD                           ECF
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                                                                                                Bolt EVs next month due to fire Page
                                                                                                                                risk 109 of 142

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     AUTO S


     GM to begin fixing Chevy Bolt EVs, recalled due to fire
     risk, as soon as next month
     P U B L I S H E D M O N , S E P 2 0 2 0 2 1 • 2 : 3 0 P M E DT   U P DAT E D M O N , S E P 2 0 2 0 2 1 • 3 : 2 3 P M E DT


                Michael Wayland
                @ M I K E WAY L A N D




    SHARE          


     KEY POINTS
         General Motors said Monday it expects to begin replacing battery modules in
         Chevrolet Bolt EVs, which were recalled due to fire risk, as soon as next month.


         The timing follows the automaker’s battery supplier LG Chem restarting
         production of battery cells with updated manufacturing processes at plants in
         Michigan, GM said.


         GM has confirmed 13 battery fires globally.



     In this article

      .FKRX300 -1.56 (-0.12%)                         GM +0.29 (+0.57%)
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https://www.cnbc.com/2021/09/20/gm-to-begin-fixing-recalled-chevy-bolt-evs-next-month-due-to-fire-risk.html                                         1/11
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9/24/21, 3:14 PM 4:22-cv-05014-MKD                  ECF
                                                      GM No.   24-1
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                                                                  fixing recalled 01/18/23       PageID.330
                                                                                       Bolt EVs next month due to fire Page
                                                                                                                       risk 110 of 142

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     A 2019 Chevrolet Bolt EV caught fire at a home in Cherokee County, Georgia on Sept. 13, 2021, according to the local fire
     department.
     Cherokee County Fire Department




     DETROIT — General Motors announced Monday that it expects to begin replacing
     battery modules in Chevrolet Bolt EVs, which were recalled due to fire risk, as soon as
     next month.

     The timing comes after the automaker’s battery supplier LG Chem restarted production
     of battery cells with updated manufacturing processes at plants in Michigan, GM said.
     Cell production went down last month following two rare manufacturing issues forcing
     GM to recall more than 140,000 EVs due to risk of the batteries spontaneously catching
     fire.


     GM has confirmed 13 battery fires globally. The automaker has identified the problems
     as a torn anode and a folded separator, both of which need to be present in the same
     battery cell for a fire to occur. EV battery packs are made up of modules that hold the
     cells.


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           Case
9/24/21, 3:14 PM 4:22-cv-05014-MKD                  ECF
                                                      GM No.   24-1
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                                                                  fixing recalled 01/18/23       PageID.331
                                                                                       Bolt EVs next month due to fire Page
                                                                                                                       risk 111 of 142

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         VIDEO 15:18

         GM’s big bet on electric vehicles



     The recall is expected to cost the automaker $1.8 billion, some of which it is negotiating
     to recoup from LG Chem, according to GM. Depending on the vehicle, GM may have to
     replace some, if not all, of the modules.

     In addition to shipping new battery modules to dealers beginning mid-October, GM
     also plans to roll out a software diagnostic update for battery monitoring in the next 60
     days.

     GM said the diagnostic software will be designed to detect specific abnormalities that
     might indicate a damaged battery in Bolt EVs by monitoring the battery performance,
     alerting customers of any anomalies and prioritizing damaged battery modules for
     replacement.

     Customers will have to take their Bolt EVs into a dealership for the battery module
     replacements as well as the software update. Owners will be able to start to schedule
     software installation in about 60 days, while GM has established a notification process
     that will inform affected customers when their replacement modules will be available.




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Case 4:22-cv-05014-MKD   ECF No. 24-1   filed 01/18/23   PageID.332 Page 112 of 142




                    EXHIBIT 19
                                             Case 4:22-cv-05014-MKD   ECF No. 24-1   filed 01/18/23   PageID.333 Page 113 of 142




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PRODUCT OVERVIEW


Lights



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               Gelish offers a wide range of professional, high pe rformance gel cu ring LED lamps.




 Gelish' 18GPlus LED Light with Sa fe lig ht™                                                    Gelish' 18G Unplugged LED Light
                Techno logy
                                                                                           GET UNP LUGGED. Whether moving from nail table to pedicure station

     The Ge lish LED 18G Plus Gel Light is a sc ientifica lly eng ineered,                      o r taking your skil ls on t he road, you're ready to roam with the

    precise ly ca librated authentic LED light of exceptional qua lity. It is               innovative Ge lish® 18G UNP LUGGED™ Profess iona l Mob ile LED Light!

   spec ially designed fo r rapid, efficient gel curing, particu larly for t he              Des igned to outpe rfo rm the rest, 1SG UNP LUGGED™ is the first LG\

   high -perfo rm ance Geli sh Soak-Off Ge l Polishes. Add it iona l features             lithium battery powered LED light eng ineered us ing Geli sh's® exclu sive

   inc lude: curing al l five fingers, patented eyeSh ield™ with Safelight™               Intelligent Power Ass ist- advanced circu itry that el iminat es incons istent

   Technology, patented magnet ic removab le t ray, acetone resistant,                         power leve ls when used in battery mode. The lig ht features also

   ergonomic des ign, one year warranty (valid when reg istered upon                         include : curing all five fing ers and toes, 36 Watts of Power, one year

   purchase), high intensity d iamond reflectors and ped icure friendly.                  warranty (va lid when registered upon purchase), bu ilt-in hand le, no slip

                          Item #1100 148 (1 lOV US)                                           pedicure friend ly but ton, Comfo rt Cure™, SafeLight™ Techno logy,

                          Item #11001 50 (230V UK)                                         scratch and acet one resist ant, high intens ity d iamond reflectors, and a

                          Item #11 00 149 (220V EU)                                                                      countd own feature .

                          ltem# 11001 5 1 (240VAU)                                                                       Item #1 1680 12 (US)
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                         Gelish' PRO LED Light                                                                Ge lish'Touch MINI LED Light

 The 30 Watt, Ge lish® Pro LED Light effect ively and efficient ly cures Ge lish® Soak-Off                  Portable focused beam LED light The Ge lish Touch MINI
 Ge l Po lish. Ge lish® Pro Light's bu lbs w ill not ever need bulb rep lacements with up to                LED takes LED application to anothe r leve l. Integ rate fast,
  50,000 hours of performance gua ranteed, and cons istent powe r output that does                          even curing into your applicat ion. The Gelish • Touch MINI
  not deg rade over time. The Pro LED Light has a sleek compact des ign with a cu re                         LED Light is designed for use with LED formulated gels
     you can trust The pedicure friendly light features a removab le tray, two pre-                           and has specia lized preprogrammed 30 cu re t imes to
                   programmed auto timers and cu res al l five finge rs.                                      ensu re accurate tota l cure of LED ge ls, The LED light
                                  Item #1168087 (110V US)                                                   features 3 watts of Power, touch act ivated, portab le, and
                                  Item #1168088 (230V UK)                                                                          acetone resistance.
                                  Item #1168089 (220V EU)                                                                            Item #1168202
                                  Item #1168090 (240V AU)




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   Gelish Unplugged LED Replacement                                                                           18G Replacement Tray
                Battery
                                                                                                      Fits the Ge lish LED 18G and 18G Plus LED Lights to allow
                                                                                            interchangeability to sanitize between clients. Th e acetone resistant,
 Whether mov ing fro m nail tab le to ped icure stat ion or taking your skills
                                                                                              sta inless stee l tray reflects light from bulbs fo r efficien t, maximum
   on the road, you're ready to roa m w ith th e innovative Ge lish® 18G
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  UNPLUGGED™ Professiona l Mobile LE D Li ghtl Pa ired w ith the fi rst LG
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    lith ium replacement batte ry, the 18G UNPLUGGED™ LED Li ght is
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                                                                                       Bolt EVs next month due to fire Page
                                                                                                                       risk 114 of 142

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     The Vermont State Police released this photo of the 2019 Chevrolet Bolt EV that caught fire on July 1, 2021 in the driveway of
     state Rep. Timothy Briglin, a Democrat.
     Vermont State Police




     GM will prioritize Chevy Bolt customers whose batteries were manufactured during
     specific time frames when GM said battery defects appear to be clustered.

     “Resuming battery module production is a first step and we’ll continue to work
     aggressively with LG to obtain additional battery supply. In addition, we’re optimistic a
     new advanced diagnostic software will provide more convenience for our customers,”
     Doug Parks, GM executive vice president of product development, purchasing and
     supply chain, said in a release.

     The recalled vehicles include all Chevy Bolt EVs, including a recently released larger
     version of the car known as the Bolt EUV.

     Due to the battery problem, production of the Bolt EV and Bolt EUV has been down
     since Aug. 23 at a Michigan plant. GM last week confirmed manufacturing of those
     vehicles is not expected to resume until at least Oct. 15.

     GM says owners with questions should visit www.chevy.com/boltevrecall, contact its
     Chevrolet EV help line at 1-833-EVCHEVY or contact their preferred Chevrolet EV dealer.


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Case 4:22-cv-05014-MKD   ECF No. 24-1   filed 01/18/23   PageID.335 Page 115 of 142




                 EXHIBIT 20
                                                            Case 4:22-cv-05014-MKD     ECF No. 24-1    filed 01/18/23   PageID.336 Page 116 of 142




Salon Locator                                                                                                                                                                               •· Like 173K




Find Gelish® Near You!

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Case 4:22-cv-05014-MKD   ECF No. 24-1   filed 01/18/23   PageID.337 Page 117 of 142




                 EXHIBIT 21
5/20/2020 Case 4:22-cv-05014-MKD                  ECF No. Pulse
                                                          24-1by Maeil
                                                                  filedBusiness
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                                                                                News Korea print   Page 118 of 142


    P'Ulse by Ma
     LG Elec releases new lineup of cordless vacuum
     cleaners
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         LG Electronics' H&A division president Song Dae-hyun (center) and domestic sales
         division president Choi Sang-gyu (right) introduce the company's new lineup of
         cordless vacuum cleaners CordZero ART at LG Twin Tower in Yeouido, Seoul, on
         Monday. [photo by Lee Seung-hwan]


   South Korea's LG Electronics Inc. unveiled its new cordless vacuum cleaner lineup
    called CordZero ART on Monday at LG Twin Tower in Yeouido, Seoul, throwing
    down the gauntlet to the global top wireless handy vacuum cleaner maker Dyson
https://pulsenews.co.kr/print.php?year=2017 &no=394818                                                               1/3
5/20/2020 Case 4:22-cv-05014-MKD                  ECF No. Pulse
                                                          24-1by Maeil
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                                                                         01/18/23       PageID.339
                                                                                News Korea print   Page 119 of 142
   based in the U.K.


   "We will focus more on the development of cordless vacuums to meet growing
    demand for the wireless vacuum cleaners across the world," said Song Dae-hyun,
    president of LG Electronics' Home Appliance & Air Solution (H&A) division. He also
    declared that the company aims to snatch the crown from current No. 1 Dyson in the
   global cordless vacuum market.


    Cordless vacuum cleaners currently account for 30 percent in the global vacuum
    cleaner market worth $14 billion, and the demand for cordless ones is growing
   rapidly. An official from LG Electronics said its cordless vacuum cleaner sales has
   grown at a 20 percent rate annually, and the new CordZero ART products are
    expected to help the growth of its wireless vacuum cleaner sales accelerate at a pace
    of more than 30 percent a year.


   Weak suction power and short battery lifetime has been pointed out as disadvantages
    of battery-powered vacuum cleaners, but LG Electronics' latest lineup addressed the
   issues, the company said. "Equipped with a smart inverter motor with a rotation
    speed of 115,000 per minute and LG Chem's lithium-ion battery, the CordZero ART
    series deliver similar power and performance with corded cleaners," said an official
   from the company.


   The company claimed that the CordZero A9 boasts of the world's strongest suction
    power of 140 watts for hand-stick models, and is capable of cleaning not only big
    objects but also fine dust with an additional motor installed at the head of the
    cleaner.


   The CordZero T9, a bagged cordless model, has the same suction power with corded
    cleaners of 250 watts, also the world's best for cordless models, according to the

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5/20/2020 Case 4:22-cv-05014-MKD                  ECF No. Pulse
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                                                                         01/18/23       PageID.340
                                                                                News Korea print   Page 120 of 142
    company. It can run for at most 40 minutes at normal mode and 30 minutes at power
   mode.


   By Kim Dong-eun
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https://pulsenews.co.kr/print.php?year=2017 &no=394818                                                               3/3
Case 4:22-cv-05014-MKD   ECF No. 24-1   filed 01/18/23   PageID.341 Page 121 of 142




                 EXHIBIT 22
Case 4:22-cv-05014-MKD   ECF No. 24-1   filed 01/18/23   PageID.342 Page 122 of 142
Case 4:22-cv-05014-MKD   ECF No. 24-1   filed 01/18/23   PageID.343 Page 123 of 142




                 EXHIBIT 23
   Case 4:22-cv-05014-MKD              ECF No. 24-1              filed 01/18/23   PageID.344 Page 124 of 142


                                                                                                            Page 1

                                IN THE UNITED STATES DISTRICT COURT
                               FOR THE SOUTHERN DISTRICT OF TEXAS
                                      BROWNSVILLE DIVISION


        JUAN MANUEL FLORES                               '

        VS.                                                  '   C.A.     No.:     1:16-cv-297

        LG CHEM, LTD. AND LG                             '         JURY DEMANDED
        CHEM AMERICA, INC.                               '




                 ORAL AND VIDEOTAPED DEPOSITION OF JOON YOUNG SHIN
                                NOVEMBER 29, 2017




                ORAL AND VIDEOTAPED DEPOSITION OF JOON YOUNG SHIN,

          produced as a witness at the instance of the Plaintiff

          and duly sworn,               was taken in the above styled and

          numbered cause on Wednesday,                              November 29,         2017,      from

          3:29 p.m. to 7:38 p.m., before LOREN GONZALES,                                           CSR in

          and for the State of Texas,                              reported by computerized

          stenotype machine,                  at the offices of Lewis,                      Brisbois,

          Bisgaard & Smith, Welayan Tower,                                Suite 1400,         24 Greenway

          Plaza,       Houston,         Texas, pursuant to the Federal Rules of

          Civil Procedure and the provisions stated on the record

          herein.
Electronically Filed 10/09/2019 14:23 / BRIEF / CV 19 917268 / Confirmation Nbr. 1838344 / BATCH
     Case 4:22-cv-05014-MKD            ECF No. 24-1         filed 01/18/23       PageID.345 Page 125 of 142


                                                                                                      Page 2

 1                                         A P P E A R A N C E S

 2

 3        FOR THE PLAINTIFF:
              Mr. Michael Cowen
 4            COWEN | MASK | BLANCHARD
              6243 IH-10 West
 5            Suite 801
              San Antonio, Texas   78201
 6            (210) 941-1301
              Michael@cmbtrial.com
 7

 8        FOR THE DEFENDANTS:
              Mr. Sean Higgins
 9            LEWIS, BRISBOIS, BISGAARD & SMITH
              Welayan Tower, Suite 1400
10            24 East Greenway Plaza
              Houston, Texas   77046
11            (713) 659-6767
              Sean.higgins@lewisbrisbois.com
12

13        THE VIDEOGRAPHER:
             Mr. John Castro
14
          THE INTERPRETER:
15           Mr. Teak-Sung Song

16        THE CHECK INTERPRETER:
             Mr. Kyoo (John) Y. Song PhD.
17

18

19

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     Case 4:22-cv-05014-MKD            ECF No. 24-1         filed 01/18/23       PageID.346 Page 126 of 142


                                                                                                          Page 6

 1                              THE VIDEOGRAPHER:                   Today's date is November

 2        29th,      2017 and the time is,                     approximately,              3:29 p.m.      We

 3        are on the record.

 4                                             JOON YOUNG SHIN,

 5        having been duly sworn,                      through interpreter,                   testified

 6        as follows:

 7                                                   EXAMINATION

 8        BY MR.       COWEN:

 9             Q.      Good morning.

10             A.      Good morning.

11             Q.      What is your name?

12             A.      My name is Shin, Joon Young.                            Mr. Shin,           last

13        Shin,      S-H-I-N.           First name Joon,                J-O-O-N-Y-O-U-N-G.

14             Q.      And, Mr.         Shin,      are you here to testify as the

15        representative of LQ Chem Limited?

16             A.      Yes,      I am.

17             Q.      Have you testified on behalf of LG Chem Limited

18        before?

19             A.      No,     I have not.

20             Q.      Have you given a deposition before?

21             A.      No.

22             Q.      Who is your employer?

23             A.      LG Chemicals.

24                              THE INTERPRETER:                  Sorry, LG Chem.

25        Correction by the interpreter, LG Chem.
Electronically Filed 10/09/2019 14:23 / BRIEF / CV 19 917268 / Confirmation Nbr. 1838344 / BATCH
     Case 4:22-cv-05014-MKD            ECF No. 24-1         filed 01/18/23       PageID.347 Page 127 of 142


                                                                                                      Page 7

 1              Q.      (BY MR.       COWEN)         And what is your job title?

 2             A.      On the Customer Service Team,                           Team Leader.

 3              Q.     What are your job duties as the Customer Service

 4        Team,      Team Leader?

 5             A.      Responding to customers on quality issues outside

 6        the company.

 7              Q.     How many people work in the Customer Service

 8        Team?

 9             A.      About 15 in Korea,                  15.

10             Q.      Is there anyone in the United States who works

11        with the Customer Service Team?

12             A.      No,     there is not.

13             Q.      What is your -- no -- let me ask a different

14        question.            To whom do you report?

15             A.      Mr.     Yoon.        Last name "Yoon."                  First name "Suk

16        Won."

17             Q.      And. what is Mr.              Yoon's position?

18             A.      We call him "person in charge."

19             Q.      In charge of what?

20             A.      In charge of internal                     -- company internal,

21        company external issues regarding small cells.

22             Q.      What is your educational background?

23             A.      I have a bachelors degree.

24             Q.      In what topic?

25             A.      ISE.
Electronically Filed 10/09/2019 14:23 / BRIEF / CV 19 917268 / Confirmation Nbr. 1838344 / BATCH
     Case 4:22-cv-05014-MKD            ECF No. 24-1         filed 01/18/23       PageID.348 Page 128 of 142


                                                                                                      Page 8

 1              Q.     And what is ISE?

 2             A.      Industry Systems Engineering.

 3              Q.     And where did you get your bachelors degree?

 4             A.      I graduated from Ohio State University.

 5              Q.     So even though you have a degree from Ohio State

 6        University, we are still using an interpreter for your

 7        deposition; is that correct?

 8                              MR.     HIGGINS:           Objection.            Form.

 9             A.      Yes, that is.

10             Q.      (BY MR. COWEN)                Were you able to take classes at

11        Ohio State University without an interpreter?

12             A.      Yes.       That's what I did.

13             Q.      So why do you need an interpreter today?

14                              MR.     HIGGINS:           Objection.            Form.

15             A.      My mother tongue is Korean, and I believe in this

16        right to use the mother tongue in important matters.

17             Q.      (BY MR. COWEN)                Do you have any other college

18        degree besides the one you have from Ohio State

19        University?

20             A.      No.

21             Q.      Did you have any involvement in the design of the

22        LG HG2 battery?

23             A.      I was not involved in designing the HG2 battery.

24             Q.      Have you been involved in the design of any

25        battery?
Electronically Filed 10/09/2019 14:23 / BRIEF / CV 19 917268 / Confirmation Nbr. 1838344 / BATCH
     Case 4:22-cv-05014-MKD            ECF No. 24-1         filed 01/18/23       PageID.349 Page 129 of 142


                                                                                                         Page 28

 1              Q.     Tell me about the E-cigarette issues that you

 2        recei ved.

 3                              MR .    HIGGINS:           Objection.            Form.

 4             A.      Is there anything in particula r you would like to

 5        know?

 6              Q.      (BY MR. COWEN)               Everything you remember.                      You

 7        said that there was some E-cigarette issues that you

 8        received that caused LG to change the design of the

 9        aluminum tab.                What were those issues that were

10        recei ved?

11             A.      At the time any E -cigarette us er had a

12        lithium-ion cell,                 HG2 cell,          in a bag and together with

13        the cell had keys,                  key chains,           and whatnot in the bag as

14        well and together with other conductive materials and

15        that caused the fire.                      Such issue happened.

16             Q.      Where did that happen,                     the E-cig user that had a

17        fire?

18             A.      In the U.S.             Happened in the U.S.

19             Q.      Do you know what year that happened?

20             A.      I believe it was towards the end of 2015 or early

21        2016.

22             Q.      Was there a lawsuit against LG involving that

23        incident?

24             A.      My recollection is that there was not.

25             Q.      Are there any documents within LG Chem that
Electronically Filed 10/09/2019 14:23 / BRIEF / CV 19 917268 / Confirmation Nbr. 1838344 / BATCH
     Case 4:22-cv-05014-MKD            ECF No. 24-1         filed 01/18/23       PageID.350 Page 130 of 142


                                                                                                          Page 30

 1              Q.     And what was the change in the thickness of the

 2        tab?       I see it was a               .15 and it became a                  .1.         .15 what?

 3        And .1 what ?

 4             A.      It was changed from .15 millimeters to                                      .1

 5        millimeter.

 6              Q.     Are you familiar with the warnings or

 7        instructions that accompanied HG2 batteries?

 8             A.      I am aware.

 9              Q.     How did LG package the HG2 batteries?

10             A.      When we send them out,                     a hundred single cells go

11        loaded onto a small box and two small boxes are packaged

12        into one big box and sent out .                             For your information,

13        about 10,000 or more cells go out on a single palette.

14             Q.      And what kinds of customers buy these boxes of

15        batteries?

16                              MR.     HIGGINS:           Objection.            Form.

17             A.      Companies that make power tools and packers that

18        make battery packs to be used on power tools and also

19        small agents.

20             Q.       (BY MR.       COWEN)         What do you mean by "small

21        agents"?

22             A.      Companies that sell to small packers and small

23        power tool companies and not big packers or big -- not

24        big sized packers or big size power tool companies.                                             We

25        call those companies that sell to the small packers and
Electronically Filed 10/09/2019 14:23 / BRIEF / CV 19 917268 / Confirmation Nbr. 1838344 / BATCH
     Case 4:22-cv-05014-MKD            ECF No. 24-1         filed 01/18/23       PageID.351 Page 131 of 142


                                                                                                     Page 31

 1        small power tool companies agents.

 2              Q.     Did LG intend for the HG2 battery to be used in

 3        E-cigarettes?

 4             A.      No.      We had no idea.

 5              Q.     Why did LG not want the HG2 batteries being used

 6        in E-cigarettes?

 7                              MR.     HIGGINS:           Objection.            Form.

 8             A.      I don't think not wanting is the proper

 9        expression here.                  We never fathomed that it would be

10        used in an E-cigarette.

11             Q.      (BY MR. COWEN)                Why would you not want it used in

12        an E-cigarette?

13                              MR.     HIGGINS:           Objection.            Form.

14             A.      It's not about wanting or not.                              We just never

15        knew that they were being used in E-cigarettes.

16             Q.      (BY MR. COWEN)                I'd like to look at Exhibit 8.

17        Does Exhibit 8 show the instructions and cautions that

18        accompanied the batteries as of September of 2016?

19             A.      That is correct.

20             Q.      Prior to September 2016, were there any kind of

21        instructions or cautions on the battery or on the

22        packaging?

23             A.      No, there weren't.

24             Q.      So it was just -- what was written on the outside

25        of the battery prior to September of 2016?
Electronically Filed 10/09/2019 14:23 / BRIEF / CV 19 917268 / Confirmation Nbr. 1838344 / BATCH
     Case 4:22-cv-05014-MKD            ECF No. 24-1         filed 01/18/23       PageID.352 Page 132 of 142


                                                                                                       Page 32

 1             A.      The production numbers -- production -­

 2        production data,                about that.

 3              Q.     And starting on September 2016,                             the word

 4        "caution" was added to the battery.                                  Correct?

 5             A.      Yes.

 6              Q.     Who made the decision to add the word "caution"

 7        to the battery in September of 2016?

 8             A.      I think I could say us and the legal team made

 9        the decision.

10             Q.      What are the names of the people that made the

11        decision?

12             A.      There's actually quite a number of people that

13        knew about the application of the warning language.

14        There's quite a number of them and the president of the

15        company knows as well.

16             Q.      But who's idea was it to add the caution

17        language?

18             A.      It was the ideas of us and the legal team.

19             Q.      What do you mean by -- what do you mean by "us"?

20             A.      The CS Team.

21             Q.      And who on the CS Team was involved in the

22        decision to add a caution label to the HG2 battery back

23        in September of 2016?

24             A.      From the CS Team, myself,                        and the senior manager

25        named Ji-Hyun Lee.                   Last name Lee, L-E-E.                      First name
Electronically Filed 10/09/2019 14:23 / BRIEF / CV 19 917268 / Confirmation Nbr. 1838344 / BATCH
     Case 4:22-cv-05014-MKD            ECF No. 24-1         filed 01/18/23       PageID.353 Page 133 of 142


                                                                                                     Page 35

 1        changes made to the labeling,                           specifically, because of

 2        what happened with Juan Manuel Flores?

 3                              MR.     HIGGINS:          And I am going to caution the

 4        witness not to disclose any communications that he may

 5        have had with counsel.

 6             A.      In the early parts of 2016 these E-cigarette

 7        issues kept on occurring and prior to that,                                       we were not

 8        aware of our batteries or even just 18650 batteries

 9        being used for different purposes and we had been doing

10        business for ten years or so and we had no such issues

11        and our customers were aware of this and then come early

12        2016,      these issues started to occur and that's when we

13        started to take action and make a decision to apply this

14        language,          warning language,                 for protection of customers

15        with -- with the -- considering the possibilities of

16        these incidences happening.

17             Q.       (BY MR.       COWEN)         When did LG Chem make the

18        decision to add the caution label to the HG2 battery,

19        the label that was added in September '16,                                       when was that

20        decision made to add it?

21             A.      My understanding is that the decision was made in

22        August and we turned around and started applying them

23        immediately afterwards from September 1st.

24             Q.      When did LG Chem first become aware of the

25        incident in which Juan Manuel Flores was burned?
Electronically Filed 10/09/2019 14:23 / BRIEF / CV 19 917268 / Confirmation Nbr. 1838344 / BATCH
     Case 4:22-cv-05014-MKD            ECF No. 24-1         filed 01/18/23       PageID.354 Page 134 of 142


                                                                                                     Page 47

 1              Q.      (BY MR.       COWEN)         When did LG first become aware

 2        that there was a possibility of a lithium-ion battery

 3        catching fire if someone was carrying the battery in

 4        their pocket?

 5                              MR. HIGGINS:               Objection.            Form.

 6             A.      We first became aware in early 2016.

 7              Q.      (BY MR.       COWEN)         And you first became aware when

 8        you got a claim letter?

 9             A.      That's correct.

10             Q.      When was LG Chem first sued over an allegation

11        that a lithium-ion battery caught fire and burned

12        somebody?

13                              MR. HIGGINS:               Objection.            Form.

14             A.      I do not recollect the exact date, but I think it

15        will be early 2016.

16             Q.       (BY MR.       COWEN)         Has LG Chem ever had any customer

17        complaints other than lawsuits or claim letters

18        regarding an allegation that a lithium-ion battery

19        caught fire?

20             A.      Yes.

21             Q.      When did LG Chem receive the first such

22        complaint?

23             A.      Early 2016.

24             Q.      How many complaints has LG Chem received outside

25        the legal process from customers complaining that -- let
Electronically Filed 10/09/2019 14:23 / BRIEF / CV 19 917268 / Confirmation Nbr. 1838344 / BATCH
     Case 4:22-cv-05014-MKD            ECF No. 24-1         filed 01/18/23       PageID.355 Page 135 of 142


                                                                                                      Page 48

 1        me rephrase that -- how many complaints has LG Chem

 2        received,          other than lawsuits or demand letters from

 3        lawyers,         claiming that LG batteries caught fire?

 4             A.      Most cases -- most cases come through the legal

 5        team and I do not believe there were any cases where I

 6        was directly — I received such directly from the

 7        general consumer.

 8              Q.     Is there any kind of address or telephone number

 9        in the United States that consumers would direct

10        complaints to if they thought an LG battery caught fire?

11             A.      Yes.       It's on the website.

12             Q.      Does LG Chem keep records of any kind of customer

13        complaints?

14             A.      Customer complaint records,                          you say?

15             Q.      Does LG Chem either keep a data base,                                  a written

16        record,        an electronic record,                    something documenting when

17        customers complain about batteries?

18             A.      We write it down,                 yes.

19             Q.      What is -- go ahead.

20             A.      And we do have records of sending it over to the

21        -- to our insurance company with the advice of the legal

22        team.

23             Q.      But outside of the legal team,                            does LG Chem keep

24        records of any kind of customer complaints?

25             A.      Yes.       My team, myself,                and the person that works
Electronically Filed 10/09/2019 14:23 / BRIEF / CV 19 917268 / Confirmation Nbr. 1838344 / BATCH
     Case 4:22-cv-05014-MKD            ECF No. 24-1         filed 01/18/23       PageID.356 Page 136 of 142


                                                                                                     Page 49

 1        with me create a spreadsheet for that.

 2              Q.     And where is that spreadsheet maintained?

 3             A.      In the PC.

 4              Q.     In your computer at work?

 5             A.      Mostly in the PC in the computer of the person in

 6        charge and I open it up.

 7              Q.     Does that spreadsheet contain -- let me rephrase.

 8        Does that spreadsheet contain any claims that

 9        lithium-ion batteries caught fire?

10             A.      When E-cigarette cases are received, we relay

11        that to the legal team and what we -- and what is

12        conveyed to us is summarized and put on that spreadsheet

13        and, with that, can we take a quick break, please.

14             Q.      Yes.

15                              THE VIDEOGRAPHER:                   Off the record at 6:53

16        p.m.

17                              (Break taken from 6:53 p.m.                          to 7:05 p.m.)

18                              THE VIDEOGRAPHER:                   We are now back on the

19        record.          The time now is 7:05 p.m.

20             Q.       (BY MR.       COWEN)         Could you get Exhibit 9.

21             A.      Yes.

22             Q.      Exhibit        9 is four pages.                  Could you identify what

23        those pages are ?

24             A.      These are affidavits that we send to the agents

25        that deal with us.
Electronically Filed 10/09/2019 14:23 / BRIEF / CV 19 917268 / Confirmation Nbr. 1838344 / BATCH
     Case 4:22-cv-05014-MKD            ECF No. 24-1         filed 01/18/23       PageID.357 Page 137 of 142


                                                                                                     Page 50

 1              Q.     When were these documents created?

 2             A.      I remember it to be around June 2016.

 3              Q.     And were they created on a computer?

 4             A.      Well, yeah, the legal team created this so I

 5        guess .

 6              Q.     Do you know if the original digital file still

 7        exist s ?

 8             A.      I can ask the legal team.

 9              Q.     You don't know?

10             A.      Correct.           I was knowledgeable with this -- this

11        work.

12             Q.      What was the reason that these documents were

13        sent out?

14             A.      The idea was that that might possibly be a

15        possibility of our agents that deal with small packers

16        and s elling our products for E-cigarette purposes.                                      So

17        we thought it would be a good idea to raise -- re-raise

18        this warning.

19             Q.      Does LB Chem maintain a list of the persons or

20        companies to which it sent the documents that are in

21        Exhib it 9?

22             A.      I'll have to check.

23             Q.      I want you to go to the third page of the

24        exhib it.         The one Bates Nod.                   60.

25             A.      Yes.
Electronically Filed 10/09/2019 14:23 / BRIEF / CV 19 917268 / Confirmation Nbr. 1838344 / BATCH
     Case 4:22-cv-05014-MKD            ECF No. 24-1         filed 01/18/23       PageID.358 Page 138 of 142


                                                                                                       Page 51

 1              Q.     And it's -- looks like a letter with a subject

 2        line of "Notice on Prohibition of Unauthorized Sales of

 3        Battery Cells."

 4              A.     Yes.

 5              Q.     To whom was that letter sent?

 6              A.     The agents and companies that we supply our cells

 7        to.

 8              Q.     How many agents and companies in the United

 9        States does LG provide its cells to?

10              A.     I,    personally,           don't know the details of what

11        businesses in the U.S.                     the -- what agents might have.

12              Q.     What was the reason for sending this letter to

13        the people buying these batteries from LG?

14                              THE INTERPRETER:                  Counsel,         it didn't come

15        across.           Could you repeat that,                    please?

16                              MR.     COWEN:         Sure.

17              Q.     (BY MR.        COWEN)         What was the reason for sending

18        out the letter that's Page 3 of Exhibit 9?

19              A.     This was to emphasize that just in case our

20        customers that purchase our cells might consider

21        businesses other than intended usage in businesses other

22        than intended with our sales,                           don't do it.               It's to

23        emphasize that.

24              Q.     And I'd like to turn to the second paragraph of

25        that letter.
Electronically Filed 10/09/2019 14:23 / BRIEF / CV 19 917268 / Confirmation Nbr. 1838344 / BATCH
     Case 4:22-cv-05014-MKD            ECF No. 24-1         filed 01/18/23       PageID.359 Page 139 of 142


                                                                                                         Page 52

 1             A.      Yes.

 2              Q.     The first sentence is that "LGC has learned that

 3        consumers are able to and have been purchasing LGC's

 4        products directly from E-commerce websites and retail

 5        stores often for use in personal E-cigarette devices."

 6        Did I read that correctly?

 7             A.      Yes.

 8              Q.     And does LGC stand for LG Chem Limited?

 9             A.      Yes,     that's the abbreviation.

10             Q.      And how did LGC learn that consumers were

11        purchasing their batteries for use in personal

12        E-cigarette devices?

13                              THE INTERPRETER:                  Counsel,         could you repeat

14        that question again, please.

15                              MR.     COWEN:         Sure.

16                              THE INTERPRETER:                  It just didn't come

17        across.

18             Q.      (BY MR.        COWEN)         How did LG Chem learn that

19        consumers were purchasing its batteries from retail

20        stores to use in personal E-cigarette devices?

21                              THE INTERPRETER:                  Thank you.

22             A.      In the -- if you have a look at the claim letters

23        that were sent to us,                    the company, by general consumers,

24        they state that the purchase was made over the internet

25        or at vape shops.                   That's how we got to know.                           In other
Electronically Filed 10/09/2019 14:23 / BRIEF / CV 19 917268 / Confirmation Nbr. 1838344 / BATCH
     Case 4:22-cv-05014-MKD            ECF No. 24-1         filed 01/18/23       PageID.360 Page 140 of 142


                                                                                                            Page 53

 1        words,       LG Chem's customers are packers and agents and we

 2        were curious as to how individual and general consumers

 3        got their hands on and purchased the cells and in the

 4        letters that -- in those letters -- what those letters

 5        contained that piece of information.

 6              Q.      (BY MR.       COWEN)         Did LG Chem ever find out how the

 7        batteries ended up in retail stores being sold to people

 8        for E-cigarette use?

 9             A.      Initially,           when we found out -- when we became

10        aware of the E-cigarette issues and after becoming

11        aware,       a member of my team was sent to the U.S.                                    to

12        investigate and that person visited vapor shops to

13        conduct use and find out how they purchased our products

14        and through what route the products ended up there but

15        nobody would tell us.

16             Q.      Who was that person on your team that came to the

17        U.S.       to do the investigation?

18             A.      Ms.     Lee, Senior Manager.                     Last name Lee,             L-E-E.

19        When Ms.         Lee visited the vapor shops and tried to

20        determine how the batteries were being purchased,                                             it was

21        reported that when the batteries were being purchased,

22        there was some cases -- well,                           they were in white paper

23        boxes that sometimes had warning labels and sometimes

24        did not have warning labels on the paper cases and when

25        cells were being sold to the general consumers,                                          in some
Electronically Filed 10/09/2019 14:23 / BRIEF / CV 19 917268 / Confirmation Nbr. 1838344 / BATCH
     Case 4:22-cv-05014-MKD            ECF No. 24-1         filed 01/18/23       PageID.361 Page 141 of 142


                                                                                                             Page 54

 1        cases they were being sold together with plastic cases

 2        and sometimes not with the plastic cases.

 3              Q.     Were any documents created regarding Ms.                                      Lee's

 4        investigation?

 5             A.      Just two things to what I've just said about

 6        that.        There was a letter, if one would recall that,

 7        that was created.

 8              Q.     And does will LG Chem still have those documents?

 9             A.      I'll have to look.

10             Q.      Going back to the third page of Exhibit 9.                                       The

11        last sentence of the second paragraph reads, "LGC

12        strictly prohibits the sale of individual cells without

13        protection circuits as such unprotected cells may create

14        a fire hazard leading to serious bodily injury when

15        mishandled."

16                     Did I read that correctly?

17             A.      Yes, that's correct.

18             Q.      So the reason that LG Chem does not want these

19        batteries sold for use in E-cigarettes is because they

20        may create a fire hazard leading to serious bodily

21        injury?

22                              MR.     HIGGINS:           Objection.            Form.

23             A.      We're not just talking about E-cigarettes here.

24        That's not the only thing that is the issue.                                             Any and

25        every application of lithium-ion cells, it must have a
Electronically Filed 10/09/2019 14:23 / BRIEF / CV 19 917268 / Confirmation Nbr. 1838344 / BATCH
     Case 4:22-cv-05014-MKD            ECF No. 24-1         filed 01/18/23       PageID.362 Page 142 of 142


                                                                                                     Page 55

 1        protective circuit.                     I don't think that it's only the -­

 2        it is exclusively the people that use E-cigarettes that

 3        can carry around cells in their pockets and that they

 4        are the only people that could do it.                                    For all the other

 5        applications that use cells and that in which the cells

 6        can be put in and out and taken out of the device that

 7        such a usage and such cells and such applications and

 8        there is a risk of danger because our products are only

 9        to be used together with a protective circuit as an

10        embedded type.

11             Q.       (BY MR.       COWEN)         Are HG2 batteries manufactured by

12        LG Chem?

13             A.      Yes.       My company uses HG2 batteries.

14             Q.      And are they manufactured in Korea?

15             A.      Yes, they are manufactured in Korea.

16             Q.      What is LG Chem's position as to whether the vape

17        store that sold the battery to Mr. Flores was negligent

18        for selling him an HG2 battery for use in an

19        E-cigarette?

20                              MR.     HIGGINS:           Objection.            Form.

21             A.      I have no knowledge on how the vape shop had sold

22        it to the person that received the damage and I did not

23        receive any explanation on what was explained and what

24        was not but my thought is, on the E-cigarette issue, is

25        that what's wrong is that the lithium-ion batteries are
Electronically Filed 10/09/2019 14:23 / BRIEF / CV 19 917268 / Confirmation Nbr. 1838344 / BATCH
